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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP 1D G30Mar12-584
Sequence number Posting date

  

> GOVERNMENT
? «EXHIBIT

  
   

PENGAD-Bayonne,

Depositaccountsnow held by JPMorgan ChaseBank, M. A. YOUR WAMU FREE CHECKING STATEMENT

P.O. BOX 650022
DALLAS, TX 75266-0022

This Statement Covers

From:01/22/09
Throughd2/11/09

Need assistance?
To reach us anytime

call 1-800-788-7000
RAQUEL GARCIA or visitus at wamu.com

1347DELL DALE ST
CHANNELVIEW TX 77530-2203
Vocal Dovsfalaboasd bale seofatvabl soca dicdiaDboeldbeal

 

Your WaMu Free Checking Detail Information

 

RAQUEL GARCIA Account. Number: 422-241635-0
Washington Mutual Bank, FA

 

 

 

Amendmentto AccountDisclosuresind Regulations Withdrawalssection:We no longerreservethe rightto requiresevendays
notice to withdrawfundsfromanyWaMu non-interesbearingcheckingaccount.

 

 

 

 

 

 

{_ Your Account at a Glance }
Beginning Balance $0.00 Next AnniversaryDate 01/22/2010
Checks Paid $0.00 AvailableOD/NSF Fee Waivers 1
Other Withdrawals $0.00 WaMu Debit Rewards

Deposits +$600.00 Thisstatementperiod $0.00
Ending Balance $600.00 Total sinceanniversandate $0.00

| Date Description ; Withdrawals (-) Deposits (+) |
01/22 OpeningDeposit $100.00
o2/11 CustomerDepasit $500,00

CalendarYear-To-Dat@verdraft/Non-Sufficierhtunds Charges

(excludinganychargeswhichhave been waived or refunded):
Overdraftcharges $0.00
Non-SufficienFundscharges $0.00

Your Overdraft Limitas of the statementend date: $100.00

Please note that this may be changedat any timewithout notice. (View back of statement for more information.)

The fee for any Non-Sufficientfunds (NSF) Transaction whether paid or returned, is based on the numberof NSF Transactionsduringthe last 12
calendarmonths(includingthe currentmonth);as of the statementend date, the fee was $27.00forthe Lst-4thSF Transactionand $35.00per
transactionfor the Sthand each additionalNSF Transactionduringthe period.

007-5-89 Page lof1 Depositsare FDIC Insured taxon
raz HHGR ool oF 11 o21109 PAGE 1 of 1 COLR725C 7255 3200 OLAATTE2

13cr628-013104
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 2 of 415

HOW TO RECONCILE YOUR
ACCOUNT

STEP 1

+ Update your acoount record.
* Enter checks, other transactions, and
service charges not recorded.
STEP 2
+ st outstanding checks, olner
transactions, POP, ATH, POS, ond
other witherawals,

uecx
‘DA OATE

 

 

IF BALANCES DO NOT AGREE:

+ Chtck addition and subtraction in your
ragister and above.

* Compere your checks, of
transactions, POP, at bs POS, and
‘other withdrowals in your register witht
statement,

+ Compare deposit receipts and entries

in your ragister with stotement,

Ba sure ail checks, POP, ATM, POS,

dad depasits ara

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GROUP ID G30Mar12-584
Sequence number Posting date

 

NON-SUFFICIENT FUNDS AND OVERDRAFT REMINDER
We reserve the right not to pay any item or transaction presented against
your account if presented when there are insufficient available funds in yau:
account (subject to any overdraft line of credit or overdraft transfer servke i
that you have linked to your account), even If we patd such
items/transactions In the past. Unless you request us not to da $0, by
calling 800.789.7000, we may, but are not obfgated to, establish an
overdraft llmit to pay item(s)/transaction(s) in excess of your available ;
balance end any fees related to your account. We may note on the front of
this statement that an averdraft limit was established and indicate that.
amount. That amount is valid as of the statement date, but may
changa (be increased, lowared, or removed} at any time without
notice, Including before you actually receive your statement, due to «
printing and mailing tima as well as our process for reviewing .
overdraft Ilmits. An overdratt limit ts not a tine of credit. ff you prefer not,
to have an overdraft limit, tet us know and we would then generaily return
cheeks and other transactions that exceed your available balance. The best
‘way to make sure your items/transactions are paid is to maintain sufficent
availsble funds in your account to pay your authorized items/transactions
and fees that may be due related to your account. If an itam/transaction
{such as a check or other transaction, ifke an ATM withdrawal, 2
polnt-of-sate transaction, or electronic payment) is presented against
Insufficiant available funds, we will charge a fee for each wensaction, .
whether the item/transaction is pald or rejected and the fee, a5 well as any -
overdraft paid, will reduce the overdraft limit amount, if any. You must :
deposit additional funds to pay for your overdrafts and any associated fees
immediately.

 

OVERDRAFT LINE OF CREDIT (°ODLOC"} DISCLOSURES .
This information applies only to overdraft lines of credit Issued to consumers _
primarily for persona, family, or household purposes. FINANCE CHARGES °
on each advance accrue from the date we make the advance until the date §
the advance is palg in full. This means that thera is no grace period that i
would allow you to avold FINANCE CHARGES on advances on your Credit
Une Account.

‘The pertodic FINANCE CHARGE on your Credit Line Account for each billing ©
period is 3 function of the Dally Periodic Rate, the "Average Dally Batance*
of your Credit Line Account, and the number of days in the billing period. a) |
The “Onily Balance” of your Credit Line Account for esch day will be {1) the -
‘Yatal Balance at the beginning of that day, plus (2} new advances or i
charges, minus (3) all payments and credits received that day and applied = ¢
(4) to principal, (11) unpald FINANCE CHARGES, and {ill) any overtimit fees, ;
dishonored payment fees, and late fees to the extent such fees are added

to the outstanding balance of your Credit Line Account. “Tatal Balance” .
Means ail amounts due on the Credit Line Account. b) The “Average Daily 1
Balance” is the sum of the Dafly Balances for ali days in the billing period
divided by the number of days in the billing period. c) The periodic '
FINANCE CHARGE for a billing period is calculated by multiplying the ;
"Average Daily Balance” by the Cally Periodic Rate and multiplying the i
result by the number of days tn the billing period.

BILLING RIGHTS SUMMARY — In case of errors or questions about
your billing statement.
3f you think your ODLOC statement ts wrong, oF If you need more :
information about an ODLOC transaction on your statement, write t us, on ©
@ separate sheet of paper, at: Washington Mutual, P.O. Box 659588, San ‘
Antonio, TX 78265-9588, as soon as possible. We must hear from you noi
Jater than sixty (60) days after we sent ycu the first statement on which
the ertor or problem appeared. You can telephone us, but doing so will not
Preserve your rights.
In your fetter, give us the following Information:
Your name and account number; :
‘The dollar amount of the suspected error; !
Describe the error and explaln, If you aan, why you believe i
there Is an error. i
Jf you need more information, describe the item you are
unsure about.
You do not have to pay any amount In question while wa are investigating,
but you are still abligated to pay the amounts that are not in question,
While we investigate your question, we carmot report you as delinquent or
take any action to collect the amount you question.

NOTICES OF FURNISHING NEGATIVE INFORMATION !

WE MAY REPORT INFORMATION ABOUT YOUR ACCOUNT TO CREDIT
BUREAUS. LATE PAYMENTS, MISSED PAYMENTS, OR OTHER DEFAULTS ON |‘
YOUR ACCOUNT MAY BE REFLECTED IN YOUR CREDIT REPORT. \
BANKRUPYCY NOTICE i
1F YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED, THISIS FOR |
INFORMATIONAL PURPOSES AND IS NOT AN ATTEMPT TO COLLECT A DEBT
FROM YOU PERSONALLY. 1

 

 

IN CASE OF ERRORS OR INQUIRIES ABOUT YOUR ELECTRONIC i
TRANSFERS

If you think your statement or receipt is wrang, or need more information
about a transfer listed on the statement or receipt, notify us Immediately at |
800.788.7000 or In writing for :
+ ATM/Debit Card transactions to P.O. Box 9017, Pleasanton, CA '

94566-9020; :
- ACH and electronifed check transactions tu P.O. Box 659634, Son E

Antonio, TX 78265; and '

13cr628-013105
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 3 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP 1D G30Mar12-584
Sequence number Posting date

+ Bil! Pay and Online Banking transactions to 400 E. Mala Street, MS
STAZBPC, Stockton, CA 95202. +
We must hear from you no later than 60 calendar days after we sent you |
the FIRST statement on which the error or problem appeared. .

+ Tell us your name and account number {if any).

+ Describe the error or the transfer you are unsure about (including the
date) and explain as clearly as you can why you bellave it Is an error or
why you neud more Information.

+ Teil us the doliay amount of the suspected error.

For Transactions Subject to Federal Electronic Fund Transfer Act:

We will Investigate your claim promptly. If we take more than 10 business

days to do this, we will credit your account for the amount you think Is in

error if required by law to do so, sa that you will have the use of the

Toney during the ume it takes us to complete our investigation,

WAMU® DEBIT MASTERCARD® CUSTOMERS:
The Gude to Benefits is online at wamu.com/debit (click on Compare
WaMu Debit Cards) or call 800.MC.ASSIST for a copy.

TRANSACTION DESCRIPTIONS
ATM-CHG = AUTOMATED TELLER MACHINE TRANSACTION, FEE a
CHARGED
ATM-NCHG = AUTOMATED TELLER MACHINE TRANSACTION, NO
FEE CHARGED
ATM-TRANSFER = AUTOMATED TELLER MACHINE TRANSFER
ATM-\WOL o AUTOMATED TELLER MACHINE WITHORAWAL
CASH AD = CASH ADVANCE TRANSACTION °
MC = DEBIT MASTERCARD TRANSACTION (PIN NOT USED) t
OLB = CNLINE BANKING TRANSACTION
POP = POINT OF PURCHASE TRANSACTION
POS = POINT OF SALE TRANSACTION (PIN USED)
RCK = RE-PRESENTED CHECK
VISA = CHECK CARD TRANSACTION (PIN NOT USED)

 

 

(08/08)

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

Depositaccountsnow held by JPMorgan Chase Bank,N. A. YOUR WAMU FREE CHECKING STATEMENT

P.O. BOX 660022
DALLAS, TX 75266-0022

This Statement Covers

From:02/12/09
Through03/11/09

Need assistance?
To reach us anytime
call 1-800-788-7000
RAQUEL GARCIA or visitus at wamu.com
1347DELL DALE ST
CHANNELVIEW TX 77530-2203

LleasUDacclafaDeasUSsHlasecalafoalslUssaeadbardadd asda

 

Your WaMu Free Checking Detail Information

RAQUEL GARCIA Account Number: 422-241635-0
Washington Mutual Bank, FA

 

 

 

 

Amendmentto Account Disclosuresand RegulationsWithdrawalssection-We no longerreservethe rightto requireseven days
noticeto withdrawfundsfrom any WaMu non-interesbearingcheckingaccount.

 

 

 

 

 

 

{ Your Account at a Glance |
Beginning Balance $600.00 Next AnniversaryDate 01/22/2010
Checks Paid $0.00 AvailableOD/NSF Fee Waivers 1
Other Withdrawals -$240.73 WaMu Debit Rewards

Deposits +$400.00 Thisstatementperiod $0.00
Ending Balance $759.27 Total sinceanniversardate $0.00

| Date Description Withdrawals (-) Deposits (+) |
03/06 MACYS PAYMENT CHECK PYMT 0652 $107.62

03/09 RETAILSERVICES1 CHECKPAYMT 651 $133.11

03/10 CustomerDeposit $400.00

CalendarYear-To-DatOverdraft/Non-Sufficiertunds Charges

(excludingany chargeswhich have been waived or refunded):
Overdraftcharges $0.00
Non-Sufficienfunds charges $0.00

Your Overdraft Limitas of the statement end date: $100.00

Please note that this may be changed at any time without notice. (View back of statement for more information.)

The fee for any Non-Sufficient’unds(NSF) Transaction,whether paid or returned,is based on the numberof NSF Transactionsduringthe last 12
calendarmonths(includingthe current month);as of the statementend date, the fee was $27.00for the 1st-4thNSF Transactionand $35.00per
transactionfor the Sth and each additionalNSF Transactionduringthe period.

007-S-89 Page Lof2 Depositsare FDIC Insured fEncen
7782 NNER oni oF 1X 031189 PAGE 1 of 2 COLR725C 7253 3280 D1AA77A2

13cr628-013107
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GROUP ID G30Mar12-584
Sequence number Posting date

Depositaccountsnow held by JPMorgan ChaseBank,N, A.

A New Chase Debit or ATM Card
to Replace Your Current WaMu Card.

As we continue to combine our companies, you'll start to see many improvements—like the new
Chase Debit or ATM Card we'll be sending to you in March or April to replace your current WaMu Debit
MasterCard or ATM Card. The new Chase Card will do everything your old WaMu Card did.

It is important that you activate your new Chase Card as soon as you receive it to ensure continued access to
your WaMu accounts. Your current WaMu Debit or ATM Card will stop working shortly after you receive your new
Chase Card.

IDEBRSO3

7782 NNGR 001 e7 «12 «O31109 PAGE 2 of 2 COLR725C 7253 3200 01AA778Z

13cr628-013108
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 6 of 415

HOW TO RECONCILE YOUR:
\CCOUNT

STEP I

~ Update your account record,

* Enter checks, other bonsactions, and
sersiog charges not meorded.

STEP 2

+ Ust outstanding checks, other
‘transactions, POP, ATH, POS, and
other withdrawals.

 

SYEP 3

 

IF BALANCES DO NOT AGREE:

+ Check addition and mttraction in your
register and above.
* Compare your checks, other

* Compare dapest receipts ard antries
in your register with statement.

* Be sure al! checks, POP, ATM, POS,
and other payments and depasits re
‘entered in your register,

* Be sure any interest credits are
‘entered in the deposit saction and fees
entered in the debit section of your
register,

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584
Sequence number Posting date

 

NON-SUFFICIENT FUNDS AND OVERDRAFT REMINDER
‘We reserve the right not to pay any Item or transaction presented against
your account if presented when there are insufficient available funds in your
account (subject to any overdraft line of credit or overdraft transfer service
that you have linked to your account), even if we paid such
Items/transactions In the past. Untess you request ua not te do so, by
calling 800.788.7000, we may, but are not obligated to, establish an
overdraft limit to pay item{s)/transaction(s) in excess of your available :
valance and any fees related to your account. We may note on the front of ©
this statement that an overdraft limit was established and indicate that
amount, That amount is valid as of the statement date, but may
change (be increased, lowered, or removed) at any time without
notice, Including befora you actually recelve your statement, due to |
printing and malitng ttme as wall as our process for raviewing
overdraft Ilmits. An overdraft Itmit is not a line of credit. If you prefer not
to have an overdraft limit, tet us know and we would then generally return |
checks and other transactions that exceed your available balance. The best
way to make sure your Items/transactions are paid is to maintain sufficient *
available funds In your account to pay your authorized Hems/transactions
and fees that may be due related to your account. If an item/transaction
{such a8 a check or other transaction, ke an ATM withdrawal, 2
pl Y- or is against
insufficient available funds, we will charge a fee for cach transaction, :
whether the item/transaction fs paid or rejected and the fee, as well as any =
overdraft paid, will reduce the overdraft mit amount, if any. You must i
deposit additional funds to pay for your overdrafts and any associated fees
immediately.

 

OVERDRAFT LINE OF CREDIT ("ODLOC*) DISCLOSURES
This information applies only te overdraft lines of credit Issued to consumers
primarily for personal, family, or household purposes. FINANCE CHARGES.
on each advance accrue from the date we make the advance unti} the date |
the advance ts patd in full. This means that there is no grace period that
would allaw you to avold FINANCE CHARGES on advonces on your Credit
Une Account.

The periodic FINANCE CHARGE on your Credit Line Account for each billing
period is 2 function of the Daily Perledic Rate, the “Average Dally Balance”

of your Credit Line Account, and the number of days In the billing period. a) -
The “Daily Salance” of your Credit Lins Account for sach day will be (1) the +
Total Balance at the beginning of that day, plus (2) new advances or
charges, minus (3) al! payments and credits received thet day and applied =:
{3} to principal, (il) unpald FINANCE CHARGES, and {ii} any overlimit fees, :
dishonored payment fees, and late fees to the extent such fees are added
te the outstanding balance of your Credit Line Account. *Total Balance”
means all amounts due cn the Credit Line Account. b) The “Average Dally
Balance” Is the sum of the Dally Balances for all days In the bilting perid
divided by the number of days in the billing pariad. c} The periodic :
FINANCE CHARGE for a billing period Is calculated by multiplying the ‘
“Average Daily Balance” by the Daily Periodic Rate and multiplying the

result by the number of days in the billing period.

SILLING RIGHTS SUMMARY — In case of errors or questions about =,
your billing statement. :
3f you think your ODLOC statement Is wrong, or If you need more |
information about an ODLOC cransaction on your statement, write 0 us,on *
a seporate sheet of paper, at: Washington Mutual, °.0. Box 659598, San
Antonio, TX 78265-9588, as soon as possible. We must hear fram youno =
later than sixty (60) days after we sent you the first statement on which i
the error or problem appeared. You can telephone us, but doing so will not:
preserve your rights. i
In your letter, give us the following information:

Your name and account number;

The dollar amount of the suspected error:

Describe the crror and explain, if you can, why you believe

there fs an error.

if you need more information, describe the item you are

‘unsure about.

You do not have to pay any arnount in question while we are Investigating, -
but you are stil objigated te pay the amounts that are not In qguesticn.
While we investigate your question, we cannot report you as delinquent or
take any action to collect the amount you question,

NOTICES OF FURNISHING NEGATIVE INFORMATION ‘
WE MAY REPORT INFORMATION ABOUT YOUR ACCOUNT TO CREDIT |
BUREAUS, LATE PAYMENTS, MISSED PAYMENTS, OR OTHER DEFAULTS ON
YOUR ACCOUNT MAY BE REFLECTED IN YOUR CREDIT REPORT.

BANKRUPTCY NOTICE
IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED, THIS IS FOR i
INFORMATIONAL PURPOSES AND 1S NOT AN ATTEMPT TO COLLECT A DEST
FROM YOU PERSONALLY. i

 

 

—
IN CASE OF ERRORS OR INQUIRIES ABOUT YOUR ELECTRONIC 1
TRANSFERS 1
If you think your statement cr receipt is wrong, or need more information
about a transfer listed on the statement or receipt, notify us immediatety at
800.788.7000 or in writing for:
+ ATM/Debit Card transactions to P.O. Box 9017, Pleasenton, CA
94566-9020;
+ ACH and electronified check transactions to P.O. Box 659634, San
Antonio, TX 7826S; and

 

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IMIS (1EM 1S PAHT OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

+ Bt Pay and Onlina Banking transactions to 400 E. Main Street, MS
STA2BPC, Stockton, CA 95202,
We must hear from you no later than 60 calendar days after we sent you
the FIRST statement on which the error or problem appeared.
+ Teil us your name ang account number {if any).
+ Oeseribe the error or the transfer you are unsure about (including the
date) and explain as clearly as you can why you believe it Is an error or
why you need more information. :
+ Tell us the dallar amount of the suspected error. :
For Transactions Subject to Federal Electronic Fund Transfer Act:
We will investigate your claim promptly. )f we take more then 10 business
days to do this, we will credit your account for the amount you think is in
@rror if required by law to do so, so that you will have tha use of the
money during the time It takes us to complete our Investigation.

WAMUS DEBIT MASTERCARD® CUSTOMERS:

The Guide to Benefits ts online at wamu.com/debit {click on Compare
WaMu Debit Cards) or cail 800.MC.ASSIST for a copy.

 

TRANSACTION DESCRIPTIONS
am ene * AUTOMATED TELLER MACHINE TRANSACTION, FEE i
CHARGE! ’
ArH NCHS = AUTOMATED TELLER MACHINE TRANSACTION, NO
FEE CHARGED:
ATM-TRANSFER = AUTOMATED TELLER MACHINE TRANSFER
ATM-WOL = AUTOMATED TELLER MACHINE WITHDRAWAL
CASH AD = CASH ADVANCE TRANSACTION
MC = DEBIT MASTERCARD TRANSACTION. {PIN NOT USED)
OLB = ONLINE BANKING TRANSACTION
POP @ POINT OF PURCHASE TRANSACTION
POS = POINT OF SALE TRANSACTION (PIN USED)
RCK = RE*PRESENTED CHECK
VISA = CHECK CARD TRANSACTION (PIN NOT USED)

 

 

(08/08)

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THIS TEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

Depositaccountsnow held by JPMorgan Chase Bank, N. A. YOUR WAMU FREE CHECKING STATEMENT

P.O. BOX 660022
DALLAS, Tx 75266-0022

This Statement Covers

From:03/12/09
Through04/10/09

Need assistance?
To reach us anytime

cal] 1-800-788-7000
RAQUEL GARCIA or visitus at wamu.com
1347DELL DALE ST
CHANNELVIEW TX 77530-2203
Veal EocebaTeDaseD dD snurebalsddel emelbalidlast bod

 

BegInningMarch 30th, Was hingtonMutual branchesin Californiawill be rebrandedto the Chase name. While these brancheswill
havethe Chase logo, they have not yet convertedbankingsystemswhichwill happenlaterthisyear. Please continueto usethese
branchesfor depositsand paymentson youraccountsuntilwe notifyyou that additionallocationsare available.

 

 

Your WaMu Free Checking Detail Information

RAQUEL GARCIA Account Number: 422-241635-0
Washington Mutual Bank, FA

 

 

 

 

 

 

 

| Your Account at a Glance |
Beginning Balance $759.27 Next AnniversarDate 01/22/2010
Checks Paid $0.00 AvailableOD/NSF Fee Waivers 1
Other Withdrawals $0.00 WaMu Debit Rewards

Deposits $0.00 Thisstatementperiod $0.00
Ending Balance $759.27 Total sinceanniversarydate $0.00

CalendarYear-To-Dat®verdraft / Non-SufficierfundsCharges

(excludingany chargeswhich have been waived or refunded):
Overdraftcharges $0.00
Non-Sufficlenfundscharges $0.00

Your Overdraft Limit as of the statementend date: $100.00
Please note that this may be changedat any timewithout notice. (View back of statement for more information.)
The fee for any Non~Sufficientf unds (NSF) Transactionwhether paid or returned, |s based on the numberof NSF Transactionsduringthe Jast 12

calendarmonths(includinghe currentmonth),as of the statementend date, the fee was $27.00forthe 1st-4thNSF Transactionand $35.00per
transactionfor the Sth and each additionaINSF Transactionduringthe period.

007-S-89 Page 1 of 2 Depositsare FDIC Insured Eyara
7782 XABR 802 a7 20 «041009 PAGE 1 of 2 COLR725C 7253 3200 O1AA7782

13cr628-013111
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THIS ITEM JS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

Depositacc held by JPMorgan Ch Ik, NLA.

INTRODUCING

CHASE PICKS UP THE TAB”

Awinner every 5 minutes:

Your next debit card purchase could be on us!

Enroll your WaMu or Chase Debit Card for free at chase.com/TheTab
or with a banker today.

Then, make everyday qualifying purchases” with your enrolled debit card.

To make sure your purchase counts:
+ Make the purchase without using your PIN.

+ At stores, select “credit,” not “debit,” and sign for your purchase.
Or just tell the cashier you don’t want to use your PIN.

+ Use your debit card for online, mail order and phone purchases too.

Enroll today!

*Every 1,250th transaction is a winner. Winner every five minutes is an average calculation that assumes 40,000 prizes are
awarded throughout promotional peried and is based on historical 2008 Chase Picks Up the Tab promotional data and forecasted
2009 eligible enrollments.

** Qualifying purchases include all debit card purchases made without using a PIN. Such “non-PIN” purchases include purchases you sign
for, contactless blink™ purchases, Internet purchases, phone or mail-order purchases, small dollar purchases that do not require a
signature, and bill payments (where billers process the transaction as a credit card). Cash advances and Cash transactions do not qualify.

NO PURCHASE NECESSARY TO ENTER OR WIN. A PURCHASE OR BANK TRANSACTION WILL NOT INCREASE YOUR
CHANCES OF WINNING. PROMOTION SUBJECT TO ALL FEDERAL, STATE AND LOCAL LAWS AND REGULATIONS. OPEN
TO LEGAL U.S. RESIDENTS CURRENTLY RESIDING in AZ, CO, CA, CT, FL, GA, ID, IL, IN, KY, LA, Ml, NJ, NY, NV, OH, OK, OR,
TX, UT, WA, Wl and WV WHO ARE 18 YEARS OF AGE OR OLDER. VOID WHERE PROHIBITED. Program begins 12:00:00 a.m.
ET on 3/2/09 and ends 11:59:59 p.m. ET on 6/30/09. For information on how to opt in, how to obtain entries, entry limitations, how
potential winners are determined and no purchase method of entry, as well as the rest of the Official Rules, please log on to:
www.Chase.com/TheTab. Maximum amount of each prize is: $200. Maximum ARV for all prizes combined is: $8,000,000. Odds of
winning any one prize are 1 in 1,250. If you do not want to receive future sweepstakes offers by mail from JPMorgan Chase Bank, N.A.,
write to us at Sweepstakes Preference Office, 1111 Polaris Parkway, Suite Al, Columbus, OH 43240-0242, Please state that you do not
want to receive future sweepstakes offers, which does not exclude you from any Chase marketing offer or promotion, and include your
name, address and telephone number. SPONSOR: JPMorgan Chase Bank, N.A., 1111 Polaris Parkway, Columbus, OH, 43240.

Deposit products and services provided by JPMorgan Chase Bank, N.A. Member FDIC.
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XAGR ao1 a7 «610 061089 PASE 2 of 2 COLR725C 7253 3200 02AA7782

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HOW TO RECONCILE YOUR
ACCOUNT
STEP 1

+ Update your occourtt record.

~ Enter enecks, other transactions, and
service charges not recanted.

STEP 2

+ USt ouistanding checks,
transactions, POP, ATM, es, ane
other withdrawals.

     
     

Swe (od

amount 1

 

IF BALANCES DO NOT AGREE:
+ heck addition and subtraction in your
register and above.

Compare your checks, ather
transactians, POP, ATM, POS, and
‘Other withdrawsls In your register wit

statement.
* Compare deposit receipts ard entries
In your ragister with stargment,

‘ a sua al coc, POP, ATH, 905,
2nd duposis arg
cts i your ogo.
> Be sure any Interest creats ore
entared in the deposit section and fees
‘entered In the debit section of your
segister.

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

Sequence number Posting date

GROUP ID G30Mar12-584

 

taliing 800.788.7000, we may,

immediately.

NON-SUFFICIENT FUNDS AND OVERDRAFT REMINDER
We reserve the right not to pay any Item or wansaction presented against
your account if presented when there are Insuffident available funds In your
account (subject to any overdraft fine of credit or overdraft transfer sarvice
that you have linked to your account), even if we paid such
ltems/transactions In the past. Untess you request us not to do so, by

but ara not obligated to, establish an

overdraft limit to pay item(s)/transactian(s) in excess of your available :
balance and any fees related to your accaunt. We may note on the front of
this statement that on overdraft limit was established and Indicate that
amount, That ernount is valid as of the statement date, but may
change (ba Increased, lowered, or removed) at any time without
notice, Induding before you actually recelva your statement, dus to *
printing and mailing me as well as our pracass for reviewing
overdraft Hmits. An overdraft imi is not a Hne of credit. If you prefer not
to have an overdraft limit, let us know and we would then generally return
checks and other transactions that exceed your avallable balance. The best
way to make sure your Items/transactions are patd Is to matntain sufficient
available funds In your account to pay your authorized Items/transactions
and fees that may be due related to your account. If an item/transaction
{such as a check or other transaction, like an ATM withdrawal, a
point-of-sale transaction, or electronic payment) Is presented against
insufficient available funds, we will charge a fee far each transaction,
whether the item/transaction Is paid or rejected and the fee, a5 weil as any
overdraft paid, will reduce the overdraft Hmit amount, If any. You must
deposit additional funds to pay for your overdrafts and any associated fees.

 

Une Account.

your billing statement.

preserve your rights.

there is an evror.

ungure about.

OVERDRAFT LINE OF CREDIT ("CODLOC") DISCLOSURES:
‘This information applies only te overdraft lines of credit Issued to consumers
primarily for personal, family, or household purpases. FINANCE CHARGES.
‘on each advance accrue from the date we make the advance until the date
the advance is paid in full, This means that there is no grace period that
would allow you to avold FINANCE CHARGES on advances on your Credit

BILLING RIGHTS SUMMARY — In case of errors or questiong about

If you think your ODLOC statement is wrong, or ff you need more
information about an OBLOC transaction on your statement, write to us, on
@ Seperate sheet of paper, at: Washington Mutual, P.O. Box 659588, San
Antonio, TX 78265-9588, as soon as possible. We must hear from you no
later than sixty (60) days after we sent you the first statement on which
the error or problem appeared. You can telephona us, but doing so will not

In your tetter, give us the following information:
Your name and account number;
‘The dollar amount of the suspected error;
Describe the error and explain, If you can, why you belleve

if you need more information, describe the Item you are

NOTICES OF FURNISHING NEGATIVE INFORMATION
WE MAY REPORT INFORMATION ABOUT YOUR ACCOUNT TO CREDIT
BUREAUS. LATE PAYMENTS, MISSED PAYMENTS, OR OTHER DEFAULTS ON
YOUR ACCOUNT MAY BE REFLECTED IN YOUR CREOIT REPORT.

The periodic FINANCE CHARGE on your Credit Une Account for each billing _
pertod is a function of the Oaily Periodic Rate, the "Average Daily Batance*
of ayer Credit Une Account, and the number of days in the billing period. a)

‘The “Daily Balance” of your Credit Line Account for each day will be (2) the
Total Balance at the beginning of that day, plus (2) new advances or
charges, minus (3) at} payments and credits recelved that day and appited
(1) to principal, (i!) unpaid FINANCE CHARGES, and (til) any overtimit fees, -
dishonored payment fees, and late fees to the extent such fees are added
to the outstanding balance of your Credit Line Account. *Total Balance”
means all amounts due on the Credit Line Account. b) The “Average Daily
Balance” is the sum of the Dally Balances for ail days in the billing period
divided by the number of days tn the billing period. c} The periodic
FINANCE CHARGE for a billing period Is calculated by mutiptying the
“Average Daily Balance” by the Dally Periodic Rate and multiplying the
result by the number of days In the billing period.

You da not have to poy any amount in question while we ara Investigating, a
but you are still obligated to pay the mounts that are not in

While we investigate your question, we cannot report you as delinquent ae
take any action to collect the amount you question.

 

FROM YOU PERSONALLY.

BANKRUPTCY NOTICE
TF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED, THIS IS FOR
INFORMATIONAL PURPOSES AND IS NOT AN ATTEMPT TO COLLECT A DEBT

 

800.788.7000 or in writing for:
94566-9020;

Antonio, TX 78265; and

 

IN CASE OF ERRORS OR INQUIRIES ABOUT YOUR ELECTRONIC
TRANSFERS:

if you think your statement or receipt Is wrong, or need more information i
about a transfer listed on the statement or recetpt, notify us immediately at i

+ ATM/Debit Card transactions to P.O. Box 9017, Pleasanton, CA

+ ACH and electronified check transactions to P.O. Box 659634, San

13¢r628-013113
Case 4:13-cr-00628 Document 881 _ Filed on 03/29/16 in TXSD Page 11 of 415
IMIS IEEM FS PAHI OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

+ Bi Pay and Oniine Banking transactions to 400 E. Main Straet, MS
STA2BPC, Stockton, CA $5202.

We must hear from you no later than 60 calendar days after we sent you

the FIAST statement on which the error or problem appeared.

+ Tell us your name and account number {if any).

+ Describe the error or the transfer you are unsure about (including the
date) and explain as clearly as you can why you Dellave it is an error or
why you need more Information.

+ Tell us the dollar amount of the suspected error,

For Transactions Subject to Federal Electronic Fund Transfar Act:

We will investigate your cairn promptly. If we take more than 10 business

days to do this, we will credit your account for the amount you think is In

arror if required by law to do so, so that you will have the use of the
money during the ttme It takes us to campiete cur Investigatian.

 

WAMUS DEBIT MASTERCARD® CUSTOMERS:
The Guide to Benefits is online at wamy.com/debit (click on Compare
WaMu Debit Cards} or call 800.MC.ASSIST for a copy.

 

TRANSACTION DESCRIPTIONS
ATM-—CHG = AUTOMATED TELLER MACHINE TRANSACTION, FEE
CHARGED. ,
ATM-NCHG = AUTOMATED TELLER MACHINE TRANSACTION, NO
FEE CHARGED
ATM-TRANSFER a AUTOMATED TELLER MACHINE TRANSFER
ATM-WDL = AUTOMATED TELLER MACHINE WITHDRAWAL
CASH AD = CASH ADVANCE TRANSACTION
MC = DEBIT MASTERCARD TRANSACTION (PIN NOT USED)
OLB = ONLINE BANKING TRANSACTION

POS = POINT OF SALE TRANSACTION (PIN USED)
RCK = RE-PRESENTED CHECK
VISA = CHECK CARD TRANSACTION (PIN NOT USED)

 

 

(08/08)

13cr628-013114
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HHI 11EM 1S PAH] OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

Depositaccountsnow held by JPMorgan ChaseBank, N. A. YOUR WAMU FREE CHECKING STATEMENT

P.O, BOX 660022
DALLAS, TX 75266-0022

This Statement Covers

From:04/11/09
Through05/12/09

Need assistance?
To reach us anytime
call 1-800-788-7000

RAQUEL GARCIA or visitus at wamu.com

1347DELL DALE ST
CHANNELVIEW TX 77530-2203

WasoDDanabsDdaaal Ds VauvssDalaadsUsassatlabad lethal

 

Your WaMu Free Checking Detail Information

RAQUEL GARCIA Account Number: 422-241635-0
Washington Mutual Bank, FA

 

 

 

 

 

 

 

 

 

 

L Your Account at a Glance |
Beginning Balance $759.27 Next AnniversarDate 01/22/2010
Checks Paid $0.00 AvailableOD/NSF Fee Waivers 1
Other Withdrawals -$450,00 WaMu Debit Rewards

Deposits +$700.00 Thisstatementperiod $0.03
Ending Balance $1,009.27 Total sinceanniversarndate $0.03

| Date Description Withdrawals (-) Deposits (+) |
04/13 CustomerDeposit $400.00
Q5/01 MC-FITNESS CONNECTION- BA BAYTOWN TX $450.00

O5/11 CustomerDeposit $300.00

CalendarYear-To-DatOverdraft/Non-SufficierRunds Charges

(excludinganychargeswhich have been waived or refunded):
Overdraftcharges $0.00
Non-SufficienFundscharges $0.00

Your Overdraft Limit as of the statement end date: $500.00

Please note that this may be changed at any timewithout notice. (View back of statement for more information.)

The fee for any Non-SufficientFunds (NSF) Transaction whether paid or returned, is based on the numberof NSF Transactionsduringthe last 12
calendarmonths(includingthe currentmonth);as of the statement end date, the fee was $27.00for the 1st-4thNSF Transactionand $35.00per
transactionfor the Sth and each additionalNSF Transactionduringthe period.

Why spendtime fumblingwith cashor writingchecks? Yournew Chase Debit Card is the better way to
pay. Use yourdebit card to accessyourmoneyat more than 14,000Chase & WaMu ATMs nationwideall
with noATM Fee. And usingyourcard is a great way to rememberevery purchaseor ATM transaction.
just Jjumponlineto reviewyour accountactivityor checkyourmonthlystatement.

007-S-89 Page 1 of 1 Depositsare FDIC Insured TNter
7782 XAGR 00. «97 «12 «051209 «= PAGE 1 of 1 COLR725C 7253 320B O1AA778Z

13cr628-013115
HOW TO RECONCILE YOUR
ACCOUNT
STEP 1

* Update your account record.

* Enter checks, other bunsactions, and
Service charges act recorded.

‘STEP 2

+ Ust cutstanding

checks, other
transactions, POP, ATM, POS, and
other withdrawals.

‘ATE

 

 

IF BALANCES DO NOT AGREE:

+ Check addition and subtraction in your
register and sbove,

. Compare your checks, other
‘vansactlons, POP, ATH, POS,
inor wited pure in your eeplter with
statement.

- Compare depos receipts acd ertoies
In your register with atatement.

* Ba sure all checks, Pas, AM, Pos,
and other payments ond deposits are
entered in your register.

* Be Sure any Interest credits
entered in tha Tha depasi section and foes
onigrad in the debit section af your
register.

GROUP ID G30Mar1 2-584
Sequence number Posting date

 

NON-SUFFICIENT FUNDS AND OVERDRAFT REMINDER
We reserve the right not to pay any item or transaction presented against

your account if presented when there are Insuffident available funds in your ~

account {subject to any overdraft line of credit or avardreft transfer service
tUnat you have linked to your account}, even If we paid such
items/transactions In the past. Untess you request us not to do so, by
calling 800.783.7000, we may, but are not obligated to, establish an
overdraft limit to pay item(s)/transaction(s) in excess of your avaliable

balance and any fees related to your account. We may note on the front of :

this statement that an overdraft limit was establlshed and indicate that
amount. That amount is valid as of the statement date, but may
change (be increased, lowered, or removed) at any time without

notice, Induding before you actually recelve your statement, dua to =

printing and mailing time as well as our process for reviewing
overdraft Itmtts. An overdraft limit Is not a lIne of credit. if you prefer not
to have an overdraft limit, let us know and we would then generally return
checks and other transactions that exceed your avaliable balance. The best
way lo make sure your items/transattions are paid is to maintain sufficient
available funds In your account to pay your authorized tems/transactions
and fees that may be due related to your account. If an tem/transaction
(such aS a check or other transaction, like an ATM withdrawal, a
point-of-sale transaction, or electronic payment) is presented against
insufficient available funds, we will charge a fee for each transaction,

whether the item/transaction is pak or rejected and the fee, as well as any ;

overdrafs paid, will reduce the overdraft limit amount, if any. You must,
deposit additional funds to pay for your overdrafts and any associated fees
immediately.

 

OVERDRAFT LINE OF CREDIT [ODLOC™) DISCLOSURES
This Information applies only to overdraft lines of credit Issued to consumers
primarily for personal, family, or househald purposes. FINANCE CHARGES

‘on each advance sccrue from the date we make the advance until the date *

the advance is pald in full. This means that there Is no grace period that
would allow you to avoid FINANCE CHARGES on advances on your Credit
Une Account.

The periodic FINANCE CHARGE on your Credit Line Account for each billing :

Period Is a function of the Daily Periodic Rate, the "Average Daily Balance”
of your Credit Line Account, and the number of days In the billing period. a)

The “Daily Balance” of your Credit Line Account for each day will be (1) the

Totai Balance at the beginning of that day, plus (2) new advances cr
charges, minus (3) all payments and credits received that day and appited
{i} to principal, (11) unpaid FINANCE CHARGES, and (it!) any overlimit fees,
dishonored payment fees, and late fees to the extent such fees are added
to tha outstanding balance of your Credit Line Account. ‘Total Salance*
Means all amounts due on the Credit Line Account. >) The “Average Dally
Balance” Is the sum of the Dally Balances for all days in the bling period
divided by the number of days in the billing period. ¢) The periodic
FINANCE CHARGE for a billing period Is catculated by multiplying the
“Average Daily Balance” by the Dally Periodic Rate and multiptying the
result by the number of days in the billing period.

BILLING RIGHTS SUMMARY — In case of errors or questions about
your billing statement.
If you think your ODLOC statement is wrong, or If you need more
information about an CDOLOC transaction on your statement, write 0 us, on
a separate sheet of paper, at: Washington Mutual, P.O. Sox 659588, San
Antonio, TX 78265-9588, as scon as possible. We must hear from you no
later than sixty (60) days after we sent you the first statement on which
the error or probiam appeared. You can telephone us, but doing so will not
Preserve your rights.
in your letter, give us the following information:

Your name and account number;

The dollar amount of the suspected error;

Describe the error and explain, # you can, why you believe

there ts an error.

Af you need more information, describe the item you are

unsure about.

You do not have to pay any amount in question while we sre Investigating, ;

but you are still obligatad to pay the amounts that are not In question.
While we investigate your question, we cannot report you as delinquent or
take any action to collect the amount you question.

 

NOTICES OF FURNISHING NEGATIVE INFORMATION
WE MAY REPORT INFORMATION ABOUT YOUR ACCOUNT TO CREDIT
BUREAUS. LATE PAYMENTS, MISSED PAYMENTS, OR OTHER DEFAULTS ON
YOuR ACCOUNT MAY BE REFLECTED If YOUR CREDIT REPORT.

 

BANKRUPTCY NOTICE
IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED, THIS 15 FOR
INFORMATIONAL PURPOSES ANO 1S NOT AN ATTEMPT TO COLLECT A DEST
FROM YOU PERSONALLY.

 

 

IN CASE OF ERRORS OR INQUIRIES ABOUT YOUR ELECTRONIC
TRANSFERS

3f you think your statement or receipt Is wrong, of need more information

about 8 transfer listed on the statement or receipt, notify us Immediately at

800.788.7000 or tn writing for:

+ ATM/Debit Card transactions to P.O. Box 9017, Pleasanton, CA
$4566-9020;

+ ACH and slectronified check transactions to P.O. Box 659634, San
Antonto, TX 78265; and

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 14 of 415
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GROUP ID G30Mar12-584
Sequence number Posting date

+ Bill Pay and Oniine Banking transactions to 460 E. Main Street, MS
‘STA2BPC, Stockton, CA 95202.

We must hear from you no later than 60 calendar days after we sent you

the FIRST statement on which the error or problem appeared.

+ Tell us your name and account number (if any).

+ Describe the error or tha transfer you are unsure about (including the
date) and explain as clearty as you can why you believe itis an error cr |
why you need more information. i

+ Tell us the dollar amount of the suspected error.

For Transactions Subject to Federal Electronic Fund Transfer Act:

We will lavestigate your claim promptly. If we take more than 10 business

days to do this, we will credit your account for the amount you think is in

error if required by law to do so, so that you will have the use of the
money during the time it takes us to complate our Investigation.

 

WAMU® DEBIT MASTERCARD® CUSTOMERS:
The Guide to Benefits Is online at wamu.cam/debit (click on Compare :
‘WaMu Debit Cards) or call 800.MC.ASSIST for a copy. ‘

 

TRANSACTION DESCRIPTIONS.
ATM-CHG = AUTOMATED TELLER MACHINE TRANSACTION, FEE
CHARGED
ATM-NCHG = AUTOMATED TELLER MACHINE TRANSACTION, NO
FEE CHARGED
ATM-TRANSFER = AUTOMATED TELLER MACHINE TRANSFER
ATM-WDL = AUTOMATED TELLER MACHINE WITHDRAWAL
CASH AD = CASH ADVANCE TRANSACTION ‘
MC © DEBIT MASTERCARD TRANSACTION (PIN NOT USED}
‘OLB = ONLINE BANKING TRANSACTION i
POP = POINT GF PURCHASE TRANSACTION :
POS = POINT OF SALE TRANSACTION (PIN USED) 5
RCK © RE-PRESENTED CHECK i
VISA » CHECK CARD TRANSACTION (PIN NOT USED) 1

{08/08}

 

 

13cr628-013117
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 15 of 415
IMS 11EM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

Depositaccountsnow held by JPMorgan ChaseBank,N. A. YOUR WAMU FREE CHECKING STATEMENT

P.O. BOX 660022
DALLAS, TX 75266-0022

This Statement Covers

From: 05/13/09
Through06/10/09

Need assistance?
To reach us anytime
call 1-800-788-7000

RAQUEL GARCIA or visitus at wamu.com

1347DELL DALE ST
CHANNELVIEW TX 77530-2203

Plane DascDalsDessT aD bsisesEslsstlHasenadlsabsallossll bas!

 

You're nowableto enjoyfree accessat over 14,000Chaseand WaMu ATMs, and by the end of Julyyou'Il haveaccessto all
Chase brancheswith branchesin NV andCA comingin October. We're alsomakingchangesto the automatedsystemto
improveyourtelephonebankingexperience. You'l] have new and better ways to accessyouraccount,andtransferringnoneywill
becomeeven easier. Watch for an importantmailingwith more detailscomingsoon,as we work to bringyou the power of
Chase.

Usted puede ahoraacceder su dinerosin pagarcomisionesen masde 14,000cajerosautomaticosde Chasey Wamu, y antesdel
finde julide podremosatenderen todas las sucursalesie Chase,con sucursalesen NV y CA disponiblesen octubre. Tambien
estamoscambiandcel sistemaautomatizadqaramejorarsu experienciaal acceder serviciosbancariospor telefono.Usted
tendraa su disposiciormejoresmaneraspara accedersu cuenta,y transferitsu dineroseracada vez mas facil. Dentrode poco
usted recibiracomunicacionexon mas detallessobrelo que le ofreceremoscon la fortalezade Chase.

 

 

Your WaMu Free Checking Detail Information

RAQUEL GARCIA Account Number: 422-241635-0
Washington Mutual Bank, FA

 

 

 

 

Currently,fees for usingnon-Chase/WaMATMs are billedat the end of each statementcycle. After July 23,2009any fees for
usingnon-Chase/WaM&TMs will be subtractedfrom youraccounton the same day you use the non-Chase/WaMAaTM. Fees
incurredon or before july 22 will be posted to youraccounton July 22, ratherthanthe date of yournext statement.

 

 

 

 

 

 

[ Your Account at a Glance |
Beginning Balance $1,009.27 Next AnniversaryDate 01/22/2010
Checks Paid -$1,860.00 AvailableOD{NSF Fee Waivers 1
Other Withdrawals -$450.00 WaMu Debit Rewards
Deposits 4+$2,000.00 Thisstatementperiod $0.03
Ending Balance $699.27 Total sinceanniversardate $0.06
{ Date Description Withdrawals = (-) Deposits (+) |
05/28 CustomerDeposit $2,000.00
06/01 MC-FITNESS CONNECTION- BA BAYTOWN TX $450.00

207-S-89 Page lof 2 Depositsare FDIC Insured tExsea
7782 XAGR $01 07 «10 062909 = PASE 1 of 2 COLR728C 7253 3200 OLAAT78Z

13cr628-013118
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 16 of 415
IMIS HEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

Depositaccountsnow held by JPMorgan Chase Bank, N. A.

This Statement Covers
Account Number: 422-241635-0
From:05/13/09

 

 

 

Through0D6/10/09
Checks Paid *Indicatescheck out of sequence
Check Number Date Amount Paid | check Number Date Amount Paid
655 | 06/04 | $1,700.00 | 656 { 06/05 y $160.00

 

 

CalendarYear-To-DatOverdraft/Non-SufficierftundsCharges

(excludingany chargeswhich have been waived or refunded):
Overdraftcharges $0.00
Non-Sufficienfundscharges $0.00

Your Overdraft Limitas of the statementend date: $500.00

Please note that this may be changed at any time without notice. (View back of statement for more information.)

The fee for any Non-Sufficientfunds (NSF) Transactionwhether paid or returned,is based on the numberof NSF Transactionsduringthe last 12
calendarmonths(includingthe currentmonth);as of the statementend date, the fee was $27.00for the 1st-4thNSF Transactionand $35.00per
transactionfor the 5th and each additionalNSF Transactlonduringthe period.

Why spend time fumblingwith cashor writingchecks? Yournew Chase Debit Card is the better way to
pay. Use yourdebit card to access yourmoneyat more than14,000Chase & WaMu ATMs nationwideall
with noATM Fee. And usingyourcardis a greatway to rememberevery purchaseor ATM transaction.
Just Jumponlineto reviewyouraccountactivityor checkyourmonthlystatement.

Page 2 of 2 Depositsare FDIC Insured iexben
7782 XAaSR ool a7 «610 «G61009 PAGE 2 of 2 COLR725C 725% 3200 O1AA7782

13cr628-013119
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 17 of 415

HOW TO RECONCILE YOUR
ACCOUNT
STEP 1

+ Update your account recon.

* Enter checks, other transactions, and
service charges not reconted

STEP 2

+ USt outstanding checks, sther
transactions, POP, ATM, POS, and
weil Is.

     

‘avin one 7
NUMBER Ok Cart

 

IF BALANCES DO NOT AGREE:

+ Check addition and subtraction In your
fegister and sbove.

* Campare your checks, other
heer weithdraveals tn your Preginer orien
statement
Compare daposit ® receipts an and © eaten
in your rogister with
* Ba sure ail checks, pO, AT an POs,
and and deposits are

other
‘entered Ie your register.

‘entered in the debit section of your
fegister,

IHIS 1SEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar1 2-584
Sequence number Posting date

 

NON-SUFFICIENT FUNDS AND OVERDRAFT REMINDER
We reserve the right not to pay any item or transaction presented against
your account If presented when there are insufficient available funds in your
actount {subject to any overdraft line of credit or overdraft transfer service
that you have linked to your account), even If we paid such
Items/transactions in the past. Unless you request us not to do so, by
tailing 800.788.7000, we may, but are not obligated to, establish an
overdraft limit to pay Item(s)/transaction(s) in excess of your available

balance and any fees related to your account. We may note on the front of |

this statamant that an overdraft limit was established anc indicate that
amount. That amount is valid as of the statement date, but may
change (be increased, lowerad, or removed) at any time without
notice, Induding hefors you actually receive your statement, dua to
printing and mailing time as wel] as our process for reviewing
overdraft limits. An overdratt limit is not a line of credit. If you prefer not
to have an overdraft limit, let us know and we would then generally return

chacks and other transactions that excaed your available balance. Tha best _

way to make sure your tems/transactions are pald Is to maintain sufficient
available funds in your account t pay your authorized ttems/trangactions
and fees that may be due related to your account. If an item/transaction
(such as a check or other transaction, like an ATM withdrawal, a
point-of-sale transaction, or electronic payment) is presented against
Insufficient available funds, we will charge a fee for each transaction,

whether the item/transaction ts paid or rejected and the fee, as well as any ;

overdraft paid, will reduce the overdraft timit amount, if any. You must
deposit additional funds to pay for your overdrafts snd any associated fees.
immediately.

 

OVERDRAFT LINE OF CREDIT (“ODLOC”) DISCLOSURES

This information applies only to overdraft lines of credit issued to consumers —

primarily for personal, family, or household gurposes. FINANCE CHARGES
on each advance accrue from the date we make the advance until the date
the advance is paid In full. This means that there is no grace period that
would allow you to aveld FINANCE CHARGES on advances on your Credit
Une Account,

The periodic FINANCE CHARGE on your Credit Line Account for each billing :

Period is a function of the Dally Perfodlc Rate, the “Average Daily Balance”

of your Credit Line Account, and the number of days in the billing period. a) *
‘The “Daily Saiance” of your Cradit Line Account for each day will be (2) the *

Total Balance at the beginning of that day, plus (2) new advances or
charges, minus (3) all payments and credits received that day and applled

{l) to principal, {ii} unpaid FINANCE CHARGES, and (if!) any overiimit fees, .

dishonored paymert fees, and late fees to the extent such fees are added
to the outstanding balance of your Credit Line Account. ‘Total Salance”
means all amounts due on the Credit Line Account. b) The “Average Daily
Balance” Is the sum of the Dally Balances for all days in the billing period
divided by the number of days in the billing period. ¢) The periodic
FINANCE CHARGE for 2 billing period Is cakulated by multiplying the
*Avesage Datly Satance” by the Dally Period Rate and muluptying the
result by the number of days In the billing period.

BILLING RIGHTS SUMMARY — In casa of atrors or questions about
your billing statement.
Vf you think your ODLOC statement ts wrong, or If you need more
information abaut an OOLOC transaction on your statement, write to us, on
@ separate sheet of paper, at: Washington Mutual, P.O. Box 659588, San
Antonio, TX 78265-9588, as soon as possible. We must hear from you no
later than sixty (60) days after we sent you the first statement on which
the error or problem appeared. You can telephone us, but doing so will not
preserve your rights,
In your letter, give us the following information:

Your name and account number;

‘The dollar amount of the suspected error;

Describe the error and explain, If you can, 5 why you believe

there Is an error.

If you need more Information, describe the item you are

‘unsure about,

You do not have to pay any amount In question while wa are Investigating,
but you are stil] obligated to pay the amounts that are nat in question.
While we Investigate your question, we cannot report you as delinquent or
take any action to collect the amount you question.

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NOTICES OF FURNISHING NEGATIVE INFORMATION
WE MAY REPORT INFORMATION ABOUT YOUR ACCOUNT TO CREDIT
BUREAUS. LATE PAYMENTS, MISSED PAYMENTS, GR OTHER DEFAULTS ON
YOUR ACCOUNT MAY BE REFLECYED IN YOUR CREDIT REPORT.

 

BANKRUPTCY NOTICE
IF YOU ARE TN BANKRUPTCY OR HAVE BEEN DISCHARGED, THIS IS FOR
INFORMATIONAL PURPOSES AND 15 NOT AN ATTEMPT TO COLLECT A DEBT
FROM YOU PERSONALLY.

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i

 

 

IN CASE OF ERRORS OR INQUIRIES ABOUT YOUR ELECTRONIC
TRANSFERS

Af you think your statement or receipt Is wrong, or need more infarmation

about a transfer listed on the statement ‘or recelpt, notify us Immediately at :

800.788.7000 or in writing fos

* ATM/Oebit Card tvensactions to P.O. Box $017, Pleasanton, CA
94566-3020;

+ ACH anc electronified check transactions to P.O. Box 659634, San
Ankonlo, TX 78265; and

13cr628-013120
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 18 of 415
1HIS 11M IS PAH] UF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

+ Bill Pay and Online Banking transactions to 400 E. Main Street, MS
STA2BPC, Stockton, CA 95202,

We must hear from you no later than 60 calendar days after we sent you

the FIRST statement on which the error or problem appeared.

+ Tell us your name and account number {if any).

+ Describe the error or the transfer you are unsure about (Including the
date) and explain as clearly as you can why you believe It is an errer or
why you need more information.

+ Tall us the dollar amount of the suspected error.

For Transactions Subject to Federal Electronic Fund Transfer Act:

We will Investigate your claim promptly. If we take more than 10 business

days to do this, we will credit your account for the amount you think is in

error If required by lave to do so, so that you will have the use of the
money during the nme It takes us to compiete our Investigation,

WAMU® DEBIT MASTERCARD® CUSTOMERS:
‘The Guide to Benefits Is online at wamu.com/dabit {click on Compare
WaMu Debit Cards) or call 800.MC.ASSIST for 3 copy.

 

TRANSACTION DESCRIPTIONS
ATM-CHG = AUTOMATED TELLER MACHINE TRANSACTION, FEE
CHARGED
ATM-NCHG = AUTOMATED TELLER MACHINE TRANSACTION, NO
FEE CHARGED
ATM-TRANSFER = AUTOMATED TELLER MACHINE TRANSFER
ATM-WOL = AUTOMATED TELLER MACHINE WITHDRAWAL
CASH AD = CASH ADVANCE TRANSACTICN
MC = DEBIT MASTERCARD TRANSACTION (PIN NOT USED)
OLG «= ONLINE BANKING TRANSACTION
POP = POINT OF PURCHASE TRANSACTION
POS = POINT OF SALE TRANSACTION (PIN USED)
RCK = RE-PRESENTED CHECK
VISA = CHECK CARD TRANSACTION (PIN NOT USED)

 

{08/08}

13cr628-013121
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 19 of 415

ROR Oe 8 ENT Nee oe NA ASIN PRIN PIU IVI

GROUP ID G30Mar1 2-584
Sequence number Posting date

Depasitaccountsnow held by JPMorgan Chase Bank, N. A. YOUR WAMU FREE CHECKING STATEMENT

P.O, BOX 660022
DALLAS, TX 75266-0022

This Statement Covers

From:06/11/09
Through07/10/09

Need assistance?
To reach us anytime
cal] 1-800-788-7000

RAQUEL GARCIA or visitus at wamu.com

1347DELL DALE ST
CHANNELVIEW TX 77530-2203

HooclDaroDsbsdo sD sansalabelsTEanaasDbsadsaDbasel dsr!

 

Welcome to Chase. We're excited aboutcontinuingo bringyou great serviceand nowyou'llalso have the most branchesand
the mostATM locationsin Texas! Thismonthyou'llsee more of oursignschangeto Chaseas we prepareto mergeour systems

becomesavailableto you later thisyear); brancheswith WaMu signsin other states will also not be able to offer bankingservices
for yourChaseaccountuntillaterthisyear. You shouldhave receiveda letter recentlyaboutyourWaMu accountbecominga
similaraccountat Chase, includingnformatiombout new servicescomingsoon. If you have any questions juststop by anyof

BIENVENIDO A CHASE! NOS COMPLACE SEGUIR BRINDANDOLE EXCELENTE SERVICIO Y AHORA ADEMAS TENDRA A SU
ALCANCE LA MAYOR CANTIDAD DE SUCURSALES Y PUESTOS DE CAJEROS AUTOMATICOS EN TEXAS. ESTE MES VERA

SISTEMAS EL 25 DE JULIO DE 2009. DESPUES DEL 25DE JULIO, USTED PODRA SER ATENDIDO EN DONDE QUIERA QUE
VEA EL LETRERO DE CHASE EN LOS ESTADOS UNIDOS (EXCEPTO EN CALIFORNIA, DONDE PODRA SERLO MAS ADELANTE
EN EL 2009)SUCURSALES CON LETREROS DE WAMU EN OTROS ESTADOS SOLO PODRAN ATENDERLE EN RELATION
CON SU CUENTA DE CHASE HASTA MAS TARDE EN EL 2009. USTED DEBE HABER RECIBIDO UNA CARTA RECIENTEMENTE
ACERCA DE LA CONVERSION DE SU CUENTA DE WAMU A UNA CUENTA SIMILAR EN CHASE, INCLUYENDO INFORMACION
SOBRE NUEVOS SERVICIOS. SI USTED TIENE PREGUNTAS, PASE POR UNA DE NUESTRAS SUCURSALES O LLAMENOS AL

on july 25,2009. After july 25, you can bankwhereveryou see the Chasesignacrossthe U.S. (exceptfor Californiawhich

our branchesor call us at 1.800.788. 7000We'll be happyto help.

MAS DE NUESTROS LETREROS CAMBIAR A CHASE EN LA MEDIDA QUE NOS PREPARAMOS A FUSIONAR NUESTROS

1,.800.788.7000LE ATENDEREMOS EN SU IDIOMA.

 

 

 

Your WaMu Free Checking Detail Information

RAQUEL GARCIA Account Number: 422-241635-0
Washington Mutual Bank, FA

 

 

 

Currently,fees for usingnon-Chase/WaMa@TMs are billedat the end of each statementcycle. After July 23, 2009any fees for
usingnon-Chase/WaMATMs will be subtractedfrom your accounton the sameday you use the non-Chase/WaMATM. Fees

incurredon or before July 22 willbe posted to youraccounton july 22, ratherthanthe date of yournextstatement.

 

 

 

 

[- Your Account at a Glance |
Beginning Balance $699.27 Next AnniversarDate 01/22/2010
Checks Paid -$159.00 AvailableOD/NSF Fee Waivers 1
Other Withdrawals -$462.78 WaMu Debit Rewards
Deposits $0.00 Thisstatementperiod $0.03
Ending Balance $77.49 Total sinceanniversardate $0.09
107-S-89 Page 1 of 2 Depositsare FDIC Insured tenben
7782 XAGR ool O7 1g 071009 PAGE 1 of 2 COLR725C 7253 3209 O1AA7782

13¢r628-013122
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 20 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

Depositaccountsnow held by JPMorgan ChaseBank, N. A.

This Statement Covers
Account Number: 422-241635-0
From:06/11/09

 

 

 

 

 

 

Through07/10/09
[ Date Description Withdrawals = (-) Deposits (+) ‘|
06/19  ] MC-WESTEND ROOFING HOUSTON TX | $462.78 7
Checks Paid *Indicatescheck out of sequence
Check Number Date Amount Paid | Check Number Date Amount Pald
657 | 07/08 T $159.00 |

 

CalendarYear-To-Dat@verdraft/Non-Sufficierftunds Charges
(excludinganychargeswhich have been waived or refunded):
Overdraftcharges $0.00

Non-Sufficienfundscharges $0.00

Your Overdraft Limitas of the statement end date: $500.00
Please note that this may be changedat any time without notice. (View backof statement for more information.) ~_
The fee for any Non-SufficientF unds (NSF) Transaction whether paid or returned,is based on the numberof NSF Transactionsduringthe fast 12

calendarmonths(includingthe currentmonth);as of the statement end date, the fee was $27.00for the 1st-4thNSF Transactionand $35.00per
transactionfor the 5th and each additionalNSF Transactionduringthe period.

Why spendtime fumblingwith cashor writingchecks? Yournew Chase Debit Card is the better way to
pay. Use yourdebit card to accessyour moneyat more than 14,000Chase& WaMu ATMs nationwideall
with no ATM Fee. And usingyourcardis a great way to rememberevery purchaseos ATM transaction.
Just jumponlineto reviewyouraccountactivityor checkyourmonthlystatement.

Page 2 of 2 Depositsare FDIC Insured ieNter
7782 XAGR ool 07 #19 «O71OD9 PAGE 2 of 2 COLR725C 7253 3200 OLAA7TTa2

13cr628-013123
HOW TO RECONCILE YOUR
UNT

SYEP 1

= Update your account recent.

* Enter checks, other transactions, 3nd
Barvice charges not recorded.

STEP 2

+ Ust ovlstanding checks, sther
‘transactions, POP, ATM, POS, and
other withdrawals,

 

 

IF BALANCES DO NOT AGREE:

» Check addition and subtraction in your
reas and seve.

* Compare your checks, other

transactions, POP, ATM, POS, 1

other withdrowats ta: 2 your register with
statement.

. Compare depesit reo Teceipts and entries
in your register with statement.

‘Ba sure ail checks, POP, ATM, POS,

and other payments and deposits are

‘entered In your register,

* Ba sure any interest cdl
rmaread in ine Gepost sect section ond fees

a Une debit section af your

register

GROUP 1D G30Mar12-584
Sequence number Posting date

 

NON-SUFFICIENT FUNDS AND OVERDRAFT REMINDER
We reserve the right not to pay any item or transaction presented against

your account if presented when there are Insufficient available funds In your *

account {subject to any overdraft line of credit or overdraft transfer service
that you have Iinkad to your account), even If we paid such
items/transactions in the past, Unless you request us fot to do so, by
tailing 800.788.7000, we may, but are not ob&igated to, establish an
overdraft lirnlt to pay itern{s)/transactton(s) in axcess of your avatiable
datance and any fees related to your account. We may note on the front of
this statement that an overdratt Jimit was established and indicate that
amount. That amount is valid as of the statement data, but may
change (ba increased, lowered, or ramoved) at any time without
notice, including befora you actually receive your statement, due to
printing and malling time as well os our process for reviewing
overdraft limits. An overdraft limit ts not a line of credit. If you prefer not
to have an overdraft mit, let vs know and we would then generally return
checks and other transactions that exceed your available balance. The best
‘way to make sure your items/transactions are patd is to maintain sufficient
available funds in your account to pay your authorized Items/transactions
and fees that may be due related to your account. If an item/transaction
{such as a check or other transaction, like an ATM withdrawal, 2
point-of-sate transaction, or electronic payment) is presented against
Insufficient available funds, we will charge a fee for each transaction,
whether the item/transaction Is pald or rejected and the fee, as well as any
overdraft pald, will reduce the overdraft limit amount, If any. You must
deposit additional funds to pay for your overdrafts and any associated fees
immediately.

1!

 

OVERDRAFY LINE OF CREDIT (“ODLOC™) DISCLOSURES:

‘This information applies only to overdraft lines of credit issued to consumers |

primarily for personal, family, ar household purposes, FINANCE CHARGES.

on each advance accrue from the date we make the advance until the date ©

the advance Is paid in full. This means that there Is no grace period that
would allow you to avold FINANCE CHARGES on advances on your Credit
Une Account.

The periodic FINANCE CHARGE on your Credit Line Account for each billing :

Period is a function of the Daily Periodic Rate, the “Average Dally Balance”
‘of your Credit Line Account, and the number of days in the billing period. a)
The “Daily Balance” of your Credit Line Account for each day will be (1) the
Total Batanea at the beginning of that day, plus {2} new advances or
charges, minus (3) all payments and credits received that day and applied
{i) to principal, (#) unpaid FINANCE CHARGES, and (il!) any overiimit fees,

dishonored payment fees, and late fees to the extent such fees are added
to the outstanding balance of your Credit Une Account. ‘Total Balance”
means all amounts due on the Credit Une Account. b) The “Average Dally
Balance” is the sum of the Daily Balances for all days in the Ddilling period
divided by the number of days in the billing period. ¢) The periodic
FINANCE CHARGE for a billing period is calculated by multiplying the
“Average Dally Balance” by the Daily Periodic Rate and multiplying the
result by the number of days in the billing period.

BILLING RIGHTS SUMMARY — In case of errors or questions about
your billing statement.
If you think your ODLOC statement ts wrong, of If you need more
information about an ODLOC transaction on your statement, write to us, on
a separate sheet of paper, at: Washington Mutual, ?.0. Box 659588, San
Antonio, TX 78265-9588, as soon as possible. We must hear from you no
later than sixty (60) days after we sent you the first statement on which
the erros or problem appeered, You can telephone us, but doing so will not
Preserve your rights.
Jn your letter, give us the following Information:

Your name and account number;

The dollar amount of the suspected error;

Describe the error and explain, if you can, why you belleve

there ls an error.

if you need more information, daseribe the Item you are

unsure about.
You do not have to pay any amount in question while we are investigating,
Dut you are st! obligated to pay the amounts that are not In question.
While we Investigate your question, we cannot report you as delinquent or
take any action to collect the amount you question.

NOTICES OF FURNISHING NEGATIVE INFORMATION
WE MAY REPORT INFORMATION ABOUT YOUR ACCOUNT TO CREDIT
BUREAUS. LATE PAYMENTS, MISSED PAYMENTS, GR OTHER DEFAULTS ON
YOUR ACCOUNT MAY BE REFLECTED IN YOUR CREDIT REFORT.

 

BANKRUPTCY NOTICE
IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED, THIS IS FOR
INFORMATIONAL PURPOSES AND IS NOT AN ATTEMPT YO COLLECT A DEBT
FROM YOU PERSONALLY.

 

 

IN CASE OF ERRORS OR INQUIRIES ABOUT YOUR ELECTRONIC
TRANSFERS

If you think your statement or receipt Is wrong, or need more Information

about 8 transfer listed on the statement or receipt, notify us immediately at

800.788.7000 or in writing for:

« ATM/Debit Card transactions to P.O. Box 9017, Pleasanton, CA
34566-9020;

+ ACH and alectronified check transactions to P.O, Box 659634, San
Antonlo, TX 7826S; and

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

13cr628-013124
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 22 of 415

THIS {TEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP 1D G30Mar12-584
Sequence number Posting date

+ Bil Pay and Oniine Banking transactions to 400 E. Main Street, MS
STA2BPC, Stockton, CA 95202.

We must hear from you fo later than 60 calendar days after we sent you

the FIRST statement on which the error or problem appeared.

+ Tell us your name and account number {if any).

+ Describe the error or the transfer you are unsure about {including the
date) and explain as dearly as you can why you balleve it is an erroror  «
why yoy need more Information.

+ TeH us the dollar amount of the suspected error.

For Transactions Subject to Federal Electronic Fund Transfer Act:

We will Investigate your daim promptly. If we take more than 10 business

days to do this, we will credit your account for the amount you think Is In

error if required by law to do so, so that you will have the use of the
money during the Ume It takes us to complete our Investigation,

 

WAMU® DEBIT MASTERCARD® CUSTOMERS:

The Guide to Benefits is online at wamy.com/debit (click on Compare
WaMu Debit Cards} or call 800.MC_ASSIST for a copy.

 

TRANSACTION DESCRIPTIONS:
AYM-CHG = AUTOMATED TELLER MACHINE TRANSACTION, FEE
CHARGED
ATM-NCHG » AUTOMATED TELLER MACHINE TRANSACTION, NO
FEE CHARGED:
ATM-TRANSFER 3 AUTOMATED TELLER MACHINE TRANSFER
ATM-WOL = AUTOMATED TELLER MACHINE WITHDRAWAL
(CASH AD = CASH ADVANCE TRANSACTION
MC = DEBIT MASTERCARD TRANSACTION (PIN NOT USED) ‘
‘OLB = ONLINE BANKING TRANSACTION
POP = POINT OF PURCHASE TRANSACTION
POS = POINT OF SALE TRANSACTION (PIN USED)
RCK = RE-PRESENTEO CHECK
VISA = CRECK CARO TRANSACTION (PIN NOT USED}

 

 

{08/08}

13cr628-013125
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 23 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASES

July 11, 2009 through August 12, 2009
eMorsae paaase Bank, NA. Account Number: 000004222416350
Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
MacalTecaD sDsbonsSDsVucsvefstand EM Lavssalbcabsodbostbsel Service Center. 1-800-788-7000
00027850 DRE 201 141 22509- YYNNNT 4 000000000 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST International Calls: 4-713-262-1679

CHANNELVIEW TX 77530-2203

Welcome to Expanded Banking!

You now have full banking access at 900 more branches: all former WaMu branches in Florida, Georgia, New
York, New Jersey, Connecticut, Illinois, and Texas are now Chase branches.

Many also have new expanded hours to serve you, with later hours on Fridays and Saturdays when you need
them most. Watch your statements for branch availability in more states coming later this fall.

Welcome to Chase
Get Ready for Better Banking

Please see the enclosed guide to your new statement. Chase is committed to bringing you:

Continued Value

Get the great features and service you've come to expect. Our bankers are happy to speak with you and find a
solution that fits your needs.

Greater Control

Watch over your finances anytime, anywhere with mobile and online banking. You can also reduce clutter by
choosing paperless statements.

More Convenience

With Chase, you have free access to over 14,000 Chase and WaMu ATMs, as well as access to over

5,000 branches by year end.

We value you as a Chase customer. Please call us at 1-800-788-7000 if you have questions.

CHECKING SUMMARY |_Chese Free Extra Checking

 

 

AMOUNT
Beginning Balance $77.49
Deposits and Additions 1,757.29
Checks Paid - 471.00
Ending Balance $1,363.78

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13cr628-013126
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 24 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

duly 11, 2009 through August 12, 2009
Account Number, 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write tn the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step2Totak $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:  $.

4, List and total ail checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Chack Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
§. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more Infomation about a transfer listed on the statement or receipt. We must hear from you neo Jater than 60 days after we sent you
the FIRST statement on which the problem or error appeared, Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need mora information.
We will investigate your complaint and will correc! any error prompily. if we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Conilact the bank immediately if your statement is
incorrect or if you need more Information about any r dectronic ti tions (checks or dep } on this slat If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

{kita = JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013127
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

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CHECKS PAID |

CHASES

GROUP ID G30Mar12-584
Sequence number Posting date

Account Number:

duly 11, 2009 through August 12, 2009
000004222416350

Page 25 of 415

 

 

 

CHECK NUMBER DATE AMOUNT
PAID

658 4 07/22 $312.00

659 4 08/06 159.00

Total Checks Paid $471.00

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTION DETAIL]

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $77.49
07/13 Customer Deposit 700.00 T7743
07/22 Check #658 - 312.00 465.49
07/23 WaMu Debit Rewards Payment 0.09 465.58
08/05 Deposit 479114316 1,057.20 1,522.78
08/06 Check #659 - 159.00 1,363.78
Ending Balance $1,363.78
Page 3 of 4

 

10278500202000000082

13cr628-013128
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 26 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1t2-584
Sequence number. Posting date

ra
CHASE ‘J July 11, 2009 through August 12, 2009
AccountNumber 000004222416350

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Page 4 of 4

13cr628-013129
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 27 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

oN
CHAS E wv A August 13, 2009 through September 11, 2009
FO oe Banks NA. Account Number: 000004222416350

Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site:
Wass DaseDalaleos IMs MssseobsbaslstDbasusalbaslaaElanalJaasd Service Center.
00024451 DRE 201 141 25509-NYNNNT 1 000000000 08 0000 Hearing Impaired:
RAQUEL GARCIA Para Espanol:
1347 DELL DALE ST Intemational Calls:

CHANNELVIEW TX 77530-2203

IMPORTANT CHANGE TO NON-CHASE ATM FEES
FOR CHASE FREE EXTRA CHECKING

Starting 11/2/2009 there will be no Chase fee for the first two non-Chase ATM inquires, transfers and withdrawals
each statement period through 2/2/2010. After 2/2/2010, all non-Chase ATM inquiries, transfers and withdrawals
applied to your account will be assessed the standard non-Chase ATM fees. Please call us at 1-800-935-9935 if

you have questions.

Attention Former WaMu Customers
Chase By Phone Access Has Been Updated

When you use your debit card number to access account information with Chase by Phone, you now need to
enter your ATM PIN after entering your debit card number. This update allows instant access to your account

information and saves time in reaching a telephone banker.

Chase.com
1-800-788-7000
4-800-242-7383
4-877-312-4273
1-713-262-1679

You can reach Chase by Phone by calling the number listed at the top of this statement.

 

CHECKING SUMMARY |_&"2se Free Extra Checking

 

AMOUNT
Beginning Balance $1,363.78
Checks Paid - 471.00
Ending Balance $892.78

Page 1 of 4

 

00244810201400000022

13cr628-013130
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 28 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

August 13, 2009 through September 11, 2009
AccountNumber. 000004222416350

 

 

Note: Ensure your checkbock register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and totaf all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3Total: 3.

4, List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days atter we sent you
the FIRST on which the problem or error app d. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

¢ A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
‘We will investigate your complaint and will correc! any error promptly. }t we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have usa of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Coniact the bank immediately if your statement is.
tinh rd

incorrect or if you need mora information about any non. ) on this it. If any such error

v ol v
appears, you must notify the bank tn writing no later than 30 daya after the statament was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

a JPMorgan Chase Bank, N.A. Member FDIC

Pago 2 of 4

13cr628-013131
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

CHASES

[CHECKS PAID

GROUP ID G30Mar1 2-584

Sequence number Posting date

August 13, 2009 through September 11, 2009

Account Number:

000004222416350

Page 29 of 415

 

CHECK NUMBER DATE

 

 

AMOUNT
PAID

660 “ 08/17 $312.00

662 *A 09/08 159.00

Total Checks Paid $471.00

if you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on

one of your previous statements.

4 An image of this check may be available for you to view on Chass.com.

TRANSACTION DETAIL]

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $1,363.78
08/17 Check #660 - 312.00 1,051.78
o9/o8 Check # 662 - 159.00 892.78
Ending Balance $892.78

Page 3 of 4

 

 

 

 

 

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13cr628-013132
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 30 of 415

to 110 1D FAN UP A LOUAL SIATCIMENL ACVUNS TNULIIUN
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

August 13, 2009 through September 11, 2009
Account Number. 000004222416350

Are you earning the best rate you can on your savings?

Get a boost in your savings with a limited-time interest rate bonus on a
Chase Plus Savings®M account.

Talk to your Chase Personal Banker for details.
Hurry! Offer ends October 30, 2009.

Page 4 of 4

13¢r628-013133
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 31 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mart2-584
Sequence number Posting date

CHASE SG September 12, 2009 through October 13, 2009

JPMorgan Chase Bank, N.A. /
PO Box 260180 Account Number. 000004222416350

Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
HlaneTbsoaDalsDeseDL Masssalaleat MM ssuseHlealadlal ial Service Center. 1-800-788-7000
00016895 DRE 201 141 28709- NYNNNT 1 000000000 08 6000 Hearing Impaired: 4-800-242-7383
RAQUEL GARCIA Para Espanot. 1-877-312-4273
1347 DELL DALE ST Intemational Calis: 1-713-262-1679

CHANNELVIEW TX 77530-2203

 

STARTING 10/25/2009, THE STOP PAYMENT FEE WILL BE LOWERED TO $25
WHEN YOU REQUEST A STOP PAYMENT FOR A CHECK ONLINE THROUGH
CHASE.COM. THE FEE WILL REMAIN THE SAME AT $82 IF YOU GO INTO A
BRANCH OR GALL US TO REQUEST A STOP PAYMENT. PLEASE CALL US AT
1-800-935-9935 IF YOU HAVE QUESTIONS.

IF YOU HAVE A CHASE PREMIER PLATINUM CHECKING ACCOUNT OR A CHASE
PREMIER PLATINUM ASSET MANAGEMENT ACCOUNT, THE FEE FOR STOP
PAYMENTS WILL CONTINUE TO BE WAIVED.

Attention Former WaMu Customers
Chase By Phone Access Has Been Updated
When you use your debit card number to access account information with Chase by Phone, you now need to
enter your ATM PIN after entering your debit card number. This update allows instant access to your account

information and saves time in reaching a telephone banker.

You can reach Chase by Phone by calling the number listed at the top of this statement.

CHECKING SUMMARY | Chase Free Extra Checking

 

AMOUNT

 

Beginning Balance $892.78
Deposits and Additions 4,107.20
Checks Paid - 438.65
ATM & Debit Card Withdrawals - 883.87
Ending Balance $3,677.46

Page 1 of 4

13cr628-013134
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 32 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE Ca September 12, 2009 through October 13, 2009
Account Number: 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

4. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2Totak §.
3. Add Step 2 Total to Step 1 Balance. Step 3Total: §

4, List and total all checks, ATM withdrawais, debit card purchases and other withdrawals
hot shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or ertor appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, you believe itis an error, or why you need more information.
We will investigate your complaint and will correct ary error prompily. if we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Conlact the bank immediately if your statament is
Incorrect or if you need more information about any non-electronic i der ) on this it. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account.

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Pago 2 of 4

13cr628-013135
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

THIS STEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar1 2-584

Sequence number Posting date

CHASE §

Account Number:

[CHECKS PAID|

September 12, 2009 through October 13, 2009

000004222416350

Page 33 of 415

 

 

 

CHECK NUMBER DATE AMOUNT
PAID

661 4 10/01 $126.65

663 *4 09/14 312.00

Total Checks Paid $438.65

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on

one of your previous statements.
4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL

 

 

DATE DESCRIPTION

 

 

 

 

 

 

 

AMOUNT BALANCE

Beginning Balance $892.78

og/14 Check #663 ~ 312.00 580.78
10/01 Check # 661 - 126.65 454.13
10/05 Deposit 479114319 3,107.20 3,561.33
10/07 Card Purchase 10/02 Jopenney Store 2995 Houston TX Card 3013 - 170.06 3,391.27
10/09 Gard Purchase 10/08 Lowes #01128* Houston TX Card 3013 - 713.81 2,677.46
40/13 Deposit 479114328 1,000.00 3,677.46
Ending Balance $3,677.46

Page 3 at 4

13cr628-013136
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 34 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &

September 12, 2009 through October 13, 2009
Account Number. 000004222416350

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Page 40 4

13cr628-013137
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 35 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

October 14, 2009 through November 12, 2008
JPMorgan Chase Bank, NLA.

P.O Box 260180 Account Number. 000004222416350
Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
Mees bavadslsdoaEEaHasesnfabaad I Pssvslbsalsel breed lial Service Center. 4-800-788-7000
90011268 DRE 201 141 31709- YYNNYT 1 Oco0cecco 08 cOCe Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST Intemational Calls: 1-713-262-1679

CHANNELVIEW TX 77530-2203

 

jBuenas noticias!

Ahora podemos servirle donde quiera que vea un letrero de Chase en mas de 15,000 cajeros automaticos de
Chase y mas de 5,100 sucursales en todo el pais. Muchas sucursales estan abiertas por mas tiempo los viernes
y sabados, cuando usted mas lo necesita. Nos emociona ofrecerle la conveniencia de! acceso completo a
nuestros servicios bancarios de costa a costa

Great news!
Now you can bank wherever you see the Chase sign at more than 15,000 Chase ATMs and over 5,100 branches

nationwide. Many branches are open longer hours on Fridays and Saturdays — when you need them most. We're
excited to bring you the convenience of full banking access from coast to coast .

| CHECKING SUMMARY Chase Free Extra Checking

 

 

 

 

AMOUNT
Beginning Balance $8,677.46
Checks Paid - 85.48
Ending Balance $3,591.98
[CHECKS PAID
CHECK NUMBER DATE AMOUNT
PAID
665 “A 10/26 $85.48
Total Checks Paid $85.48

if you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to ratum the check to you or show yau an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

Paga 1 of 4

13cr628-013138
Case 4:13-c'-00628 ,RAGHTBT BStanlled an,AalZ0/36 in TXSD Page 36 of 415

GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &

October 14, 2009 through November 12, 2009
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions io date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total ail deposits & additions not shown on this statement:

 

Date Amount Date Amount Date Amount

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt Is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear {rom you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared, Be prepared to give us the following information:

¢ Your name and account number

* The dollar amount of the suspected error

» A description of the error or transfer you are unsure of, why you believe itis an error, or why you need more infomation.
We will investigate your complaint and will correcl any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think Is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact tha bank immediately if your statement Is
Incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error
appears, you must notify the bank in writing no later than SO days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

‘iser JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013139
Case 4:13-cr-00628, Recument 881 Filed on 03/29/16 in TXSD_ Page 37 of 415

HIS 1TEM {5 PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

October 14, 2009 through November 12, 2009
Account Number: 000004222416350

[TRANSACTION DETAIL

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $3,677.46
10/26 Check # 665 - 85.48 3,591.98 ————
Ending Balance $3,591.98 ==
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SS
== 5
= 3
== 5
Page 3 ot 4

13cr628-013140
Case 4:13-cr-00628 ., Dacument 881.Filed on.03/29/16 in TXSD Page 38 of 415

A LLUAL OIA: TAINO?

GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

October 14, 2009 through November 12, 2009
Account Number. 000004222416350

Earn travel awards on United
Upgrade your current Debit Card today!

With the United Mileage Plus® Debit Card:
« Earn one mile for every two dollars in qualifying purchases*
¢ Earn 2,500 bonus miles after first qualifying purchase
Plus, get this special benefit:
* $50 in United Discount Travel Certificates — after first qualifying purchase
Don't wait! Enjoy these great benefits for a low annual fee of only $25 per checking account — no additional fee for

up to four joint owners on the same checking account.

Log on to Chase Online Banking or call 1-800-935-9935 to upgrade. For more information visit

*Purchases made with a PIN (Personal Identification Number), ATM and cash transactions do not qualify. Please refer to the program Terms and
Conditions for comptete Information on qualifying purchases.

Page 4014

13cr628-013141
Case 4:13-cr-00628

GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

JPMorgan Chase Bank, N.A.
PO Box 260180
Baton Rouge, LA 70826-0180

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RAQUEL GARCIA

1347 DELL DALE ST

CHANNELVIEW TX 77530-2203

CHECKING SUMMARY Chase Free Extra Checking

November 13, 2009 through December 10, 2009

Account Number.

000004222416350

 

CUSTOMER SERVICE INFORMATION

 

Web site:

Service Center:
Hearing Impaired:
Para Espanol:
Intemational Calls:

Chase.com
1-800-788-7000
1-800-242-7383
1-877-312-4273
1-713-262-1679

 

 

 

 

 

 

 

 

 

AMOUNT
Beginning Balance $3,591.98
Deposits and Additions 1,500.00
Checks Paid - 3,519.44
ATM & Debit Card Withdrawals - 1,797.63
Other Withdrawals, Fees & Charges - 197.50
Ending Balance -$422.49

| CHECKS PAID |

CHECK NUMBER DATE AMOUNT

PAID
664 4 12/02 $3,000.00
666 * 4 42/04 48.00
668 *4 11/24 85.44
669 4 11/24 233.00
670 A 11/24 50.00
671 4 12/04 103.00
Total Checks Pald $3,519.44

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* Allof your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on

one of your previous statements.
4 An image of this check may be available for you to view on Chasa.com.

Page 14

Document 881. Filed on 03/29/16 in TXSD Page 39 of 415

 

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13cr628-013142
Case 4:13-cr-00628 Document 881 _ Filed on 03/29/16 in TXSD Page 40 of 415

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GROUP !D G30Mari2-584
Sequence number Posting date

November 13, 2009 through December 10, 2009
Account Number: 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date _ Amount Date Amount

 

 

Step2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4, List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR Ouest IONS ABOUT YOUR ELECT! RONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this (nol Service) if you think your statement or receipt is incorrect or if you
need more Information about a transfer listed on the statment or receipt. We must hear from you nc later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

¢ A description of the error or transfer you are unsure of, why you beliave it is an error, or why you need more information.

We will investigate your complaint and will correct any error promplly if we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is In error so that you will have usa of the money during the
time it takes us to complete our investigation.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contac! ihe bank immediately if your statement is
incorrect or If you need more about a or on this it. Ifany such error
appears, you must notify the bank in writing no later than $0 days 5 after the statement was made avalable to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account

 

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Page 2 ot 4

13cr628-013143
Case 4:13-cr-00628 Document 881_ Filed on 03/29/16 in TXSD Page 41 of 415

CHASE &

(TRANSACTION DETAIL]

DATE

HMl> 115M 1S PAKI OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

November 13, 2009 through December 10, 2009
Account Number: 000004222416350

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DESCRIPTION AMOUNT BALANCE
Beginning Balance $3,591.98
11/24 Check # 669 - 233.00 3,358.98
11/24 Check # 668 - 85.44 3,273.54
41/24 Check #670 - 0.00 3,223.54
11/27 Card Purchase 11/25 Triple S Steel Supply Houston TX Card 3013 - 612.23 2,611.31
44/27 Card Purchase 11/25 HA. Franz & Company Houston TX Card 3013 - 460.07 2,151.24
11/30 Card Purchase 11/27 LA Quinta Inn & Suites Houston TX Card 3013 - 127.53 2,023.71
12/02 Deposit 479114322 1,000.00 3,023.71
12/02 Check #664 - 3,000.00 23.71
12/02 Card Purchase 11/30 Continen 00521519323253 Houston TX Card - 427.70 -403.99
3013
12/02 Insulficient Funds Fea - 25.00 -428.99
12/03 Card Purchase 11/30 Continen 005292193923806 Houston TX Card - 75.00 -503.99
3013
12/03 sat Purchase 11/30 Continen 00529219392310 Houston TX Card - 7§.00 -578.99
301
12/03 Card Purchase 11/30 Continen 0052921 9367084 Houston TX Card - 20.00 -§98.99
3013
12/03 Insufficient Funds Fee - 32.00 -630.99
12/03 Insufficient Funds Fee - 32.00 -662.99
12/03 Insufficient Funds Fee - 32.00 -694.99
12/04 Check #671 - 103.00 -797.99
12/04 Check #666 ~ 48.00 -845.99
12/04 Insufficient Funds Fee - 32.00 -877.99
12/04 Insufficient Funds Fee - 32,00 -809.99
12/07 Deposit 479114321 500.00 -409.99
12/09 Extended Overdraft Fee - 12.50 -422.49
Ending Balance ~$422.49
Page 3 of 4

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13cr628-013144
Case 4:13-cr-00628 Document 881_ Filed on 03/29/16 in TXSD Page 42 of 415

Bie MI TAI 1 ALLA SIRI EMC NOVUNOINYU UN
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

November 13, 2009 through December 10, 2009
Account Number: 000004222416350

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Paga 4 of 4

13cr628-013145
Case 4:13-cr-00628 Document 881 _ Filed on 03/29/16 in TXSD Page 43 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE ©

JPMorgan Chase Bank, N.A.
P 0 Box 260180
Baton Rouge, LA 70826-0180

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00014747 DRE 201 141 01410- YNNNNT 1 000000000 08 Coco
RAQUEL GARCIA

1347 DELL DALE ST

CHANNELVIEW TX 77530-2203

December 11, 2009 through January 13, 2010
Account Number. 000004222416350

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
Service Center: 1-800-788-7000
Hearing Impaired: 1-800-242-7383
Para Espanol: 4-877-312-4273
International Calls: 4-713-262-1679

Mantener su cuenta de cheques bajo control le ayuda a evitar cargos

1. Inscribase para proteccién contra sobregiros desde su cuenta de ahorros o tarjeta de crédito de

Chase*

Pon

Inscribase para recibir alertas de bajo saldo en Chase.com/freealerts
Inscribase en Chase MobileS™ en Chase.com/pancamovil para consultar su balance por su celular
Consulte su saldo y transacciones cuando lo desee en Chase.com

~Quiere saber mas sobre cémo manejar mejor su cuenta de cheques?
Visite su sucursal mas cercana y hable con un asesor bancario.

*Proteccién contra sobregiros puede estar sujeta a la aprobacidn crediticia. Pueden aplicar cargos.

Chase. Juntos se Puede".

Take Charge of Your Checking Account to Help Avoid Fees

1. Sign up for overdraft protection from your Savings Account or Chase Credit Card*.

2. Sign up for low balance alerts at Chase.com/freealerts.

3. Enroll in Chase MobileS™ to get your balance by text message at Chase.com/Mobile.
4. Check your balances and transactions 24/7 at Chase.com

Want to learn more about managing your checking account?
Visit your local branch and speak to a personal banker today.

*Overdraft Protection may be subject to credit approval. Fees may apply.

CHECKING SUMMARY | Chase Free Extra Checking

 

Beginning Balances

Deposits and Additions

Checks Paid

Other Withdrawals, Fees & Charges

AMOUNT
-$422.49
5,607.20

+ 1,038.84
- 3,189.35

 

EndIng Balance

$956.52

Paga 1 of 4

 

13cr628-013146
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 44 of 415

inls SIEM 1S PAK OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

December 11, 2009 through January 13, 2010
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with alll transactions to date whether they are included on your
statement or not.

1. Write in ihe Ending Balance shown on this statement: Step 1 Balance: §$.

 

2. List and total! all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: §$

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
hot shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: §.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information abcut a transfer listed on the statement or receipt. We muat hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected enor

* A description of the error or transfer you are unsure of, you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error prompity. If we take more than 10 business Saye {or 20 business days for
new accounts) to do this, we will credit your account for the amount you think Is in error so that you will have use of the money during the
lime it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more information about any non-el ic tra: ions (checks or deposits) on this If any such error
appears, you must notify the bank In writing no later than $0 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other appiicabla account agreement that governs your account

 

 

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Page 2 of 4

43cr628-013147
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 45 of 415

Ind HEM 1D KAMI UP A LEGAL SIAIEMEN! RECONSTRUCTION
GROUP ID G30Mar12-584

Sequence number Posting date

CHASE &§

[CHECKS PAID |

December 11, 2009 through January 13, 2010
000004222416350

 

CHECK NUMBER DATE

 

 

 

AMOUNT

PalD
672 4 12/14 $500.00
673 4 12/18 438.84
675 *4 O1/13 100.00
Total Checks Paid $1,038.84

if you seo a check description in the Transaction Detail section, it moans your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they wera listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTION DETAIL]

DATE

 

DESCRIPTION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AMOUNT BALANCE

Beginning Balance -$422.49

12/14 Deposit 65633668 2,060.00 1,577.51
12/14 Check #672 - 500.00 1,077.51
12/18 Check #673 ~ 438.84 638.67
01/11 Deposit 22539398 3,107.20 3,745.87
01/14 Online Payment 735716096 To Allied Waste - 457.72 3,288.15
oi Online Payment 735721166 To Aetna - 394.00 2,894.15
01/41 Online Payment 735702842 To Sears - 300.00 2,594.15
01/11 Online Payment 735726637 To Cardmemeber Service - 200.00 2,394.15
o1/14 Online Payment 735722372 To Waste Management ~ 188.12 2,206.03
01/11 Online Payment 735709439 To Verizon - 178.71 2,027.32
01/11 Online Payment 735733401 To AT&T + 164.94 1,862.38
o1/11 Online Payment 735716416 To Hsbc Retail Services - 130.32 1,732.06
o1/14 Online Payment 735727059 To East Houston Urology PA - 117.79 1,614.27
01/11 Online Payment 735734165 To Conseco Life Insurance CO -~ 115.35 1,498.92
01/14 Online Payment 735720891 To Harris CO Fwsd 1A + 86.92 1,412.00
01/11 Online Payment 735725666 To Alarm Masters Corporation - 64.95 1,847.05
oni Online Payment 735728263 To Comcast - 57.45 1,289.60
o1/11 Online Payment 735700413 To City of Houston -§1.42 1,238.18
01/11 Online Payment 735732708 To Mci - 45.32 1,192.86
o1/11 Online Payment 735720675 To Harris CO MUD 53 - 42.26 1,150.60
01/11 Online Payment 735731412 To GMAC Auto Finance - 33.46 1,117.14
O12 Deposit 58182417 500.00 1,617.14
01/12 Online Payment 736490914 To Home Depot - 360.62 1,256.52
01/13 Online Payment 736977706 To Discover Card - 200.00 1,056.52
01413 Check #675 - 100.00 956.52
Ending Balance $956.52

Page 3 of 4

 

13cr628-013148
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 46 of 415

IMD JM I> KAM? Ur A LEGAL DIALEMEN] HECUONSIRUCIION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE §

December 11, 2009 through January 13, 2010
Account Number: 000004222416350

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Page 4 of 4

13cr628-013149
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 47 of 415

CHASE

JPMorgan Chase Bank, N.A.

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GROUP ID G30Mar12-584
Sequence number Posting date

January 14, 2010 through February 10, 2010

PO Box 260180 Account Number. 000004222416350
Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
VhessD sad DabssedDsMrsssrded oats] 8 senses sD asElorsll seal Service Center: 4-800-788-7000
00016490 DRE 201 141 04210- YYYNNT 1 000000000 08 COCO Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST International Calls: 1-713-262-1679
CHANNELVIEW TX 77530-2203
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IMPORTANT NOTICE

We are making changes to your account.
Please sea the enclosed notice(s) for more information.

BON

1.
2.

4.

Mantener su cuenta de cheques bajo control le ayuda a evitar cargos
Inscribase para proteccion contra sobregiros desde su cuenta de ahorros o tarjeta de crédito de
Chase*
Inscribase para recibir alertas de bajo saldo en Chase.corm/freealerts
Inscribase en Chase Mobile®™ en Chase.com/bancamovil para consultar su balance por su celular
Consulte su saido y transacciones cuando jo desee en Chase.com

éQuiere saber mas sobre cémo manejar mejor su cuenta de cheques?
Visite su sucursal mas cercana y hable con un asesor bancario.

*Proteccién contra sobregiros puede estar sujeta a la aprobacién crediticia. Pueden aplicar cargos.

Chase. Juntos se Puede™,
Take Charge of Your Checking Account to Help Avoid Fees
Sign up for overdraft protection from your Savings Account or Chase Credit Card*.
Sign up for low balance alerts at Chase.com/freealerts.

Enroll in Chase MobileSM to get your balance by text message at Chase.com/Mobile.
Check your balances and transactions 24/7 at Chase.com

Want to lear more about managing your checking account?
Visit your local branch and speak to a personal banker today.

“Overdraft Protection may be subject to credit approval. Fees may apply.

Page 1 of 4

13¢r628-013150
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 48 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

January 14, 2010 through February 10, 2010
Account Number, 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this it (non-p ] ts contact C: Service) il you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you ne later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

¢ Your name and account number

¢ The dollar amount of the suspected error

¢ A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. Hl we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think Is in error so that you will have usa of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Conlact the bank immediately if your statement is
Incorrect or if you need more information about any 5 onic fons (checks or deposits) on this t. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
delails, see the Account Rulas and Regulations or other appiicable account agreement that governs your account.

UéNdéR = JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 49 of 415

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GROUP ID G30Mar12-584

Sequence number Posting date

CHASE §

January 14, 2010 through February 10, 2010

Account Number: 000004222416350

| CHECKING SUMMARY | Chase Frea Extra Checking

 

AMOUNT

 

Beginning Balance $956.52
Deposits and Additions 3,057.20
Checks Paid - 2,319.92
Other Withdrawals, Fees & Charges + 503,27
Ending Balance $1,190.53

 

[CHECKS PAID

 

 

 

 

 

 

CHECK NUMBER DATE AMOUNT
PAID
674 4 01/22 $260.00
676 *A 01/14 259.00
801°4 01/21 1,267.00
g02 4 01/25 263.00
803 * 02/02 50.00
804 2/09 220.92
Total Checks Paid $2,819.92

if you see a check description in the Transaction Detail section, it means your check has already been converted tor
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on

one of your previous statements.
4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $956.52
01/14 Check # 676 + 259.00 897.52
01/19 Deposit 1,500.00 2,197.52
01/19 Online Payment 740369458 To Progressive Ins PO Box 30108 - 85.84 2,111.68
og Online Payment 740367344 To United Automobile Insurance - 43.00 2,068.68
01/20 Check OR Supply Order PPD ID: 1410216800 - 23.95 2,044.73
ov/24 Check #801 - 1,267.00 777.73
01/22 Check #674 - 260,00 517.73
01/25 Deposit 500.00 1,017.73
01/25 Check # 802 - 263.00 754.73
01/25 Online Payment 745234880 To Macy's Retail - 153.22 601.51
01/25 Online Payment 745232437 To Nib Credit Plan - 100.00 501.51
O1/25 Online Payment 745235956 To Macy's Retail - 97.26 404.25
o2/02 Check # 803 - 50.00 354.25
02/03 Deposit 1,057.20 1,411.45
02/09 Check #804 ‘Retail Services! Checkpaymt Are ID; 3000000013 + 220.92 1,190.53

Ending Balance $1,190.53

Page 3a 4

 

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13cr628-013152
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 50 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

January 14, 2010 through February 10, 2010
Account Number. 000004222416350

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Page 4 of 4

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 51 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE ‘a February 11, 2010 through March 10, 2010
poses Account Number, 000004222416350

Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
Haul DoosbelsfeasbsSasssclebasb i ssulbestadlialflisal Service Center: 1-800-788-7000
00009665 DRE 201 141 07010- YNNNY T 1 000000000 08 0000 Hearing impaired: 4-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST Intemational Calls: 1-713-262-1679

CHANNELVIEW TX 77530-2203

 

Important Information About Your Chase Free Extra Checking Account

Starting May 12, 2010, Chase Free Extra Checking accounts will no longer have free outgoing wires.
The standard fees for outgoing wire transfers will be as follows:

Domestic Outgoing $25/item
Foreign Outgoing or Remittance Fee* $45/item

You will now also be able to initiate outgoing wire transfers through chase.com and receive a $5 discount from
the outgoing fees listed above. Just log into your account through chase.com and go to the “Payments and
Transfers” tab.

*If you send wires to Mexico, you can send three Rapid Cash® transfers a month of $1,500 or less with no
Remittance Fee. Rapid Cash provides transfers to Banorte Bank so funds can be sent to a Banorte account or
can be picked up at one of their over 1,000 branches in Mexico by your recipient. Visit your nearest Chase branch
to take advantage of these transfers.

If you have any questions, please call us at 1-800-935-9935.

CHECKING SUMMARY Chase Free Extra Checking

 

 

AMOUNT
Beginning Balance $1,190.53
Deposits and Additions 3,700.00
Checks Paid - 1,884.84
Other Withdrawals, Fees & Charges - 2,205.37
Ending Balance $820.32

Page 1 of 4

13cr628-013154
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 52 of 415

THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

February 11, 2010 through March 10, 2010
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

4. Write in the Ending Balance shown on this statement: Step 1 Balance: $
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $.
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: = $.

4, List and total all checks, ATM withdrawais, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
§. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

 

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-persenal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer llsted on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number
* The dollar amount of the suspected error
cA tiption of the error or transfer you are unsure of, why you believe it Is an error, or why you need more information.
We will investigate your complaint ard will correct any error promplly. {f we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time It takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contacl the bank immediately if your statement is
incorrect or If you need more Information about any non-electronic t tions (checks or der }) on this if any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

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JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13¢r628-013155
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 53 of 415

THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

 

 

 

 

 

 

 

CHASES
~ February 11, 2010 through March 10, 2010
AccountNumber. 000004222416350

CHECKS PAID

CHECK NUMBER DATE AMOUNT

PAID

805 4 o2/i2 $162.00
806 “ 02/16 103.00
808 * 4 02/12 363.00
809 “4 02/19 1,100.00
810 * 03/02 51.00
8114 03/02 85.84
Total Checks Paid $1,864.84

If you see a check description in the Transaction Datail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your pravious statements.

4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Batance $1,190.53
02/12 Check # 808 - 363.00 827,53
02/12 Check #805 - 162.00 665.53
02/16 Check # 806 - 103.00 562.53
02/17 Deposit 1,500.00 2,062.53
02/19 Check #809 + 1,100.00 962.53
O2/22 Online Payment 764793114 To Sears - 200.00 762.53
02/22 Online Payment 764785852 To Discover Card ~ 200.00 562,53
02/23 Deposit 400.00 962.53
03/02 Check #811 - 85.84 876.69
03/02 Check #810 - 51.00 825.69
03/08 Deposit 1,800.00 2,625.69
03/08 Online Payment 775667515 To Home Depot - 1,395.77 1,229.92
03/08 Online Payment 775672572 To United Automobile Insurance - 163.00 1,066.92
03/08 Online Payment 775676371 To The Danbury Mint - 146.60 920.32
03/08 Online Payment 775667520 To Nib Credit Plan ~ 100.00 820.32

Ending Balance $820.32

Paga 3 of 4

 

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13cr628-013156
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IMIS 1JEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

February 11, 2010 through March 10, 2010
Account Number, 000004222416350

Chase Checking Customers Get Mortgage CASH BACK!
1% CASH BACK Year After Year.
Now your Chase checking account can help you pay down your new mortgage or put cash in your pocket.
When you open a new morigage with Chase — whether you're buying or refinancing — you'll receive 1% of your
Principai and interest payment back each year (up to $500 annually). Just have the monthly payments
automatically deducted from your Chase checking account, and you'll earn cash back every year. You can apply
the annual reward to your principal mortgage balance, or have the money put directly into your checking account
— the choice is yours.

Stop by your local Chase branch, visit chase.com/MortgageCashBack or call 1-866-863-3246 for details
about this exclusive discount.

Page 4 of 4

13cr628-013157
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 55 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

PM B NA March 11, 2010 through April 12, 2010
PO St Conk NA. Account Number: 000004222416350
Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
UeadlardadsdeasdDsTessssdsdasllMssssVeabsllsallbas! Service Center: 4-800-788-7000
00011123 DRE 201 141 10310- NNNNYT 1 oc0Q00000 08 2000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST International Calls: 1-713-262-1679

CHANNELVIEW TX 77530-2203

 

Hemos realizado un cambio en su Resumen de Cuenta de Cheques

Para ayudarle a mantener un registro de sus transacciones, agregamos “Retiros Electrénicos” al Resumen de
Cuenta de Cheques en ja parte inicial de su estado de cuenta. Esto le provee la cantidad total de transacciones
como pagos automaticos, transferencias de cuentas y pagos de cuentas por Internet, ademas de otras
transacciones electrénicas. Detalles de estas transacciones continuaran siendo incluidos en la seccién “Detalle
de Transacciones” de su estado de cuenta.

También cambiamos ei nombre a la seccién de “Otros Retiros, Comisiones y Cargos”. Ahora se llama
“Comisiones y Otros Retiros”.

Por favor llamenos al 1-800-935-9935 si tiene alguna pregunta.

CHECKING SUMMARY Chase Free Extra Checking

 

 

 

 

 

 

 

AMOUNT
Beginning Balance $820.32
Deposits and Additions 9,200.00
Checks Paid - 9,128.84
Ending Balance $891.48

| CHECKS PAID |

CHECK NUMBER DATE AMOUNT

PAID
812 4 03/24 $500.00
813 4 03/30 85.84
814.4 04/05 4,000.00
B15 “4 04/09 363.00
816 4 04/08 4,180.00
Total Checks Paid $9,128.84

if you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an Image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

Page 1 of 4

13cr628-013158
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 56 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

March 11, 2010 through April 12, 2010
Account Number 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write In the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 7 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: §.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a ster listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

© Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promplly. If we take mors than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Coniact the bank immediately if your statement is
incorrect or if you need more intormation about any non-al ft tions {checks or deposits) on this If any such error
appears, you must notify the bank in writing no later than $0 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account.

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Page 2 of 4

13cr628-013159
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 57 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

 

 

 

 

 

 

 

 

 

 

CHASE & ,
March 11, 2010 through April 12, 2010
Account Number: 000004222416350
TRANSACTION DETAIL
DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $820.32
03/23 Deposit 600.00 4,420.32
03/24 Check #812 - 500.00 920.32
03/30 Check #813 - 85.84 834.48
04/01 Deposit 4,400.00 §,234.48
04/05 Check #814 ~ 4,000.00 1,234.48
04/07 Deposit 4,200.00 5,434.48
O4/08 Check #816 - 4,180.00 1,254.48
04/09 Check #815 - 363.00 891.48
Ending Balance $891.48
Page 3 of 4

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13¢r628-013160
Case 4:13-cr-00628 Document 881 _ Filed on 03/29/16 in TXSD Page 58 of 415
Ils 11EM §S PAHT OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE S March 11, 2010 through Apiit 12, 2010

Account Number: 000004222416350

Chase Checking Customers Get Mortgage CASH BACK!
1% CASH BACK Year After Year.
Now your Chase checking account can help you pay down your new mortgage or put cash in your pocket.
When you open a new morigage with Chase — whether you're buying or refinancing — you'll receive 1% of your
principal and interest payment back each year (up to $500 annually). Just have the monthly payments
automatically deducted from your Chase checking account, and you'll earn cash back every year. You can apply
the annual reward to your principal mortgage balance, or have the money put directly into your checking account
- the choice is yours.

Stop by your local Chase branch, visit chase.com/MortgageCashBack or call 1-866-863-3246 for details
about this exclusive discount.

Page 4 of 4

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 59 of 415

IMIS 1SEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

=
CHAS E C April 13, 2010 through May 12, 2010

Pope ne Account Number 000004222416350

Baton Rouge, LA 70826 - 0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
Wes eeRDacaDesbassBbaMssssalstas tal Duns sefleoleallesadllssal Service Center: 1-800-788-7000
00011182 DRE 201 141 13310- NYNNNT 1 000000000 08 00cO Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST International Calls: 1-713-262-1679

CHANNELVIEW TX 77530-2203

 

Hemos realizado un cambio en su Resumen de Cuenta de Cheques
Para ayudarle a mantener un registro de sus transacciones, agregamos “Retiros Electrénicos” al Resumen de
Cuenta de Cheques en la parte inicial de su estado de cuenta. Esto le provee la cantidad total de transacciones
como pagos automiaticos, transferencias de cuentas y pagos de cuentas por Internet, ademas de otras
transacciones electrénicas. Detalles de estas transacciones continuaran siendo incluidos en la seccion “Detalle
de Transacciones” de su estado de cuenta.

También cambiamos el nombre a la seccion de “Otros Retiros, Comisiones y Cargos”. Ahora se llama
“Comisiones y Otros Retiros”.

Por favor llamenos al 1-800-935-9935 si tiene alguna pregunta.

We added a new item to your Checking Summary......
To make it easier to keep track of your transactions, we added “Electronic Withdrawals” to your Checking
Summary at the beginning of your statement. This provides a total amount for things like automatic payments,
account transfers and online bill payments, along with other electronic transactions. Details of these transactions
will continue to be included in the "Transaction Detail" section of your statement.

We also renamed the “Other Withdrawals, Fees and Charges” section to “Fees and Other Withdrawals’.

Please call us at 1-800-935-9935 if you have any questions.

CHECKING SUMMARY Chase Free Extra Checking

 

 

AMOUNT
Beginning Balance $891.48
Deposits and Additions 7,900.00
Checks Paid - 7,405.00
Ending Balance $1,386.48

Page 1of 4

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 60 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE ©

April 13, 2010 through May 12, 2010
Account Number: 000004222416350

 

 

Note: Ensure your checkbook reglster is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or wiite us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more Information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sant you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

¢ Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and wilt correct any trot promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

iN CASE OF ERRORS OR QUESTIONS ASOUT NON-ELECTRONIC TRANSAGTIONS:Coniac! the bank immediately if your statement is
incorrect or if you need more inf ion about any nor-el i fons {checks or dep on this If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
detalls, see the Account Rules and Regulations or other applicable account agreement that governs your account.

 

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Page 2 of 4

13cr628-013163
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 61 of 415

PMS 1 AW1O PANT Ur A LOUAL OIAI CNC NOVUNSOINUL UN
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

April 43, 2010 through May 12, 2010
AccountNumber, 000004222416350

[CHECKS PAID

 

 

 

CHECK NUMBER DATE AMOUNT
PAID

818 A 04/22 $205.00

819 4 04/27 4,000.00

820 4 04/29 3,200.00

Total Checks Paid $7,405.00

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

 

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTI ON DETAIL

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $891.48

04/21 Deposit 4,600.00 5,491.48
04/22 Deposit 101145407 3,300.00 8,791.48
04/22 Check #818 - 205.00 8,586.48
04/27 Check #819 - 4,000.00 4,586.48
04/29 Check # 820 + 3,200.00 1,386.48
Ending Balance $1,386.48

Page 3 of 4

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HHS TEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE §

April 13, 2010 through May 12, 2010
Account Number: 000004222416350

!Las tarjetas de Regalo de Chase son el regalo perfecto!

Las Tarjetas de Regalo de Chase son perfectas para e) Dia de los Padres, graduacién, cumpleafios, bodas o
cualquier ocasion especial.

eeeee¢

Disponibles en cualquier monto desde $25 hasta $500

Faciles de usar y seguras

Aceptadas en millones de lugares en tado el mundo

Son el regalo perfecto para toda ocasién

Tarjeta de felicitacisn GRATIS con la compra — solo disponible en sucursales de Chase

Ordénela por el sitio web chase.cony/GiftCardOrder o visite una sucursal de Chase hoy

mismo.

Chase Gift Cards are the Perfect Gift!

Chase Gift Cards are the perfect gift for Father's Day, graduation, birthdays, weddings or any special occasion.

e#eeee

Available in any amount from $25 to $500

Gonvenient and secure

Accepted at millions of locations worldwide

The perfect gift for any occasion

Free greeting card with purchase — available at Chase branches only

Order online at Chase.con/GiftCardOrder or stop by a Chase branch today!

Page 4 of 4

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INS HOw ID FAN VE A LOVAL SIAL ENENIT NEUUNSIRUULIVUN
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE §

IPMo Chase Bank, NA. May 13, 2010 through June 10, 2010
POBox 260180 Account Number. 000004222416350
Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
EDaneDDansEsDoDsseDDatbsssaeLsDouk eT] EsonssDDsutesBlsarlflouad Service Center. 1-800-788-7000
00018889 DRE 201 141 16210- YNNNNT 1 900000000 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST Intemational Calls: 1-713-262-1679
CHANNELVIEW TX 77530-2203
CHECKING SUMMARY | Chase Free Extra Checking
AMOUNT
Beginning Balance $1,386.48
Deposits and Additions 6,680.00
Checks Paid - 6,797.51
Ending Balance $1,268.97
CHECKS PAID
CHECK NUMBER DATE AMOUNT
817 4 05/18 $51.80
821° 06/18 43.00
823° A 08/24 185.00
824 A 05/28 741,99
825 4 06/02 95.72
827 *A 06/09 5,680.00
Total Checks Paid $6,797.51

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, aither because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chasa.com.

[TRANSACTION DETAIL|

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,386.48

05/18 Check #817 - 51.80 1,334.68

05/18 Check #821 - 43.00 1,291.68

05/24 Check #823 - 185.00 1,106.68
Page 1 of 6

13cr628-013166
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 64 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASES

May 13, 2010 through June 10, 2010
Account Number. 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: §.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Gheck Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total:  -$.
5. Subtract Step 4 Total from Step 3 Total, This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement {non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following Information:

* Your name and account number

© The dollar amount of the suspected error

+ A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more infornation.
We will investigate your complaint and will correct error promptly. if we take more than 10 business days (or 20 business days for
new accounts) to de this, we will credit your account for the amount you think is in error so that you will have use of the money during the
ime it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank Immediately if your statement is.
Incorrect or if you need more information about any non-sl hi ii hecks or d on this if any such error

appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account.

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Page 2 of &

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 65 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584
Sequence number Posting date

 

 

 

 

 

CHASES
~‘ May 13, 2010 through June 10, 2010
Account Number: 000004222416350
[TRANSACTION DETAIL] (continued)

DATE DESCRIPTION AMOUNT BALANCE
05/28 Check #824 + 741.99 364.69
06/01 Deposit 58182420 6,680.00 7,044.69
o6/o2 Check # 825 - 95.72 6,948.97
O6/09 Check # 827 - 5,680.00 1,268.97

Ending Balance $1,268.97
Paga 3 of 6

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THIS {TEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

May 13, 2010 through June 10, 2010
Account Number. 000004222416350

Empiece a recibir hasta 3% de recompensas en efectivo automaticamente cada mes,
por las cosas que usted compra todos Ios dias.

Presentamos la tarjeta de débito RealCash™ de Chase

La préxima vez que vaya al supermercado, Ilene e! tanque de gasolina, pase a la farmacia, compre algo para

comer o se tome una taza de café, podria recibir hasta un 3% de reembolso en efectivo, de manera automatica.
£Cémo? Simplemente solicite la tarjeta de débito RealCash de Chase, y cada mes empezaremos a poner hasta
un 3% de recompensas en efectivo directamente en su cuenta de cheques. Todo por una comisién anual médica
de $25.

Ademis, por un tiempo limitado, solicite esa tarjeta y reciba EL DOBLE de recompensas en efectivo
durante los primeros 2 meses.

Si, ley6 bien. Solicitela ahora y durante fos primeros 2 meses le daremos EL DOBLE de recompensas en
efectivo por todas las compras que haga en supermercados, gasolineras, cafés, restaurantes de comida rapida y
farmacias. También recibira una bonificacién RealCash de $10 después de que haga su primera compra sin
utilizar su ndmero de identificacién personal (PIN). Asi que empiece a recibir sus recompensas en efectivo hoy
mismo.

Para solicitar Ja tarjeta de débito RealCash de Chase, hable con un asesor bancario o visite el sitio Web
chase.com/RealCash

Start getting up to 3% cash back — automatically every month - on the things you buy every
day!

Introducing the Chase RealCash™ Debit Card

The next lime you buy groceries, fill your tank, stop at the drug store, grab a quick bite to eat or even a cup of coffee, you
could be getting up to 3% cash back — autornatically! How? Just upgrade to tha Chase RealCash Debit Card and every
month we'll start putting up to 3% cash back directly into your checking account. All for a low $25 annual fea.

Plus for a limited time, upgrade and get DOUBLE cash back for the first 2 months!

That’s right, upgrade now and for the first 2 months we'll give you DOUBLE cash back on all your grocery, gas, coffee, fast
food and drug store purchases. You'll also get a $10 RealCash bonus after your first purchase without using your PIN. So
start getting your cash back today!

To upgrade to the Chase ReatCash Debit Card talk to a banker or visit chase.com/RealCash

Your $25 annua {ee will be deducted from your primary checking account within 1-2 statement cycles.

The one-time $10 Chase RealCash Debit Card bonus will be automatically awarded to the primary checking account within 6-8 weeks of

completing the first qualifying purchase made with your new Chase RealCash Debit Card.

You will eam up to 3% cash back for qualifying purchases made at the Program's participating merchant categories: grocery

stores/supermarkets, gas stations (automated fue! dispensers and service stations), drug stores & pharmacies, fast food restaurants {including

some coffee shops). The percent cash back earned from qualifying purch made at partici ies will depend on

the total amount of qualifying purchases made across all merchants and billers for any y given catendar month. There is a $500 cap on

the cash back amount that can be eamed during a calendar year, and your account and card must be in good standing. The $500 annual cap

does not apply to cash back eamed from Bonus Offers and purchases made at the RealCash Mall. For complete details, please see the Program

Terms & Conditions at chase.com/RealCash.

If you open your Chase ReaiCash Debit Card between May 1 and July 31, 2010, you will receive double cash back (up to $50) for qualifying
made at partici ies for the first sixty calendar days after you open your card. Double cash back offer does not

apply to the $10 bonus you will receive after the first purchase without using your PIN, nor does it apply to cash back eamed through bonus offers

of online purchases made through the RealCash Mall. Double cash back earned counts towards the $500 annual cap.

Qualifying purchases are all purchases made without using your PIN. You can eam up to 3% cash back on qualifying purchases at participating

merchants categories: grocery stores, gas stations, drug stores, fast food restauranta (Including some coffee shops). For complete details on

qualifying purchases, please see the Program Terms & Conditions at chase.com/RealCash.

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GROUP 1D G30Mar12-584
Sequence number Posting date

CHASE &

May 13, 2010 through June 10, 2010
Account Number. 000004222416350

Member FDIC

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 68 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

May 13, 2010 through June 10, 2010
Account Number. 000004222416350

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Page 6 ol G

13cr628-013171

   
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Md HEM 1 PANT UF ALEGAL SIAIEMEN] KECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &

Ghase Berk NA June 11, 2010 through July 13, 2010
FO ame 1 NAA. Account Number 000004222416350

Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
HocoB soul sbolacsdDsVocscnfader! V0 scssadlssdasdlessHles] Service Center. 1-800-788-7000
00008717 DRE 201 141 19510- YNNNYT 1 cOocdO000 08 C000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 4-877-312-4273
1347 DELL DALE ST International Calls: 1-713-262-1679

CHANNELVIEW TX 77530-2203

 

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Important information about your Deposit Account Agreement

We are improving the way we handle Overdraft Protection Transfers. If you have Overdraft Protection, the
following are changes to the "Overdraft Protection Services" section of your Deposit Account Agreement,
effective July 19, 2010. We will replace the “Maximum Overdraft Protection Amount” paragraph with the
following:

*4, Maximum Overdraft Protection Amount: The amount of a Transfer will not exceed the amount available in
the Funding Account. (The Funding Account is the savings account, credit card account, or other line of credit
account linked to your checking account for Overdraft Protection.) If the amount available is insufficient to pay all
checks and other customer initiated transactions, plus the Transfer Fee, in multiples of $50.00, then we will
initiate a Transfer in the amount necessary to pay one or more transactions, plus the Transfer Fee. If the amount
available is sufficient to pay one or more transactions, but not the Transfer Fee, we will initiate a Transfer in the
amount necessary to pay the transaction or transactions only. We will, however, charge the Transfer Fee against
the account, causing the account to be overdrawn. Any checks or other customer initiated transactions that are
not paid by the Transfer will either be paid or returned, and Insufficient Funds Fees or Returned Item Fees
charged, in the same way as if you did not have Overdraft Protection.”

As a reminder, we do not charge an Overdraft Protection Transfer Fee if your ending account balance, before any
Overdraft Protection Transfers are made, is overdrawn $5 or less. The Overdraft Protection Transfer Fee is
waived for Chase Premier Platinum Checking®™) and Chase Premier Platinum Asset Management‘) accounts.

All other terms and conditions of your Deposit Account Agreement remain the same. If you have questions,
please cail us at 1-800-935-9935.

CHECKING SUMMARY Chase Free Extra Checking

 

 

AMOUNT
Beginning Balance $1,268.97
Deposits and Additions 6,180.00
Checks Paid - 5,877.00
Electronic Withdrawals -191.10
Ending Batance $1,460.87

Page t of 4

13cr628-013172
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 70 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

dune 11, 2010 through July 13, 2010
Account Number: 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $e
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3Total: $

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total:  -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the slatement or receipt. We must hear from you nc later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

¢ The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you belleve it is an error, or why you need more infarmation.
We will investigate your complaint and will correct any error prompily. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is

 

 

 

 

 

incorrect or if you need more information about any non-electroni tions (checks or deposits) on this it. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the A int Rules and Regulations or other applicabl 9 that g your account.

fuser JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013173
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

THIS ITEM !S PART OF A LEGAL STATEMENT RECONSTRUCTION

CHASE G

[CHECKS PAID

CHECK NUMBER

DATE

GROUP ID G30Mar12-584

Sequence number Posting date

June 11, 2010 through July 13, 2010
Account Number: 000004222416350

 

 

AMOUNT

PAID
831 4 06/23 $197.00
832 4 07/08 5,680.00
Total Checks Paid $5,877.00

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL]

DATE

DESCRIPTION

 

 

 

 

 

 

 

AMOUNT BALANCE

Beginning Balance $1,268.97
06/23 Check # 831 + 197.00 1,071.97
06/28 Deposit 5,680.00 6,751.97
07/08 Deposit 500.00 7,251.97
07/08 Check # 832 - 5,680.00 1,571.97
07/09 American Southwe E01041934P PPD ID: 8775071990 - 68.10 1,503.87
o7/12 Uaig- Texas ACH Debits PPD ID; 2260180489 - 43,00 1,460.87

Ending Balance $1,460.87

Page 3 of 4

Page 71 of 415

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 72 of 415

IMIS 11EM IS PAK! UP A LEGAL SJAIEMENI HECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

June 11, 2010 through July 13, 2010
Account Number. 000004222416350

GET 1% MORTGAGE CASHBACK
EXCLUSIVE OFFER FOR CHASE CHECKING CUSTOMERS

When you open a new mortgage with Chase - whether you're buying or refinancing — you'll receive 1% of your
principal and interest payment back! Just have the monthly payments automatically deducted from your Chase
checking account, and you'll earn cash back. You can apply the annual reward to your principal mortgage
balance, or have the money put directly into your checking account — the choice is yours.

Stop by your local Chase branch, visit chase.com/mortgagecashback or call 1-866-863-3246 for details about this
exclusive discount.

1% Mortgage Cash Back
With the patent pending 1% Mortgage Cash BackS™ program customers can eam up to 1% cash back, calculated on their
scheduled principal and interest mortgage payment each month.

Offer available on new, residential Chase first mortgage purchase and refinance applications. The 1% calculation applies to
scheduled principal and interest payments only, and does not apply to additional principal payments made by customer, or to
payments for escrowed items such as taxes and insurance. The award will be paid via direct deposit into a Chase personal
checking account or applied to the outstanding principal balance approximately 10 business days after each yearly
anniversary date. A new or existing Chase personal checking account is required along with enrollment in Chase’s automatic
mortgage payment service. This offer is not transferable, is limited to one per customer, may be discontinued at any time
without notice and is not available in all states. Bond loans and any other loans where servicing is not retained by Chase are
excluded. There is a $500 calendar year cap on the principal reduction or cash back amount. The 1% Mortgage Cash Back
may result in taxable income to the customer. We encourage customers to consult with personal tax advisors.

All home lending products are subject to credit and property approval. Rates, program terms and conditions are subject to
change without notice. Not all products are available in all states or for all amounts. Cther restrictions and limitations apply.

Visit us at www.chase.com/MortgageCashBack
Deposit products provided by JPMorgan Chase Bank, N.A. Member FDIC.
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Pago 4 of 4

13cr628-013175
Case 4:13-cr-00628 Document 881 _ Filed on 03/29/16 in TXSD_ Page 73 of 415
THIS ITEM {S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

JPM Chase Bank. NA July 14, 2010 through August 11, 2010
POBN2OIO Account Number. 000004222416350
Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

Web site: Chase.com
MocaDDaoeDabedesoVEaMsssacdsfosde]asnsallssdaadlees)Hassd Service Center: 1-800-788-7000
00007343 DRE 201 141 22410- NNNYYT 1 000000000 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST International Calis: 1-713-262-1679
CHANNELVIEW TX 77530-2203
N
3
g
es
CHECKING SUMMARY | Chase Free Extra Checking
AMOUNT
Beginning Balance $1,460.87
Deposits and Additions 8,325.00
Checks Paid - 7,325.00
Electronic Withdrawals + 266.05
Ending Balance $2,194.82
CHECKS PAID |
CHECK NUMBER DATE AMOUNT
836 “4 08/11 $6,325.00
837 4 08/02 1,000.00
Total Checks Paid $7,325.00

If you see a check description in the Transaction Detail section, it means your check has already been converted tor
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTION DETAIL]

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,460.87

97/19 Uaig- Texas ACH Debits PPD ID: 2260180489 - 197.00 1,263.87

O7/27 Deposit 6,325.00 7,588.87

07/29 Deposit 1,000.00 8,588.87

08/02 Check #837 - 1,000.60 7,588.87
Page 1 of 4

13¢r628-013176
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 74 of 415
IMIS 11EM 1S PAKT OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE Go July 14, 2010 through August 11,2010
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total ail checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
tha front of this statement (non-personal accounts contact Customer Service) if you think four statement or receipt is incorrect or if you
need more infonnation about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepated to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A desoription of the error or transfer you are unsure of, why you belleve it ig an error, or why yeu need more information.
We will investigate your complaint and will correct any error promptly. It we take more than 10 business days (or 20 business days for
fnew accounts} to do this, we will credit your account for the amount you think is in arror so that you will have use of the money during the
time it takes us to complete our Investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more Information about any non-electronic fons {checks or dep ) on this i. If any such error
appears, you must notify the bank in writing no later than 30 days after the statament was made available to you. For more complets
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

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Page 2 of 4

13cr628-013177
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 75 of 415

Io Hom 1d rani Ur A LEGAL SIALEMEN! HECUONSIRUCIION
GROUP ID G30Mar12-584
Sequence number Posting date

>
CHAS E gy July 14, 2010 through August 11, 2010

Account Number. 000004222416350

TRANSACTION DETAIL|_(omneee)

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
08/10 Deposit 1,000.00 8,588.87
08/11 Check # 836 - 6,325.00 2,263.87
08/14 American Southwe E01041934P PPD ID: 9775071980 ~ 69.05 2,194.82
Ending Balance $2,194.82
== 8
Page 3 of 4

13cr628-013178
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 76 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE GS duly 14, 2010 through August 11, 2010

Account Number: 000004222416350

Point. Shoot. Deposit.
Now depositing checks is even easier than before with Chase QuickDepositS™, Just snap a picture of the front and back or
your endorsed check using the free Chase Mobile” app on your iPhone® and hit send. It's fast, easy and best of all — it's
free for eligible Chase checking customers.
Deposit faster with iPhone ~ anytime - anywhere
Safe and secure — Gel immediate confirmation that your images have successfully uploaded.

Save time — Save yourssif a trip and skip the deposit slip

it's tree — Download the Chase Mobile app from the App Store and use it for free. (Check your mobile carrier's agreemant
for any data transfer fees that may apply)

To tearn more about QuickDeposit visit chase.com/QuickDeposit.

Must download Chase Mobile App from the App StoreS™ and enroll in Chase OntineS™, Requires iPhone® 3 or higher. App Store and iPhone are
trademarks of Apple, Inc. Message and data rates from your wireless provider may apply. Subject to eligibility and further review. Deposits are
subject to verification and not available for immediate withdrawal. Deposit limits and other restrictions apply.

Page 4 of 4

13cr628-013179
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 77 of 415
THIS ITEM IS PAK] OF A LEGAL SIAILEMENT RECONSIKUCIION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &
August 12, 2010 through September 13, 2010
Chase LA.
FO encase Bank, NA Account Number. 000004222416350

San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

Web site: Chase.com
WarolDssoDaEstasaldebEasssoDsdasls/IDesnasbLssD eel Dasellloued Service Center. 1-800-788-7000
00007840 DRE 201 141 25710-NNNYNT 1 000c00000 08 co0G Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST Intemational Calls: 1-713-262-1679
CHANNELVIEW TX 77530-2203
CHECKING SUMMARY | Chase Free Extra Checking
AMOUNT
Beginning Balance $2,194.82
Deposits and Additions 17,040.99
Checks Paid - 7,542.91
ATM & Debit Card Withdrawals - 993.87
Electronic Withdrawals - 463.05
Fees and Other Withdrawals - 8,840.99
Ending Balance $1,894.99
| CHECKS PAID |
CHECK NUMBER DATE AMOUNT
838 4 08/12 $472.00
839 4 08/24 4,240.58
840 “ 08/30 4,580.78
841 4 09/03 1,249.55
Total Checke Paid $7,542.91

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTION DETAIL

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $2,194.82

os/i2 Deposit 145264088 8,840.99 11,035.81

08/12 08/12 Withdrawal - 8,840.99 2,194.82

os/i2 Check # 838 - 472.00 1,722.82
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13cr628-013180
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 78 of 415

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GROUP ID G30Mar1 2-534
Sequence number Posting date

August 12, 2010 through September 13, 2010
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write In the Ending Balance shown on this statement: Step 1 Balance: $0
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: §.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think fou statement or receipt is incorrect or If you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

© The dollar arnount of the suspected error

¢ A description of the error or transfer you are unsure of, why you believe itis an error, or why you need mere information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Coniact the bank immediately if your statement is
incorrect or If you need more Information about any non-slectronic transactions (checks or deposits) on this statement. If any such error

appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, sea the Account Rules and Regulations or other applicabt it that g your account.

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Page 2 of 4

13cr628-013181
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 79 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHASE &
= August 12, 2010 through September 13, 2010
Account Number. 000004222416350
[TRANSACTION DETAIL| (continued)

DATE DESCRIPTION AMOUNT BALANCE
08/12 Uaig - Texas ACH Debits PPD ID: 2260180489 - 197.00 1,525.82
0a/18 Deposit 145533429 1,300.00 2,825.82
08/23 Card Purchase 08/20 Tgt*Target.Com Target.Com MN Card 3381 - 713.63 2,112.19
08/24 Deposit 5,100.00 7,212.19
08/24 Deposit 136128470 1,500.00 8,712.19
08/24 Check # 839 - 1,240.58 7,471.61
08/30 Check # 840 - 4,580.78 2,890.83
09/03 Check # 841 - 1,249.55 1,641.28
09/08 Deposit 101145429 300.00 1,941.28
09/08 American Southwe E01041934P PPD 1D: 9775071980 - 69.05 1,872.23
og/og Uaig- Texas ACH Debits PPD ID: 2260180489 - 197.00 4,675.23
oso Card Purchase 09/08 Hobby-Lobby #0170 Baytown TX Card 3381 - 177.49 1,497.74
os/13 Card Purchase 09/10 Ross Stores #550 Baytown TX Card 3381 + 102.75 4,394.99

Ending Balance $1,394.99
Page Jol 4

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 80 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

August 12, 2010 through September 13, 2010
Account Number: 000004222416350

Help Avoid Overdrafts with the Touch of a Button.

Chase is putting even more banking power at your fingertips with Chase Instant Action AlertsS™.

Transfer money anytime, anywhere

Get a text message the instant your checking balance is low
Help avoid fees by transferring funds with a text

It’s fast, easy and best of all — it’s free*

e
e
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cd
To learn more about Instant Action Alerts visit chase.com/FreeAleris.

* Thera is no charge from Chase, but message and data rates may apply from your wireless provider. Qualifying Chase transfer account required.

Page 4 of 4

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

hase B September 14, 2010 through October 13, 2010
Po angen Chase Bank, NA Account Number: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

Web site: Chase.com
WausDbsenUafalauoDDaDDcsannDabasdstiNesessD¥sabosMLacsdb anal Service Center: 1-800-788-7000
o00s86s DAE 201 141 28710- NNYNY T 1 000000000 08 0000 Hearing Impaired: 4-800-242-7383
RAQUEL GARCIA Para Espanol: 4-877-312-4273
1347 DELL DALE ST International Calls: 1-713-262-1679
CHANNELVIEW TX 77530-2203
| CHECKING SUMMARY Chase Free Extra Checking
AMOUNT
Beginning Balance $1,394.99
Deposits and Additions §00.00
Checks Paid - 262.10
ATM & Debit Card Withdrawals - 546.66
Electronic Withdrawals ~ 113.08
Ending Balance $973.15
| CHECKS PAID
CHECK NUMBER DATE AMOUNT
B43 4 09/21 $262.10
Total Checks Pald $262.10

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTI ON DETAIL]

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $1,394.99
09/21 Check #843 - 262.10 1,132.89
09/27 Deposit 166206755 500.00 1,632.89
09/30 Card Purchase 09/28 B & L Lock And Safe Houston TX Card 3381 ~ 546.66 1,086.23
10/05 American Southwe E01041934P PPD ID: 9775071990 + 73.08 1,013.15
10/06 Uaig - Texas ACH Debits PPD ID: 2260180489 - 40.00 973.15
Ending Balance $973.15
Page 1084

13cr628-013184
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 82 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASES

September 14, 2010 through October 19, 2010
Account Number: 000004222416350

 

 

Note: Ensure your checkbook register is up to date with ail transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Data Amount

 

 

 

Step 2 Total: $.
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

 

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Data Amount

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is Incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you ne later than 60 days after we sant you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you belleve it is an error, or why you need more information,
We will investigate your complaint and will correct error promptly. if we lake more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
Incorrect or if you need more information about any non-el io tra tions (checks or dep } on this it. If any such error
appeats, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more completa
details, sea the Account Rules and Regulations or other apr 9g that gi your

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Page 2 of 4

13cr628-013185
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 83 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &

September 14, 2010 through October 13, 2010
Account Number: 000004222416350

Your Chase credit card comes with Blueprint™

Blueprint is a unique set of features that lets you manage your spending and borrowing-
on your terms.

FULL PAY: Helps you avoid Interest
SPLIT: Pay off large purchases

FINISH IT: Pay down an existing balance
TRACK IT: See all your spending

Start with one or use them all. Blueprint is FREE.
Design your pian today at chase.com/blueprint
Or call 1-866-BLUEPRINT

 

Page 3 ot 4

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 84 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP iD G30Mar12-584
Sequence number Posting date

CHASES

September 14, 2010 through October 13, 2010
Account Number. 000004222416350

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Pago 4 of 4

13cr628-013187
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 85 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE §

October 14, 2010 through November 10, 2010
JPMorgan Chase Bank, N.A.

P © Box 659784 Account Number: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

Web site: Chase.com
WacaBDaasl dsDeosUEs Ub ssnasbsdesDelbbasssalbssladdbeaTI saad Service Center: 1-800-788-7000
00009428 DRE 201 141 31510-NNNNY T 1 000000000 08 coco Hearing Impaired: 4-800-242-7383
RAQUEL GARCIA Para Espanol. 1-877-312-4273
1347 DELL DALE ST International Calls: 4-713-262-1679
CHANNELVIEW TX 77530-2203
| CHECKING SUMMARY Chase Free Extra Checking
AMOUNT
Beginning Balance $973.15
Deposits and Additions 6,660.00
Checks Paid - §,284.98
ATM & Debit Card Withdrawals - 1,003.59
Electronic Withdrawals - 237.00
Ending Balance $1,107.58
| CHECKS PAID
CHECK NUMBER DATE AMOUNT
850 “4 10/20 $1,867.00
851 4 10/20 1,573.98
852 4 10/20 1,859.00
854 *A 10/28 485.00
Total Checks Paid $5,284.98

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to viaw on Chase.com.

[TRANSACTION DETAIL|

DATE DESCRIPTION AMOUNT

 

 

 

 

 

BALANCE

Beginning Balance $973.15

10/18 Deposit 166044776 3,660.00 4,833.15

10/18 Deposit 58182432 1,500.00 6,133.15

10/20 Check #850 - 1,867.00 4,266.15
Page Tat 4

13cr628-013188
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 86 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

October 14, 2010 through November 10, 2010
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: = $.

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this st (non-p | ts contact Cust Service) if you think your statement or receipt is incorrect or if you
need more Information about a transfer listed on the statement or receipt. We must haar from you no iater than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why ou need more information.
We will investigate your complaint and will correct any error promplly. if we take more than 10 business days {or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
ord this

 

 

 

 

incorrect or if you need more Information about any non-el fons (check f on if any such error
appeara, you must notify the bank In writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account ag nt that g your

a JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013189
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 87 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

October 14, 2010 through November 10, 2010
Account Number. 000004222416350

 

TRANSACTION DETAIL| (continues)

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

10/20 Check #851 + 1,573.98 2,692.17

10/20 Check # 852 + 1,359.00 1,333.17

10/20 Uaig - Texas ACH Debits PPD ID: 2260180489 - 197.00 1,136.17

40/20 Uaig- Texas ACH Debits PPD ID: 2260180489 - 40.00 1,096.17

40/25 Deposit 58182434 4,000.00 2,096.17

10/25 Card Purchase 40/22 Continental 00521663688 Houston TX Card - 317.90 1,778.27
3381

10/25 Card Purchase 10/22 Continental 00521663588 Houston TX Card - 317.90 1,460.37
3381

10/28 Deposit 101145409 500.00 1,960.37

10/28 Check # 854 ~ 485.00 1,475.37

41/01 Card Purchase 10/30 Lowes #01128* Houston TX Card 3381 - 367.79 1,107.58

Ending Balance $1,107.58

Page 3 ot 4

 

13cr628-013190
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 88 of 415
THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE §

October 14, 2010 through November 10, 2010
Account Number: 000004222416350

Start saving more and get a $50 bonus!

Saving money has never been more critical, but with this smart offer, it's a lot more rewarding.
¢ Deposit $10,000 or more in new money into your existing Chase Savings®™ account.
e Get $50 when you maintain that balance of $10,000 for 90 days.
« Bring this page to any Chase branch by December 31, 2010.

See below for details.
Coupon code: 3901338070948559

Bonus/account Information: Offer valid from 11/01/10 through 12/31/10. A deposit of $10,000 or more In new money
(money not currently held by Chase or its affiliates) into an existing Chase Savings®™ account is required to qualify for the
offer. To receive the cash bonus, the account must remain open and a minimum balance of $10,000 must be maintained for
90 days from the date of deposit. The cash bonus will be automatically deposited into your account within 10 business days
after the 90 day period. Customer is limited to two personal savings account-related reward/premium per calendar year. Not
valid with any other offers. Cash bonus will not be considered part of the minimum opening deposit for new accounts.
Savings account must remain open for a minimum of six months, or the cash bonus will be debited from the account at
closing. Cash bonus is considered interest and will be reported on JRS Form 1099-INT. Interest rates are variable and
subject to change. Fees may reduce earnings on the account.

For a Chase Savings™ account, the Annual Percentage Yield (APY) for all balances is effective as of 10/01/10, and may
change at Chase's discretion. The APY is 0.01% for all balances in all Chase branch locations.

Banker [nstructians:

1. Please review the terms with the customer.

2. Assist the customer with making a single deposit of $10,000 or more in new money (money not currently held by Chase or
its affiliates) directly into their existing Chase Savings™ account. Coupon Code good for one time use (cannot be used
multiple times). Bankers are prohibited from transferring offer to other customers or prospects.

3. Enter the 16-digit coupon code into E-coupon at the time of the quallfying deposit. Coupon code can be found above.
4. Provide printed E-coupon receipt to tha customer.

Page 408 4

13¢r628-013191
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 89 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

CHASES

JPMorgan Chase Bank, N.A.
PO Box 659754
San Antonio, TX 78268-9754

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RAQUEL GARCIA
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203

GROUP ID G30Mar12-584
Sequence number Posting date

November 11, 2010 through December 10, 2010
Account Number: 000004222416350

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
Service Center: 1-B00-788-7000
Hearing Impaired: 1-800-242-7383
Para Espanok 4-877-312-4273
International Calls: 4-718-262-1679

Important information about Chase Checking and Savings Accounts

Please ses the end of this statement for changes to Additional Banking Services and Fees for Chase checking and savings

accounts effective February 5, 2011. If you have questions, please call us at 1-800-935-9935.

 

CHECKING SUMMARY | Chase Free Extra Checking

 

 

 

 

 

AMOUNT
Beginning Balance $1,107.58
Electronic Withdrawals - 269.08
Ending Balance $838.50
[TRANSACTION DETAIL
DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $1,107.58
11/12 American Southwe E01041934P PPD ID: 9775071990 - 73.08 1,034.50
115 Uaig - Texas ACH Debits PPD ID: 2260180489 - 186.00 838.50
Ending Balance $838.50
Page 1 of 4

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 90 of 415
THIS 1UEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

November 11, 2010 through December 10, 2010
Account Number. 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: §.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

4. List and total alt checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4Totak  -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address cn
the front of this statement (non-personal accounts contact Gustomer Service) if you think your statement or receipt is incorrect or if you
need more Information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days alter we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

oA iption of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days {or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERROAS OR QUESTIONS ABOUT NON-ELECTRONIC T TIONS:Contact the bank i diately if your itis
incorrect or if you need more information about any non-el tions (checks or d its) on this it. If any such error

appears, you must notify the bank in writing no later than 30 days after tha statement was made available to you. For more complete
delalls, see the Account Rules and Regulations or other applicable account agreement that govems your account.

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 91 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE @

Novernber 11, 2010 through December 10, 2010
Account Number. 000004222416350

Important Information about Chase Checking and Savings Accounts

The following changes to the Additional Banking Services and Fees for Chase checking and savings accounts are effective
February 5, 2011.

ATM and Debit Card Fees
- Non-Chase ATM Withdrawals at a non-Chase ATM within

nn

 

 

the United States, Puerto Rico and the US Virgin Islands
and any non-Chase ATM Inquiries and Transters'* $2.50 / transaction
- Withdrawal at a non-Chase ATM outside the United States,
Puerto Rice and the US Virgin Islands! $5.00 / withdrawal
- ATM Statement® ——
(When you print your recent account transactions at an ATM) $ 1.00 / statement =]
Overdraft Protection Transfer Fee* $12.00 / transfer

(We will not charge an Overdraft Protection Transter Fee
if your ending account balance, before any Overdraft Protection
Transfers are made is overdrawn by $5 or less.)

Deposited Item Returned (or cashed item retumed) $12.00 / item
(For example, you deposit an item such as a check, and it is not paid
due to insufficient funds.)

Stop Payment* $34.00 / item
Stop Payment via Chase.com or Chase by Phone® automated

phone system* $27.00 / item
Wire Transfer - Domestic Outgoing® $30.00 / item
Wire Transfer - Domestic Outgoing via Chase.com® $25.00 / item
Counter Check® $ 2.00 / check
Legal Process up to $125.00/order

(For processing any garnishment, tax levy, or other court or
administrative order against an account, whether or not the
funds are actually paid out)

1 Non-Chase ATM withdrawals, inquiries, and transfers are nol charged for the following account types: Chase Premier Platinum CheckingSM,
Chase Premier Platinum Asset Management Account®M, Chase Plus SavingsS™ and Chase Premier Platinum Savings, Chase Premier
Checking®™ -first four each statement period; Chase Workplace Checking - first wo each statement period.

2 Usage Foe may be chargad by the institution that owns the ATM. Additional faea may apply when using an ATM outside the United States,
Puerto Rico and the US Virgin Islands.

5 Fee not charged for Chase Premier Platinum CheckingS™, Chase Premier Platinum Asset Management Account®™, and Chase Plus
Savings®™_

4 Fee not charged for Chase Premier Platinum Checking and Chase Premier Platinum Asset Management Account®™_

5 Fea not charged for Chase Premier Platinum Asset Management Account.

5 Fee not charged for Chase Premier Checking®, Chase Premier Platinum Checking™ and Chase Premier Platinum Asset Management
Account

Page 301 4

13cr628-013194
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 92 of 415

THIS ITEM JS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

November 11, 2010 through December 10, 2010
AccountNumber: 000004222416350

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Page 4 of 4

13cr628-013195
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 93 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASES

JPMorgan Chage Bank, N.A.
PO Box 659754
San Antonio, TX 78265-9754

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00004274 DRE 201 141 01311 - YYNNNNYNNNN T 1 d00000C00 08 COCO
RAQUEL GARCIA

1347 DELL DALE ST

CHANNELVIEW TX 77530-2203

December 11, 2010 through January 12, 2011
000004222416350

Account Number:

 

CUSTOMER SERVICE INFORMATION

 

Web site:

Sarvice Center:
Hearing Impaired:
Para Espanol:

International Calis:

Chase.com
1-800-788-7000
1-800-242-7383
1-877-312-4273
1-713-262-1679

 

CHECKING SUMMARY Chase Free Extra Checking

 

 

 

AMOUNT
Beginning Balance $838.50
Deposits and Additions 2,503.73
Checks Paid - 761.82
Electronic Withdrawals - 308.08
Ending Balance $2,272.33
| CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
855 4 O12 $761.82
Total Checks Paid $761.82

if you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not abla to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

 

[TRANSACTION DETAIL]

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $838.50
01/10 Deposit §8182437 1,400.00 2,238.50
o1/10 Transfer Fram ChicoooxS952 1,003.73 3,242.23
oto Transfer From Savxo0xx9 1 19 100.00 3,342.23
Ott American Southwe E01041934P PPD ID: 9775071990 - 73.08 3,269.15
o1/12 Check # 855 ~ 761.82 2,507.33
O12 Uaig- Texas ACH Debits PPD ID: 2260180489 - 236,00 2,272.33

Ending Balance $2,272.33

Page 1 of 2

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=—S

 

00042740101802000021

13cr628-013196
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 94 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

December 11, 2010 through January 12, 2011
Account Number 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1, Write in the Ending Balance shown on this statement: Step 1 Balance: $

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: §$
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIG FUNOS TRANSFERS: Cail or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

« Your name and account number

* The dollar amount of the suspected error

A description of the error or transfer you are unsure of, why you belleve it is an error, or why you need more information.
We will investigate your complaint and will correct any error promplly. [ft we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic t ions (checks or di its) on this If any such error
appears, you must notify the bank in writing no later than 30 days alter the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account

tists = JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 2

13cr628-013197
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 95 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASES)

TPM Chase Bene NA January 13, 2011 through February 10, 2011
ja \.

wy Bee soy an ink, Account Number: 000004222416350

San Antonio, TX 78265 - 9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
MeasDbessDstadoasEDaWDassculsbord MD Desasellsabesl laced] band Service Center: 1-B88-262-4273
00006342 DRE 201 141 04211- YNNNNYNNNNN T 1 000000000 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Intemational Calls: 4-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203
CHECKING SUMMARY | _“Pes2 Total Checking
AMOUNT
Beginning Balance $2,272.33
Deposits and Additions 6,760.00
Checks Paid - 4,186.60
ATM & Debit Card Withdrawals - 1,777.00
Ending Balance $3,118.73
| CHECKS PAID
CHECK NUMBER DATE AMOUNT
PAID
847 4 01/31 $148.85
857° 01/21 319.46
858 01/28 276.97
859 A O2/02 1,249.55
860 A” 02/08 1,333.33
g91*A 02/03 233.81
892 4 02/07 $39.63
gg4*a 02/10 235.00
Total Checks Pald $4,136.60

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* Allof your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chasa.com.

Paga 1 of 4

13cr628-013198
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 96 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

January 13, 2011 through February 10, 2011
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all iransactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement,

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total fram Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more Information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days alter we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the {allowing information:

* Your name and account number

* The dollar amount of the suspected error

» A description of the error or transfer you are unsure of, you beliave it is an error, or why you need more information.
Woe will investigate your complaint and will correct any error promplly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think Is In arror so that you will have use of the money during the
time it takes us to complete our investigation.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
on this

 

 

 

 

incorrect or if you need more information about any non-electronic h or dep ) If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, sea the Account Rules and Regulations or other applicable account ag it that g your t.

exper = JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013199
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

WWD FIOM 1D KAM! UP A LOOAL SIALEMENL MEVLUNDSIBRUUIION

GROUP ID G30Mar12-584
Sequence number Posting date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHASE &
January 13, 2011 through February 10, 2011
Account Number: 000004222416350
TRANSACTION DETAIL
DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $2,272.33
01/14 Deposit 58182430 2,000.00 4,272.33
01/18 Card Purchase 01/14 WI Financial Cards 800-869-3557 SD Card + 1,777.00 2,495.33
3381
01/21 Check # 857 Ron Craft Chevro Purchase Bayttx POP iD: 9003030527 - 319.46 2,175.87
01/28 Check #0858 Morrell Masonry Purchase Houstx POP ID: M911925808 - 276.97 1,898.90
01/31 Deposit §8182431 3,000.00 4,898.90
01/31 Check # 847 - 148.85 4,750.05
02/02 Check # 859 - 1,249.55 3,500.50
02/03 Check #891 - 233.81 3,266.69
02/07 Deposit 58182439 1,760.00 5,026.69
02/07 Check # 892 ~ 339.63 4,687.06
02/08 Check # 860 - 1,333.33 3,353.73
02/10 Check #894 ~ 235.00 3,118.73
Ending Balance $3,118.73

Amonthly Service Fee was not charged to your account. The ways to continue to avoid this fae are listed below.
« Have at least one direct deposit of $500.00 or more

OR, keep a minimum daily balance in your checking account of $1,500.00 or more

e
« OR, keep an average qualifying deposit and investment balance of $5,000.00 or more
‘dl

OR, pay at least $25.00 in qualifying checking-related services or fees.

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13cr628-013200

 
Case 4:13-cr-00628 Document 881 _ Filed on 03/29/16 in TXSD Page 98 of 415

‘THIS FTEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

January 13, 2011 through February 10, 2011
Account Number, 000004222416350

Help Avoid Overdrafts with the Touch of a Button.

Chase is putting even more banking power ai your fingertips with Chase Instant Action Alerts®™.

Transfer money anytime, anywhere

Get a text message the instant your checking balance is low
Help avoid fees by transferring funds with a text

Hs fast, easy and best of all ~ it’s free*

e@eeae

To learn more about instant Action Alerts visit chase.com/FreeAlerts.

* There is no charge from Chase, but message and data rates may apply from your wireless provider. Qualifying Chase transfer account required.

Pape 4 of 4

13cr628-013201

 

 

 

 
Case 4:13-cr-00628

CHASE &

JPMorgan Chase Bank, N.A.
P O Box 659754
San Antonio, TX 78265-9754

February 11, 2041 through March 10, 2014
AccountNumber. 000004222416350

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
VhsvabDecebalaDasafMaDbosnsalsdosbDDFassesT/aeloadlesaldlazal Service Center. 1-888-262-4273
60010351 DRE 201 141 07011- NNNNNNNNYNNT 4 cocooon00 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA International Calls: 1-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203
CHECKING SUMMARY | “ese Total Checking
AMOUNT
Beginning Balance $3,118.73
Deposits and Additions 5,650.00
Checks Paid + 5,505.93
ATM & Debit Card Withdrawals + 287.56
Electronic Withdrawals - 146.18
Ending Balance $2,829.06
CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
895 02/14 $754.05
896 4 03/02 1,249.55
897 A 03/08 1,333.33
898 03/04 2,000.00
899 “4 02/24 69.00
900 4 03/08 100.00
Total Checks Paid $5,505.93

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* An image of this check may be available for you to view on Chase.com.

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We are Ne Ree ke ee eel OD at PT

GROUP (D G30Mar12-584
Sequence number Posting date

 

13cr628-013202

 

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 100 of 415

AMIS MOMS FAN? VE A LOEVAL SIA LVCN! ACUUNSINUULHUIN
GROUP ID G30Mart2-584
Sequence number Posting date

February 11, 2011 through March 10, 2014
Account Number 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3Total: $

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Bs prepared to give us the following information:

» Your name and account number

» The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think Is in error so that you will hava use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Coniact the bank immediately if your statement is
incorrect or if you need more information about any i (checks or dep } on this tt. If any such error
appears, you must notify the bank In writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govams your account.

 

a JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013203

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 101 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584
Sequence number Posting date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHASE S
February 11, 2011 through March 10, 2011
Account Number: 000004222416350

TRANSACTION DETAIL
DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $3,118.73
02/11 American Southwe E01041934P PPD ID: 9775071990 - 73.08 3,045.65
02/14 Check #0895 | Home Depot CR Sv Check Pymt Arc ID: 1460358360 ~ 784.05 2,291.60
02/22 Deposit 58182442 4,650.00 6,941.60
02/22 Card Purchase 02/17 Ipic Studio Inc Los Angeles CA Card 3381 ~ 127.00 6,814.60
02/24 Check #899 - 69.00 6,745.60
03/01 Card Purchase 02/27 Red Roof Inns 12506424 Eloy AZ Card 3381 ~ 160.56 6,585.04
03/02 Check # 896 - 1,249.55 §,335.49
03/04 Check #0898 Wellsfargo Card Checkpaymt Arc ID: Regulusdal - 2,000.00 3,335.49
03/08 Deposit 101145413 1,000.00 4,335.49
03/08 03/08 Check #3900 - 100.00 4,235.49
0x08 Check #897 ~ 1,333.33 2,902.16
03/10 American Southwe E01041934P PPD ID: 97750719390 + 73.10 2,829.06

Ending Balance $2,929.06

A monthly Service Fee was not charged to your account. The ways to continue to avoid this fee are listed below.
« Have at least one direct deposit of $500.00 or more
OR, keep a minimum daily balance in your checking account of $1,500.00 or more

od
e OR, keep an average qualifying deposit and investment balance of $5,000.00 or mora
e

OR, pay at least $25.00 in qualifying checking-related services or fess.

Paga 3 of 4

 

13cr628-013204

 

 
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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

Febmuary 11, 2014 through March 10, 2011
Account Number. 000004222416350

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Page 4 01 4

13cr628-013205

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 103 of 415
THIS ITEM [S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE §

JPMorgan Chase Bank, N.A.
PO Box 659754
San Antonio, TX 78265-9754

March 11, 2011 through April 12, 2011
Account Number. 000004222416350

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
WacsbDacnbososaElaMsooosDsdesds ssaseldsaloalfeasd UL .a05 Service Center: 1-888-262-4273
00011912 DRE 201 141 10911 - NNNNNNYNNYN T 1 000000000 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA International Calls: 4-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203
CHECKING SUMMARY | 26° Total Checking
AMOUNT
Beginning Balance $2,829.06
Deposits and Additions 8,188.51
Checks Paid - 8,744.44
Electronic Withdrawals - 745.50
Fees and Other Withdrawals - 812.51
Ending Balance $715.12
CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
902 03/14 $58.11
903 “ 03/15 389.95
906 °*4 03/21 1,412.00
907 03/29 3,000.00
908 4 03/29 1,801.50
909 4 04/04 1,249.55
910 4 04/04 1,333.33
Total Checks Patd $8,744.44

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on

one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

Page 101 4

 

13cr628-013206

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 104 of 415
THIS JIEM IS PAH! UF A LEGAL SIAIEMEN! HEUCUNSIBNUUIIUN
GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE §

March 11, 2011 through April 12, 2011
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1, Write in the Ending Balance shown on this statement: Step 1 Balance: $
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:  §$,
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: = $

4. List and total all checks, ATM withdrawala, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -§.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $-

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer fisted on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the eror or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more inf about any non-electronic tra tions (check dep on this it. If any such error
appears, you must notify the bank in writing no later than 30 days after tha statement was made avallable to you. For more complete
details, see the Account Rules and Regulations or other app account agi it that g your

{eNoeR © JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013207

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 105 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE

March 11, 2011 through April 12, 2011

Account Number. 000004222416350

[TRANSACTION DETAIL]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $2,829.06
03/11 Uaig- Texas ACH Debits PPD ID: 2260180489 - 234.00 2,595.06
ov11 Uaig- Texas ACH Debits PPD ID: 2260180489 - 46.00 2,549.06
03/14 Check #0902  WalgreenCO. Echeck Boc ID: 30015531 W2 ~ 58.11 2,490.95
03/15 Check #903 - 389.95 2,101.00
03/16 Deposit 101145414 1,600.00 3,701.00
03/21 Check #906 - 1,412.00 2,289.00
03/25 Deposit 101145416 2,983.51 §,277.51
03/28 Deposit 101145417 2,600.00 7,877.51
03/29 «Check #0907 Wellsfargo Card Checkpaymt _ Are ID: Regulusdal - 3,000.00 4,877.51
029 “Check # 908 es) 3,576.01
03/30 Deposited Item Retumed 000109862 - 788.51 2,787.50

# of Items00001
03/30 Deposit Item Returned Fee: 01 000109862 - 12.00 2,775.50
# of Jtems00001

04/04 Check #910 - 1,333.33 4,442.17
04/04 Check #909 - 1,249.55 192.62
04/11 Deposit 58182444 1,000.00 1,192.62
04/12 American Southwe E01041934P PPD ID: 9775071990 + 465.50 727.12
04/2 Service Fee + 12.00 715,12

Ending Balance $715.12

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

Amonthly Service Fee was charged to your checking account. Here are the four ways you can avoid this fee during any

statement period.

« Have at least one direct deposit of $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can heip you set up direct deposit in just a few minutes. Stop in today!

e OR, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $192.00)

Our text alerts can help keep you on top of your balance. Set up alerts today!

e OR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $2,618.00)

Talk to a banker about transferring your balances to Chase today!

e OR, pay at least $25.00 in qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $12.00)

Stop in today and exptore all Chase has to offer.

Page 3 ot 4

 

13cr628-013208

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 106 of 415
IHIS 1EEM 15 PAHI UF A LEGAL SIAIEMENI KEVUNSTERUCIION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &§

8 NA April 13, 2011 through May 11, 2011
oF Morgan Chase Bank, N. Account Number: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
HaseDDessUsDsbsoeDEsEDssasDabssdeDfDsassallssdastlancd/ Has! Service Center. 1-888-262-4273
00011776 DRE 201 141 13211- YNNNNNNYNNNT 1 000000000 08 0000 Hearing impaired: 1-800-242-7383
RAQUEL GARCIA International Calls: 1-718-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203

   

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Chase Debit Card Overdraft Coverage®™ For Your Checking Account

As a reminder, you have Chase Debit Card Overdraft Coverage on your checking account (we processed your request on
08/12/2010), it allows Chase to authorize and pay overdrafts, at our discretion, on your everyday debit card transactions.

This coverage is on dabit cards linked to the checking account ending in 6350.

There is no charge to maintain this coverage on your account but if you use the coverage, standard overdraft fees
will apply.

lf at any time you or a joint account holder would like to cancel Chase Debit Card Overdraft Coverage, please:

Stop by any branch and tafk to a banker,
Visit chase.com/coverage, or
Call 1-800-935-9935.

IMPORTANT INFORMATION

Whether you have Chase Debit Card Overdraft Coverage on your checking account will not affect how we treat your recurring debit card
transactions (such as a gym membership). In particular, we may, at our discretion, authorize and pay 4 recurring debit card transaction that
causes an overdraft and charge an insufficient funds/overdrafi fee even If you do not maintain Chase Debit Card Overdraft Coverage on your
account.

We will charge an insufficient funds/overdraft fee of $34 each time we pay an overdraft created by check, ACH, in-person withdrawal, debit card
transaction or other electronic means. We will charge a retumed item fee of $34 for any check or ACH transaction that is returned because your
account had insufficient funds. The most you would pay is 3 fees per day for insufficient funds or retumed items, no matter the number of
transactions.

 

Also, sach time your tis overd for 5 five busi days, we will charge you an additional $15.
Once an overdraft has occurred, you are obligated to bring your account to a positive balance promptly.

Whather your overdraft will be paid is at Chase’s discretion and we reserve the right not to pay. For example, we typically do not pay overdratts if
your account! is not in good standing, or you are not making regular deposits, or you have had excessive overdrafts.

If you have sufficient funds available under Chase Overdraft Protection, funds will automatically be transferred from your Chase savings account,
credit card or home equity line of credit to cover your overdraft purchases. Chase Overdraft Protection may be subject to a credit approval. Fess
may apply, including a $12 Overdraft Protection transfer fee.

Page 1016

13cr628-013209

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 107 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASES

April 13, 2011 through May 11, 2011
Account Number 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $.

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at tha phona number or address on
the front of this non; ts contact Cust ) f you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or recelpt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:
¢ Your name and account number

» The dollar amount of the suspected error

¢ A description of the error or transfer you are unsure of, why you belleve it is an error, or why you need more information.
We will investigate your complaint and will correct any etror promptly. If we take more than 10 business jays (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is In error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: ‘Contact the bank immediately if your statement is
incorrect or if you need more inf about any norrel or di ) on this it. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete

delails, see the Account Rules and Regulations or other applicable account agreement that governs your account.

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Page 2 of 6

13cr628-013210

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 108 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUC HON
GROUP ID G30Mar12-584

Sequence number Posting date

CHASE &

| CHECKING SUMMARY Chase Total Checking

April 13, 2011 through May 11, 2041

Account Number:

000004222416350

 

 

 

 

 

 

 

 

AMOUNT
Beginning Balance $715.12
Deposits and Additions 9,933.23
Checks Paid - 7,836.88
ATM & Debit Card Withdrawals - 1,011.21
Electronic Withdrawals - 469.00
Fees and Other Withdrawals - 12.00
Ending Balance $1,319.26
CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
9114 04/13 $46.00
912 4 04/20 4,008.00
914° 05/03 1,200.00
915 4 05/03 1,249.55
916 A 05/02 1,333.33
Totat Checks Paid $7,836.88

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, sither because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $715.12
04/13 Uaig - Texas ACH Debits PPD ID: 2260180483 - 469.00 246.12
04/13 Check #911 - 46.00 200.12
04/18 Deposit 58182446 5,494.72 5,694.84
04/20 Check # 912 - 4,008.00 1,686.84
04/27 Deposit 58182428 2,800.00 4,486.84
05/02 Deposit 58182449 788.51 5,275.35
05/02 Card Purchase 05/01 Humanaone 800-3425209 GA Card 3381 + 34.50 5,240.85
O5/02 Check # 916 - 1,333.33 3,907.52
05/03 Check #915 - 1,249.55 2,657.97
05/03 Check #914 - 1,200.00 1,457.97
05/06 Card Purchase 05/05 Hotels.Com US 800-219-4606 WA Card 3381 - 117.90 1,340.07
05/06 card Purchase 05/05 Hotwire-Sales Final 866-468-9473 CA Card - 160.65 1,179.42

338

05/09 Daposit 101145428 850.00 2,029.42
osvo9 gard Purchase 05/06 Viator Tours And Att 415-5033969 CA Card ~ 698.16 1,331.26
O5/14 Service Fee - 12.00 1,319.26

Ending Balance $1,319.26

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13cr628-013211

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 109 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

April 13, 2041 through May 11, 2011
Account Number. ©00004222416350

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your checking account. Here are the four ways you can avoid this fee during any
statement period.

« Have at least one direct deposit of $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes. Stop in today!

e OR, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $200.00)

Our text alerts can help keep you on top of your balance. Set up alerts today!

« OR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $2,131.00)

Talk to a banker about transferring your balances to Chase today!

e OR, pay at least $25.00 in qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $0.00)

Stop In today and explore all Chase has to offer.

Page 4a &

13cr628-013212

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 110 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASES

April 18, 2011 through May 11, 2011
Account Number. 000004222416350

The Chase Mobile® App. Enjoy all the access and services of chase.com through your phone,
including these fast and FREE ways to manage your money:

Get the free Chase Mobile® App for your iPhone® or Android™

Make a deposit by simply taking a picture of the front and back of an endorsed check with Chase QuickDepositS™
Send money to nearly anyone with an e-mail address with Chase Person-to-Person QuickPay™

Transter money between Chase accounts

Pay bills and credit cards with Online Bill Pay

Plus, you can also access chase.com anywhere, anytime from your phone’s browser.

Chase Mobile Banking: Message and data rates may apply. Such charges include those from your communications service provider.

Chase QuickDeposit®™: Must download Chase Mobile® App from the App Store or Android Market and enroll in Chase Ontine®™_ Message and
data rates may apply. Such charges include those from your communications service provider. Subject to eligibility and further review. Deposits

 

are subject to verification and not available for with I. A Cc ing and High School checking account customers not eligible.

Deposit limits and other restrictions apply.

Chase Persen-to-Person QuickPay™: Both you and the other person need a U.S. bank account; only one of you needs a Chase checking
account

Onllne Bill Pay: You must be enrolled in Chase Online™ to activate and use Online Bill Payment. Online Bill Payment service Is free of charge
when you designate a qualified account as your Primary Account for Oniine Bill Payment. A qualified account includes any Chas personal or
business checking account except Chase Customized Checking® which will be charged $5 per month for Online Bill Payment Service.

iPhone: Requires iPhone® 3 or higher. App Store and IPhone are trademarks of Apple, Inc.
Android: Android is a trademark of Google, Inc. Use of this trademark is subject to Google Permissions.

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 111 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

May 12, 2011 through June 10, 2014
JPM Chase Bank, N.A.
2PMorgan Chase Bank, N.A Account Number. 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

Web site: Chase.com
UacbbeonbalabsasD DD Dassenfabestablbooseell sbsallassdEseal Service Center. 1-888-262-4273
00011191 DRE 201 141 16211 - NNNNNNNYNNNT 1 000000000 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA international Calls: 4-713-262-1679 =
1347 DELL DALE ST —
CHANNELVIEW TX 77530-2203 ==
CHECKING SUMMARY |_“P2se Total Checking
AMOUNT
Beginning Balance $1,319.26
Deposits and Additions 4,900.00
Checks Paid - 2,582.88
ATM & Debit Card Withdrawals - 1,220.00
Electronic Withdrawals - 138.00
Fees and Other Withdrawals - 34.00
Ending Balance $2,244.38
| CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
861 4 06/02 $1,249.55
862 4 06/01 1,333.33
Total Checks Paid $2,582.88

if you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL|

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,819.26

05/17 Uaig- Texas ACH Debits PPD ID: 2260180489 ~ 138.00 1,181.26

05/18 Card Purchase 05/17 Lemond Fitness Inc. 425-482-6773 WA Card + 1,220.00 -38.74
3381

05/18 Insufficient Funds Fee For A $1,220.00 Card Purchase - Details: - 34.00 72.74

0517Lemond Fitness Inc. 425-482-6773 WA 04610460684 143381

Page 1 ai 4

13cr628-013214

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 112 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

May 12, 2011 through June 10, 2011
Account Number 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1, Write In the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total:  -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Cail or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need mors information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

¢ A description of the error or transfer you are unsure of, why you betiave itis an error, or why you need more Information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us fo complete our investigation.

 

 

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-el r deposits) on this if any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account ag that govems your account.

 

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Page 2 of 4

13cr628-013215

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 113 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE @

May 12, 2011 through June 10, 2014
Account Number: 000004222416350

TRANSACTION DETAIL |_@omituc)

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
05/19 Deposit 2,700.00 2,627.26
06/01 Check #862 - 1,333.33 1,293.93
06/02 Check # 861 - 1,249.55 44,38
06/03 Deposit 101145421 1,000.00 1,044.38
06/08 Deposit §8182450 1,200.00 2,244.38

Ending Balance $2,244.38

A monthly Service Fea was not charged to your account. The ways to continue to avoid this fee are listed below.
* Have at least one direct deposit of $500.00 or more

« OR, keep a minimum daily balance in your checking account of $1,500.00 or more

« OR, keep an average qualifying deposit and investment balance of $5,000.60 or more

* — OR, pay at least $25.00 in qualifying checking-ralated services or fees.

 

{OVERDRAFT AND RETURNED ITEM FEE SUMMARY

 

 

 

 

 

Total for Total
This Period Year-to-date
Total Overdraft Fees * $34.00 $34.00
Total Returned Item Fees $.00 $.00
* Total Overdraft Feas includes Insufficient Funds Fees, and Extended Overdraft Fees
Page 3 of 4

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

May 12, 2011 through June 10, 2011
Account Number. 000004222416350

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Page 4 of 4

13cr628-013217

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 115 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

JPM Chase Bank, NA. June 11, 2011 through July 13, 2011
PORne Account Number: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
WvacDdsordsLateneED UbasccababarEsMDL cancel d codes foes Lise! Service Center: 1-888-262-4273
00011101 DRE 201 141 19511 - NNNNNNNNNNNT 1 ocoo0cocc 08 900 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA International Calls: 1-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203

 

We are making changes to the “Longer Delays May Apply” section of our Funds Availability
Policy for personal accounts (excluding Chase Access Checking).

Effective July 17, 2011, at least the first $200 of your deposits will be available on the first business day after the day of your
deposit. All other terms of your account remain the same. If you have any questions, please call us at 1-800-935-9935.

CHECKING SUMMARY | Chase Total Checking

 

 

 

 

 

 

 

 

 

AMOUNT
Beginning Balance $2,244.38
Deposits and Additions 4,400.00
Checks Paid - 4,210.44
ATM & Debit Card Withdrawals - 15.50
Fees and Other Withdrawals > 12.00
Ending Balance $2,406.77

| CHECKS PAID |

CHECK NUMBER DATE AMOUNT

PAID

863 4 06/14 $1,200.00
865°A 07/05 1,249.55
866 A 07/41 1,333.33
867 4 07/12 155.68
868 4 07/13 64.95
874*A O7/12 206.60
Total Checks Pald $4,210.11

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to relum the chack to you or show you an image on Chase.cam.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.

* An image of this check may be availabie for you to view on Chase.com.

Page 1 of 4

13cr628-013218

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 116 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

June 11, 2011 through July 13, 2074
Account Number: 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: §$.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Totak  §.
3. Add Step 2 Total to Step 1 Balance. Step 3Total: $.

4, List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Cail or write us at the phone number or address on
the front of this st contact C: ica) if you think your statement or receipt is incorrect or if you
more information about a transfer sted on the statement or receipt. We must hear from you no [ater than 60 days after we sent you

the FIRST statement on which the problem or error appeared, Be prepared to give us the following information:

* Your name and account number

» The dollar amount of the suspected error

» A description of the error or transfer you are unsure of, Why you believe it is an error, or why you need more Information.
We will investigate your complaint and will correct any error promptly. [f we take more than 10 Distress jays (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in ertor so that you will have use of the money during the
time it takes us to complete cur investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediatoly if your statement is

 

 

 

Incorrect or if you need more inf about any no: or nt. If any such error
rs, you must notify the bank in n writing No later than 30 ate after the statement was made be to you. For more complete
ae ila, see the Account Rules and R 1s or other ar thal governs your account.

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Page 2 of 4

13cr628-013219

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 117 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASES

dune 11,2011 through July 13, 2011
Account Number. 000004222416350

[TRANSACTION DETAIL]

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $2,244.38
06/14 Check # 863 - 1,200.00 1,044.38
06/20 cad Purchase 06/17 Humana Compbenefils 770-5527 101 GA Card - 15.50 1,028.88
06/27 Deposit 2,800.00 3,828.88
07/05 Check # 865 - 1,249.55 2,579.33
O7/11 Deposit 1,600.00 4,179.33
07/11 Check # 866 + 1,333.33 2,846.00
O72 Check #874 - 206.60 2,639.40
072 Check # 867 - 155.68 2,483.72
07/13 Check # 868 - 64.95 2,418.77
07/3 Service Fes - 12.00 2,406.77

Ending Balance $2,406.77

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

Amonthly Service Fee was charged to your checking account. Here are the four ways you can avoid this fee during any
statement period.

« Have at least one direct deposit of $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes. Stop in today!

« OR, keep a minimum dally balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $1,028.00)

Our text alarts can heip keep you on top of your balance. Set up alerts today!

« OR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $2,238.00}

Talk to a banker about transferring your balances to Chase today!

« OR, pay at least $25.00 in qualifying checking-related services or fees.
{Your total qualifying checking-rslated services or fees paid were $0.00)

Stop in today and explore all Chase has to offer.

[OVERDRAFT AND RETURNED ITEM FEE SUMMARY |

 

 

 

 

 

Total for Total
This Period Year-to-date
Total Overdraft Fees * $.00 $34.00
Total Returned Item Fees $.00 $.00
* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees
Paga 3 of 4

 

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GROUP ID G30Mar12-584
Sequence number Posting date

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June 11, 2011 through July 13, 2011
Account Number. 000004222416350

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Page 4 of 4

13cr628-013221

 
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AMS NEWS PANS UP A LOVAL CIMT CMICN NOVUNOI MUL UY

GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE a July 14, 2011 through August 10, 2011
ju:
JPMorgan Chase Bank, N.A. : 2
PO Be, BS9784 Account Number. 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
VDanaTanoD DaDsasEDsTassoeDsFen ds I Maarasfdaatood Lass II saal Service Center: 1-888-262-4273
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RAQUEL GARCIA Intemational Calls: 4-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203
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| ————————} 3
| CHECKING SUMMARY | Chase Total Checking
AMOUNT
Beginning Balance $2,406.77
Deposits and Additions 6,200.00
Checks Paid - 3,607.74
ATM & Debit Card Withdrawals - 15.50
Ending Balance $4,983.53
CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
869 “ 07/14 $136.36
870 * 07/14 92.55
872 °A 07/14 236.00
873 4 07/18 174.57
875 * OVS 5.38
880 * 4“ 08/08 1,333.33
881 4 08/03 1,249.55
883° 4 08/08 380.00
Tota! Checks Paid $3,607.74

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com,

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

Page 1084

13cr628-013222

 
Case 4:13-cr-00628 , Document 881 Filed on 03/29/16 in TXSD Page 120 of 415

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GROUP | 1D ‘G30Man2- 584
Sequence number Posting date

CHASE &

July 14, 2011 through August 10, 2011
Account Number: 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $.
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $.

4, List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total:  -$.
S. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $,.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phona number or address on
the front of this statement (nen-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
more information about a transfer listed on the statement or recelpt. We must hear from you no later than 60 days after we sent you

the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you you be believe it is an error, or why you need more information.
We will investigate your complaint and will correct any @ tror prompily take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complste our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: ‘Contact the bank immediately if your statement is

 

incorrect or if you need mare information about any non-el tions (checks or di If any such error
appears, you must notify the bank in writing no later than 30 aed after the statement was made avaiable . you. For more complete
details, see the Account Rules and Ri or other at g your account,

 

to& JPMorgan Chase Bank, N.A. Member FDIC

Page 2 at 4

13cr628-013223

 
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 121 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002490589562 Posting date 03-FEB-11

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AcctNum: 000000004222416350 Amount: 000000000023381

Rerno: oooeooss1 opgstbate: 20110203 Sequence: 002490589562
BankNum: ode: 0001 Field4: 000 pmagestat: 05
UDK: 6701140208 3E 90889562 BOFD: 111900057 PSRC: BY
Tzrancede: 000891 RouteTran: 11100061 DocType:
EntryNum: 2442 ItemType: P

 

 

13cr628-013224
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 122 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001890917669 Posting date 07-FEB-11

 

 

 

 

 

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AcctNum: 000000004222416250 Amount: 000000000033963

Xerno: 0000000892 PostDate: 20110207 Sequence: 001890917669
BankNum: 0201 A de: 0001 Field4: 0000 ImageStat: 05

UDK: 0201110207001890917669 BORD: 000000000 CapsRC: PV
TranCode: 000892 RouteTran: 11100051 DecType: &
EntryNum: 1487 ItemType:

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 123 of 415

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GROUP ID G30Mar12-584
Sequence number 008980063992 Posting date 08-FEB-11

 

 

 
   
 
  

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Berne: 0000000860 PostDatea: 20110208 Saqusance: 008980063992
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201110208008980063992 BOFD: 000000000 CapSRC: PV
TranCode: 000860 RouteTran: 11100061 DocType: 8

EntryNum: 4325 ItemTypa: P

   
  

   
 

 

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_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 124 of 415

THIS ITEM iS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008790889532 Posting date 10-FEB-11

 

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Zexrno: 0000000894 PostDate: 20110210 Sequence: 008790889532
BankNum: o2o1 AppCode: 0001 Fialdd: 0000 ImageStat: 05
DDK: 0201110210008790889522 BOFD: 000000000 aPSRC: PY
TranCede: 000894 RouteTran: 11100061 DooType:

EntryNum: 1613 ItemType: P

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 125 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001690791795 Posting date 24-FEB-11

 

     
   
  
 

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AcctNum: 000000004222416350 Amount: 000000000006900
Xerno: 0000000899 PostDate: 20110224 Sequence : 001690791735

BankNum: 0201 i Code: 0001 Field4: 000
UDK: 0201110224 ti

ImageStat: 05
1690791795 BOFD: 000000000 CapSRC: PV

TranCode: 000899 RouteTran: 11100061 DocType: 8
EntryNum: 1273 ItemType: P

13cr628-013228
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 126 of 415
THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001990429983 Posting date 02-MAR-11

 

 

 

 

  

 

 

 

 

 

 

 

     
     
 

 

 

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BankNum: ode: 00601 Field4: 000 estat:

UDK: B11 50308 {390429983 BOPD: od000000 D GapsRc: P oy
TranCode: 000896 RouteTran: 11100061 DocType: 8

EntryNum: 1592 ItemType: P

 

 

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_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 127 of 415

 

 

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002280228703 Posting date 08-MAR-11

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CHANNELVIEW, TX 77530-2203

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UDK: 0201110308002280228703 BOFD: i1?$00037 apsRC: BY
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TranCode: gogo00 RouteTran: 11100061
EntryNum: 2891 ItemType: P

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003790387966 Posting date 08-MAR-11

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AcctNum: 000000004222416350 Amount: 0000000001333323

Xerno: 0000000897 PostDate: 20110308 Sequence: 003790387965
BankNum: 9201 Code: 0001 Field4: 0000 ImageStat: 05
UDK: 02011102308003790387966 BOFD: 000000000 CapSRC: PV
TranCode: 000897 RouteTran: 11100061 Doctype: 8
EntryNum: 1425 ItamType: P

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 129 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 004890688123 Posting date 15-MAR-11

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BankNum: 0201 ary tone 0001 Field4: 0000 ImageStat: 05
UDK: 0201110315004390688123 BorD: 000000000 CapsRc: PY
TranCode: 000903 RouteTran: 11100061 DocType: 8
EntryNum: 3049 ItemType: P

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 130 of 415

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 131 of 415
THIS ITEM {S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005590095584 Posting date 29-MAR-11

 

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Xerno: 0000000908 PostDate: 20110329 Sequence: 005590095584
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0202110329005590095584 BOFD: 000000000 CapSRC: Pv
TranCode: 000908 RouteTran: 11100061 DocType:

EntryNum: 3997 TtemTypa: P

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.. Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 132 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005280327059 Posting date 04-APR-11

 

 

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TranCode: 000909 RouteTran: 11100061 DooType: 8
EntryNum: 1559 ItemType: P

 

 

 

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_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 133 of 415

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GROUP ID G30Mar12-584
Sequence number 003280802970 Posting date 04-APR-11

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BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05

UDK: 0201110404002280802970 BOFD: 009000000 apSRC: PY
TranCode: 000910 RouteTran: 11100061 Deatype:

EntryNum: 3804 ItemType: P

 

13cr628-013236
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 134 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003670380668 Posting date 13-APR-11

 

  

 

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AsctNum: 000000004222416350 Amount: 000000000004600

Xerno: 0 oe ate PostDate: 20110413 Sequence: 003670380668

BankNum; 1 Code: 0001 Field4: 0000 ImageStat: 05

UDE: bo1t i041 §3¢70380668 BOFD: 000000000 CapSRC: PV

TranCode: 000911 RonuteTran: 11100061 DactType:

EntryNum: 1445 ItenType: P

 

13cr628-013237
.. Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 135 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number 005080448330 Posting date 20-APR-11

 

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1347 DELL DALE ST.
CHANNELVIEW, TX 77530-2203

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AcotNum: 000000004222416350 Amount: 000000000400800

Xerno: 0000000912 PostDate: 20110420 Sequence: 0050380448330
BankNum: 0201 AppCode: Q001 Field4: 0000 Image&tat: 05
UD: 0201110420005080448330 BOFD: 000000000 CapsRc: Pv
TranCode: 000912 RouteTran: 11100061 DocType:

EntryNum: 3804 ItamType: P

 

 

13cr628-013238
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 136 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007070541830 Posting date 02-MAY-11

 

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AcetMum: 000000004222416350 Amount: 000000000133333

Xerno: 0000000916 PestDate: 20110502 Sequence: 007070541830

BankNum: 0201 AppCode: 0001 Fieid4: 0000 ImageStat:

UDK: 0201110502007070541830 BOFD: 000000000 CapsRc: PY

TranCedea: 000916 RouteTran: 11100061 DooeType:

EntryNum: 3838 ItemType: P

 

 

13¢r628-013239
-- Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 137 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001770175433 Posting date 03-MAY-11

 

 

 

 

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AcctNum: 000000004222416350 Amount: 000000000124955

Xerno: 0000000915 PostDate: 20110503 Sequence: 001770175433
BankNum: 0201 Code: 0001 Field4: 0000 ImageStat: 05
UDK: 0201110503001770175433 BOFD: 000000000 CapSRC: PV
TranCode: 000915 RouteTran: 11100061 DoaType: 8

EntxryNum: 1873 ItemType: P

 

 

13cr628-013240
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 138 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003170972007 Posting date 03-MAY-11

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AastHum: 000000004222416350 Amount: goce00000120000
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000914 RouteTran: 11100061
EntryNum: 2642 ItemPype: P

 

 

20110503 Sequence: 003170972007
Code: 0001 Field4; 0000 ImageStat: 05
3170872007 BOFD: 074909962 CapSRC: PV
DocType: 3

13cr628-013241
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 139 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION —
GROUP ID G30Mar12-584
Sequence number 005070376151 Posting date 01-JUN-11

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AcotHum: 000000004222416350 Amaunt: 000000000133333
Zerno: Oe oe ge PostDate: 20110601 Sequence: 005070376151
BankNum: 0201 AppCode: 0001 Fielidd: 0000 ImageStat: 05
UDK: 9201110601005070376151 BOFD: 000000000 CapSRC: PV
TranCode: 000862 RouteTran: 11100061 DooType: 8
EntryNum: 4313 ItemType: FP

 

 

13cr628-013242
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 140 of 415

THIS ITEM IS PART OF ALEGAL STATEMENT RECONSTRUCTION.
GROUP ID G30Mar12-584
Sequence number 002270564642 Posting date 02-JUN-11

 

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AcatHum: 000000004222416350 Amount: 000000000124955
Zerno: 0000000861 PostDate: 20110602 § noe: po22 70564642
BankNom: 0201 Bppeode: 00 0001 Field4: 0000 ImageStat:
UDK: 0201110602002270564642 BOFD: 000000000 CapsRc: ev
TranCode: 000861 RouteTran: 11100061 Dectype: 8
EntryNum: 1594 ItemType: P

 

 

 

13cr628-013243
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 141 of 415

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THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005970999823 Posting date 14-JUN-11

 

 
    
  
  

 

 

 

 

 

   

 
    

  

 

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Xerno: 0000000863 PostDate: 20110614 Sequence: 005970999823
BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05
UDK: 0201110614005970999823 BOFD: 074909962 CapSRC: PV
TranCede: 000863 RauteTran: 11100061 Daotype: &
EntryNum: 2852 ItemType: P

13cr628-013244
/ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 142 of 415

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GROUP ID G30Mar12-584
Sequence number 001980581710 Posting date 05-JUL-11

 

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AcetNum: 000000004222416350 Amount: 000000000124955

KXerno: 0000000865 PostDate: 206110705 Sequence : 001980581710
BankNum: 9201 a Code: 0001 Field4: 0000 ImagseStat: 05
UDK: 0261110705001980581710 BOFD: 000000000 CapsRc: PV
TranCode: 000855 RouteTran: 11100061 DoctType:

EntryNim: 1582 ItemType: P

 

 

13cr628-013245
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 143 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002570554373 Posting date 11-JUL-11

 

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Zerno: 0000000866 PostDate: 20110711 Sequence: 002570554373
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05

UDK: 0201110711002570554373 BOFD: 000000000 CapsRc: Pv
TranCode: 000866 RouteTran: 11100061 DocType:

EntryNum: 3745 ItemTypa: P

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_Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003190008463 Posting date 12-JUL-11

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AcotNum: 000000004222416350 Amount: 000000000020660

Xerno: 0000000874 PostDate: 20110712 Sequence: 003130008463
BankNum: 0201 Bepcode: 0001 Field4: 9000 ImageStat: 05
UDK: 0201110712003190008463 BOFD: 000000000 CapSRC: PV
TranCode: 000874 RouteTran: 11100061 DeeType: 3
EntryNum: 3101 ItemType: P

Page 144 of 415

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.. ,Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 145 of 415

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GROUP ID G30Mar12-584
Sequence number 003090739567 Posting date 12-JUL-11

 

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AcctNum: 000000004222416350 Amount: 000000000015568
Xerno: 0000000867 PastDate: 20110712 Saqmenca: 003090739567
BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05
UDK: 02011107120030S90739567 BOFD: 074909962 CapSRC: PV
TranCode: 000867 Routsfran: 11100061 DocType: 8
EntryNum: 3080 ItemType: P

 

 

 

13cr628-013248
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 146 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002470626164 Posting date 13-JUL-11

 

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BankNum: 4 ARES : 0001 Field4: 0000 ImageStat: 05
UDK: Seo1tt0715 Boa 70e2616d BOFD: 000000000 CapSRC: PV
TranCode: 000888 RouteTran: 11100061 DoctType: 8
EntryNum: 3765 ItemType: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 147 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006480630973 Posting date 14-JUL-11

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Zexrno: 0000000870 PostDate: 20110714 Sequence: 006480630973

BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05

UDK: 0201110714006480630973 BOFD: 000000000 CapSRC: PV

TranCode: 000870 RouteTran: 11100061 DocType: 8

EntryNum: 3974 ItemTyna: P

 

 

 

13cr628-013250
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 148 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION —-
GROUP ID G30Mar12-584
Sequence number 007480996435 Posting date 14-JUL-11

 

 

  
  
     

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KXerno: 0000000869 PostDate: 20110714 Sequence: 007480996435
BankNum: 0201 App cede : 0001 Field4: 0000 ImageStat: 05
UDK: 0201110714007480996435 BOFD: 000000000 CapsRc: PV
TranCode: 000869 RouteTran: 11100061 Daelype: §
EntryNum: 3617 ItemType: P

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 149 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007580172775 Posting date 14-JUL-11

 

 

 

 

 

  
 

 

 

 
 
  

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Zerno: 0000000872 PostDate: 20110714 Sequence: 007580172775
BankNum: 0201 Code: 0001 Field4: 0000 TmageStat: 05
UDK: 0201110714007580172775 BORD: 000000000 CapsSRc: PV
TranCode: 000872 RouteTran: 11100061 DosType: 8
EntryNum: 1668 ItemType: P

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 150 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007380861386 Posting date 18-JUL-11

 

 

   
  

  

  
 
 

 

 

 

 

 

 

 

 

 

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AcctNum: 000000004222416350 Amount: 000900000017457
XYerne: 0000000873 PostDate: 20110718 Saquence: 007380861385
BankNum: 0201 AppCode: 0001 Field4: (000 ImageStat: 05
ODK: 020111071B007380B61386 BOFD: OdcO00D00N CapSEC: PV
TranCode: 000873 RouteTran: 11100061 DocType: 8
EatryNum: 5143 IteniType: P

13cr628-013253
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 151 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION ——-
GROUP ID G30Mar12-584
Sequence number 006480904284 Posting date 03-AUG-11

 

 

 

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AcctMNum: 000000004222416250 Amount: 000000000124955
Xerno: 0009000881 PostDate: 20110803 Sequence: 006480904284

BankNum: 0201 ode: O00] Field4: 0000 Imagestat: 05
DDK: 9201110803 6480904284 BOFD: 000000000 SapBRC: PV
TranCode: 000881 RouteTran: 11100061 DoecType: 8
EntryNum: 1542 ItemType: P

 

 

13cr628-013254
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 152 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008980254163 Posting date 08-AUG-11

 
    
   
   
   

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Xerno: 00 OL ane PostDate: 20110808 Sequence: 008980254163

BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat:
UDK: 070111 0808008990254163 BOFD: 000000000 VapSRc: PY
TranCada: 000880 RouteTran: 11100061 DoeTypa:
EntryNum: 4884 ItemType: P

13cr628-013255
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 153 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002570237271 Posting date 08-AUG-11

 

 

 

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AcotNum: 900000094222416350 Amount Amount: 000000000038000

: 0000 000883 PostDate: 20110808 Sequence: 002570237271
AppCada: 0001 Field4: 0000 ImagaStat: 05

UDK: 0201110808002570237271 BORD: 111900057 CapSRCc: PM

TranCode: 000883 RouteTran: 11100061 DooType: 8

EntryNum: 7704 ItemType: FP

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 154 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION —
GROUP ID G30Mar12-584
Sequence number 007880171925 Posting date 11-AUG-11

 

 

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AcotNum: 000000004222416350 Amount: 000000000011767

Xernc: OOOOOOOBES PostDate: 20110811 Sequence: 007880171925
BankNum: 0201 AppCode: 0001 Fieldd: 9000 ImageStat: 05

UDK: 0201110811007880171925 BOFD: 074909962 wap SRC: pv
TranCode: O0O0885 ReouteTran: 11100061 DoeType:

EntryNom: 3013 ItemType:

 

13cr628-013257
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 155 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006580582521 Posting date 15-AUG-11

 

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CHANNELVIEW, TX 77590-2203

 

 

 
     

 

 

 

  

    
  

  

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Xerno: 0000000878 PostDate: 20110815 Sequence: 066580582521
BankNum: 0201 Appcede : 0001 Ficldd: 0000 ImageStat: 05
UDK: 0201110815006580582521 BOFD: 409000000 CapSRc: PV
TranCodea: 000878 RouteTran: 11100061 DeoType:

EntryNum: 1896 ItemType: FP

13cr628-013258
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 156 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP 1D G30Mar12-584
Sequence number 005280016094 Posting date 16-AUG-11

 

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Xerno: 0000000981 PostDate: 20110816 Sequence: 0052800160594

BankNum: 0201 Code: 0001 Fieid4: 0000 ImageStat: 05

VDK: 0201110816005280016094 BOFD: Ga0000000 CapSRC: PV

TranCode: 000981 RouteTran: 11100061 DocType: &

EntryNum: 3529 ItemType: P

 

 

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AcotNum: 000000004222416350 Amount: 000000000047306

Xsrnco: 0000000884 PostDate: 20110816 Seaquenca: 008470781614
BankNum: 0201 AppCode: 0001 Fiela4: 0000 ImageStat:

UDK: 02011108160084 70781614 BOFD: 000000000 CapSRC: PV
TranCode: 000884 RouteTran: 11100061 DocTypes:

EntryNum: 1782 I[temType: P

 

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_Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 157 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008470781614 Posting date 16-AUG-11

 

 

RAQUEL GARCIA
1347 DELL DALE ST.
CHANNELVIEW, TX 77530-2203

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 158 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584

Sequence number 007980370961 Posting date 23-AUG-11

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 159 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009570698176 Posting date 24-AUG-11

 

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BankNum: 0201 A appcode 0001 Fieldé: 0000 ImageStat: 05
UDK: 6201110824009570698176 BOFD: 000000000 CapsRC: FV
TranCode: 000922 RoutsaTran: 11100061 DoeType: 8
EntryNum: 4017 ItemType: P

 

 

13cr628-013262
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 160 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007880095314 Posting date 25-AUG-11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

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AcctNum: 000000004222416350 Amount: 000000000031058
Xerno: 6000000925 FostDate: 20110825 sequence: 007880095314
BankNum: a2sbb7es00 0001 Field4d: 0000 ImageStat: 05
UDK: ogo1tio87s 7880095314 BORD: 00000000 CapsRc: PY
TranCode: 000925 RouteTran: 11100051 DocType:
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13cr628-013263
_Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 161 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION _——-
GROUP ID G30Mar12-584
Sequence number 002080117828 Posting date 02-SEP-11

 

 

 

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Xerno: 0000000927 PostDate: 20110902 sequence: 002080117828
BankNum: 0201 Apesods : 0001 Fieldd: 0000 ImageStat: 05
UDK: 0201110902002080117828 BOFD: 000000000 PSRC: PV
Trancode: 000927 RouteTran: 11100061 DoecType: 8
EntryNum: 1470 ItemType: P

 

13cr628-013264
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 162 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007370635249 Posting date 08-SEP-11

 

 

 

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Xerno: 0000000928 BostDate: 20110908 Sequence: 007370635249
BankNum: 0201 AppCode: 0001 rield4: 0000 ImageaStat: 05
UDK: 0201110908007370635249 BOFD: 000000000 CapsRc: PY
TranCode: 000928 RouteTran: 11100061 DocType: &
EntryNum: 4897 ItemYype: BP

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 163 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006190172575 Posting date 08-SEP-11

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BankNum: 0201 AppCaode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201110908006190172575 BOFD: 111900057 LapSRc: VB
TranCeds: 900229 RouteTzran: 11100061 DocType:

EntryNum: 2102 ItemType: P

13cr628-013266
__ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 164 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005580477383 Posting date 30-SEP-11

 

RAQUEL GARCIA
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AcctNum: 000000004222416350 Amount: 000000000118880
Xerno: 0000000934 PostDate: 20110930 Sequence: 005580477383
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
DDK: 0201110930005580477383 BOFD: 000000000 CapSRC: PV
TranCoda: 000934 RouteTran: 11100061 DoesTypa: &
EntryNum: 4974 ItemIyps: P

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 165 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005580477384 Posting date 30-SEP-11

 

 

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CHANNELVIEW, TX 77530-2203

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AcctNum: 900900004222 41 6350 Amount: 900000000153448
Xerno: 0000000932 PostDate: 20110930 Sequenge: 005580477384
BankNum: 0201 AppCode: 0001 Field4: Q000 ImageStat:
UDK: 0201110930005580477384 BOFD: O00000000 CapSRC: PV
TranCodea: 000932 RouteTran: 11100061 DooTypa: 8
EntxyNum: 4974 ItemType: P

 

 

 

13cr628-013268
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 166 of 415

CHASE &

TRANSACTION DETAIL

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

duly 14, 2014 through August 10, 2011
Account Number. 000004222416350

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $2,406.77
O74 Check # 872 ~ 236.00 2,170.77
Oia Check # 869 ~ 136.36 2,034.41
07/14 Check #870 - 92.55 1,941.86
O7/15 Check #0875 | Home Depot CR Sv Check Pymt Arc ID: 1460358360 - 5.38 1,936.48
07/18 sont Purchase 07/17 Humana Compbenefits 770-5527101 GA Card - 15.50 1,920.98

4

07/18 Check # 873 - 174.57 1,746.41
07/25 Deposit 2,300.00 4,046.41
08/01 Deposit 101145424 2,700.00 6,746.41
08/03 Check # 881 - 1,249.55 5,496.86
08/08 Deposit 1,200.00 6,696.86
08/08 Check # 880 - 1,333.33 5,363.53
08/08 Check # 883 - 380.00 4,983.53

Ending Balance $4,983.53

A monthly Service Fee was not charged to your account. The ways to continua to avoid this fee are listed below.
° Have at least one direct deposit of $500.00 or more

OR, keep a minimum daily balance in your checking account of $1,500.00 or more
OR, keep an average qualifying deposit and investment balance of $5,000.00 or more
OR, pay at least $25.00 in qualifying checking-related services or fees.

 

[OVERDRAFT AND RETURNED ITEM FEE SUMMARY

 

 

Total Overdraft Fees *
Total Returned Item Fees

 

Total for
This Pariod
$.00

$.00

Total
Year-to-date

$34.00
$.00

 

 

* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees

Page 3 of 4

 

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13cr628-013269

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 167 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

July 14, 2011 through August 10, 2014
Account Number’ 000004222416350

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Page 4 of 4

13cr628-013270

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 168 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

JPM Chase Bank, NA. August 11, 2011 through September 13, 2011
PO Be esove4 ank, NY Account Number. 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

Web site: Chase.com
DhaesD Dean} Dad soul LeDD scons DaDsabalMDasnzfDasbavDbeaal Jess] Service Center: 1-888-262-4273
00011470 DRE 201 141 25711 - NYNNNNNNNNN T 1 000000000 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Intemational Calls: 4-713-262-1679 —
1347 DELL DALE ST ==
CHANNELVIEW TX 77530-2203
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important Information for Chase Total Checking(SM) Accounts

We have improved how you can waive the monthly Service Fee with direct deposit

on Chase Total Checking accounts.

With statement periods beginning on or after August 24, 2011, if you have direct deposits
totaling $500 or more made to this account in a statement period your monthly Service Fee
will be waived for that period. (In addition, a single direct deposit of $500 or more

to this account during the statement period will continue to waive the monthly Service
Fee for that period). The direct deposits, each of which must be an ACH credit, may
include payroll, pension or government benefit payments, such as Social Security.

In addition, you can continue to have your monthly Service Fee waived on Chase

Total Checking accounts by either keeping a minimum daily balance of $1,500 or more in
this account OR having an average daily balance of $5,000 or more in this account or a
combination of this account and any qualifying deposit or investment accounts linked with
this account OR paying $25 or more in qualifying checking-related services or fees in that
period.

Otherwise the monthly Service Fee will apply, which remains at $12 ($10 for accounts
opened in CA, OR, WA). All other terms and conditions will remain the same. If you have
questions, call us at 1-800-935-9935.

important Information About Chase Debit Card Overdraft Coverage

We determined that when you requested to have Chase Debit Card Overdraft Coverage on your checking account at one of
our branches, you may not have received a written confirmation from the branch. We have since mailed this confirmation to
you. Please accept our apologies for any inconvenience.

Chase Debit Card Overdraft Coverage allows us to authorize everyday debit card transactions at our discretion when you
don't have enough money in your checking account. We may charge Insufficient Funds and Extended Overdraft Fees in
connection with those debit card transactions.

lf you believe we charged you any Insufficient Funds and Extended Overdraft Fees related to Chase Debit Card Overdraft

Coverage before you received confirmation of your request, please call us at 1-800-935-9935 and refer to this statement
message to discuss a courtesy refund.

Page Tol 4

13cr628-013271

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 169 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &

August 11, 2011 through September 13, 20114
Account Number. 000004222416350

 

 

Note: Ensure your checkbook register is up to date with ail transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2Total: $.
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: §.

4, List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $-

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this it (non-personal contact Ci Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer fisted on the statement or receipt. We must hear from you no jater than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

» Your name and account number

» The dollar amount of the suspected error

« A description of the error or transfer you ara unsure of, why yau believe it is an error, or why you need more Information.
We will investigate your complaint and will correct any error promplly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
lime it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact tha bank immediately if your statement is

 

Incorrect or if you need more information about any non-electronic tra tions (checks or dep } on this if any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete

 

details, see the Account Rules and Ri or other appii 9) it that governs your account.

Nota «= JPMorgan Chase Bank, N.A. Member FDIC

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13cr628-013272

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 170 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &

August 14, 2011 through September 13, 2011
Account Number: 000004222416350

| CHECKING SUMMARY | Chase Total Checking

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AMOUNT
Beginning Balance $4,983.53
Deposits and Additions 14,500.00
Checks Paid ~ 18,803.14
ATM & Debit Card Withdrawals - 15.50
Electronic Withdrawals - 280.00
Fees and Other Withdrawals - 68.00
Ending Balance $316.89
5
3
| CHECKS PAID | .
CHECK DATE AMOUNT CHECK DATE AMOUNT
NUMBER PAID NUMBER PAID
877 08/15 $1,057.12 922 A 08/24 328.47
878 * 08/15 718.00 924 * 08/25 1,325.00
879 08/12 370.93 925 08/25 310.58
884 ** 08/16 473.00 926 08/25 1,092.12
gas 4 08/11 117.67 927 A 09/02 1,249.55
886 08/16 39.90 928 4 09/08 1,333.33
888° oe/17 4,867.49 929 4 09/08 1,000.00
89 4 08/23 2,542.02 981*4 08/16 1,922.26
921* 08/24 55.70
Total Checks Pald $18,803.14

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.
4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $4,983.53
08/11 Check # 885 ~ 117.67 4,865.86
oa/i2 Check #0879 Macys Payment Check Pymt Arc ID: 1460358360 + 370.93 4,494.93
08/12 Uaig- Texas ACH Debits PPD ID: 2260180489 - 237.00 4,257.93
os/i2 Uaig- Texas ACH Debits PPD ID: 2260180489 - 43.00 4,214.93
08/15 Deposit 7,600.00 11,814.93
08/15 Deposit 1,000.00 42,814.93
Os/i5 Check #0877 | Gemb Ref Checkpaymt Arc ID: 9200509007 - 1,057.12 11,757.81
08s Check 4878 - 718.00 11,039.81
08/6 08/16 Stop Payment Fee - 34.00 11,005.81
os/ié Check #981 + 1,922.26 9,083.55
os/16 Check # 884 - 473.00 8,610.55
08/16 Check #0886  Mbi inc Checkpmt Are ID: 8882117905 - 39.90 8,570.65

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13cr628-013273

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 171 of 415

CHASE §

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

August 11, 2011 through September 13, 2011
Account Number; 000004222416350

TRANSACTION DETAIL |_(conirue

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
08/17 Card Purchase 08/17 Humana Compbenefits 770-5527101 GA Card - 15.50 8,555.15
3381

08/17 Check # 888 Capital One Arc Check Pymt Are ID: 9541719766 - 4,867.49 3,687.66
08/22 Deposit 2,100.00 5,787.66
08/23 Check # 889 + 2,542.02 3,245.64
08/24 Check # 922 - 328.47 2,917.17
08/24 Check # 0921 Chase Check Pymt Are 1D: 9200602075 - 55.70 2,861.47
08/25 Check #0924 Gemb Rsf Checkpaymt Arc 1D: 9200509007 - 1,325.00 1,536.47
og/25 Check #0926  Gemb Ref Checkpaymt Arc iD: 9200509007 - 1,092.12 444.35
08/25 Check #925 ~ 310.58 133.77
08/29 Deposit 2,600.00 2,733.77
09/02 Check # 927 - 1,249.55 1,484.22
og/08 Check #928 - 1,333.33 150.89
09/08 Check #929 - 1,000.00 -849.14
og/08 Insufficient Funds Fee For Check #929 IN The Amount of 31,000.00 - 34.00 -883.11
Oo/12 Deposit 1,200.00 316.89

Ending Balance $316.89

A monthly Service Fee was not charged to your Chase Total Checking account. Here are the four ways you can avoid this
fee during any statement period.

* Have al least one direct deposit of $500.00 or more
(You did not have a direct deposit this statement period)

e OR, keep a minimum daily balance in your checking account of $1,500.00 or more
(Your minimum daily balance was -$883.00)

¢ OR, keep an average qualifying deposit and investment balance of $5,000.00 or more
(Your average qualifying deposit and investment balance was $2,634.00)

« OR, pay at least $25.00 in qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $68.00)

 

[OVERDRAFT AND RETURNED ITEM FEE SUMMARY

 

 

 

Total Overdraft Fees *
Totai Returned Item Fees

Total for
his Period

$34.00
$.00

Total
Year-to-date
$68.00

$.00

 

 

* Total Overdraft Fees includes insufficient Funds Fees, and Extended Overdraft Fees

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13cr628-013274

 

 
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THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &

JP Chase Bank, NA September 14, 2011 through October 13, 2011
Posaase Account Number; 000004222416350
San Antonio, TX 78265 - 9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
WaosVbarsbal besHDsWassrebsdesd GH roses ssbebbersd ent Service Center. 1-888-262-4273
00010703 DRE 201 141 28711 NNNNNYNNNYN T 1 000000000 08 0000 Hearing impaired: 1-800-242-7383
RAQUEL GARCIA International Calls: 1-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203
[CHECKING SUMMARY | “hese Total Checking
AMOUNT
Beginning Balance $318.89
Deposits and Additions 8,500.00
Checks Paid - 6,477.65
ATM & Debit Card Withdrawals - 15.50
Fees and Other Withdrawals - 929,00
Ending Balance $1,894.74
| CHECKS PAID
CHECK NUMBER DATE AMOUNT
PAID
930 4 10/03 $1,333.33
931 4 10/04 1,249.55
932 “ 09/30 1,534.48
933 4 09/30 1,171.49
934 4 09/30 1,188.80
Total Checks Paid $6,477.65

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic paymeni. Because of this, we're not able to return the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

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13cr628-013275

 

 
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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

September 14, 2011 through October 13, 2014
Account Number: 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

4. List and iotal all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

iN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNOS TRANSFERS: Call or write us at the phona number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

» A description of the error or transfer you are unsure of, why you believe it is an error, ot why you need more information.
We will investigate your complaint and will correct any error promptly. if we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think {s in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Conlact the bank immediately if your statement is
Incorrect or if you need more Information about any non-electronic transactiona (checks or deposits) on this statement. If any such error
al 8, you must notify the bank in writing no later than 30 days after the statement was made avaliable to you. For more compiete
delails, ses the Account Rules and Regulations or other applicable account agreement that govams your account.

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THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASES

September 14, 2011 through October 13, 2011
Account Number 000004222416350

 

[TRANSACTION DETAIL

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $316.89
09/19 Card Purchase 09/17 Humana Compbenefits 770-5527101 GA Card - 15.50 301.39

3381

09/26 Deposit 7,000.00 7,301.39
09/26 09/26 Withdrawal - 880.00 6,421.39
09/30 Check #932 + 1,534.48 4,886.91
09/30 Check #934 - 1,188.80 3,698.11
09/30 Check #933 - 1,171.49 2,526.62
10/03, Check #930 + 1,333.33 1,193.29
10/04 Check #931 + 1,249.55 56.26
10/04 insufficient Funds Fee For Check #931 IN The Amount of $1,249.55 ~ 34.00 -90.26
10/12 Extended Overdraft Fee + 15.00 -105,.26
10/13 Deposit 1,500.00 1,394.74

Ending Balance $1,394.74

Amonthly Service Fee was not charged to your Chase Total Checking account. Here are the four ways you can avoid this
fee during any statement period.

« Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

e OR, keep a minimum dally balance in your checking account of $1,500.00 or more
(Your minimum daily balance was -$90.00)

@ OR, keep an average qualifying deposit and investment balance of $5,000.00 or more
(Your average qualifying deposit and investment balance was $1,254.00)

« OR, pay at least $25.00 in qualifying checking-reiated services or fees.
(Your total qualifying checking-related services or fees paid were $49.00)

jOVERDRAFT AND RETURNED ITEM FEE SUMMARY|

 

 

 

 

 

 

Total for Total
This Period Year-to-date
Total Overdraft Fees * 349.00 $117.00
Total Returned ltem Fees $.00 $.00
* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees
Page Jot 4

 

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13cr628-013277

 
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GROUP ID G30Mar12-584
Sequence number Posting date

a
CHASE J September 14, 2011 through October 13, 2011
Account Number: 000004222416350

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Page 4 of 4

13cr628-013278

 
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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

JPM: Chase Bank, NA, October 14, 2011 through November 10, 2011
POBese Account Number: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
WaselbarslsladeasEL MarorsbabordsEElssverdbaslsstlas ttle! Service Center: 1-888-262-4273
00010802 DRE 201 141 31511 NNNNNNNNNYN T 1 0000C0C00 08 0000 Hearing Impaired: 1-800-242-7383
RAQUEL GARCIA Intemational Calls: 1-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203
S38
———
eee 8
| CHECKING SUMMARY | Chase Total Checking
AMOUNT
Beginning Balance $1,394.74
Deposits and Additions 5,100.00
Checks Paid - 3,291.88
ATM & Debit Card Withdrawals - 15.50
Electronic Withdrawals - 2,069.09
Fees and Other Withdrawals - 12.00
Ending Balance $1,106.27
CHECKS PAID |
CHECK NUMBER DATE AMOUNT
935 4 10/24 $467.00
936 4 10/24 242.00
987 “ 11/02 1,249.55
938 4 11/07 1,833.33
Total Checks Paid $3,291.88

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to returm the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

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13¢r628-013279

 

 

 
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IMIS 11EM IS PAH] OF ALEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

October 14, 2011 through November 10, 2011
Account Number: 000004222416350

 

 

 

Note: Ensure your checkbook reg)ster is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2Totak: $
3. Add Step 2 Totai to Step 1 Balance. Step 3 Total: §$

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total:  -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $-

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is Incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe It is an error, or why you need more information.
We will investigate your complaint and will correct any error prompily. {fi we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in arror so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your Slalement is
hecks or d i

 

incorrect or if you need more information about any non-electronic tions ( ) on this it. If any such error
appears, you must notify the bank In writing no later than 30 days after the statement was made available to you. For more compicte
delails, sea the Account Rules and Regul or other applicabl tag! that govems your account.

 

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Page 2 of 4

13cr628-013280

 

 
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GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE §

October 14, 2011 through November 10, 2011
Account Number: 000004222416350

TRANSACTION DETAIL]

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,394.74
10/17 Card Purchase {0/16 Humana Compbenefils 770-5527101 GA Card ~ 15.50 1,379.24

3381

10/24 Check #935 - 467.00 912.24
10/24 Check # 936 - 242.00 670.24
10/31 Deposit 5,100.00 5,770.24 SS i
41/02 Check #937 ~ 1,249.55 4,520.69 ===
11/03 Frontier General Homeowner PPD ID: 3752234314 - 2,089.09 2,451.60 8
11/07 Check #938 - 1,333.33 1,118.27 3
11/10 Service Fea - 12.00 1,106.27 -

Ending Balance $1,106.27

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

Amonthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee
during any statement period.

« Have direct deposits totallng $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a faw minutes.

e OR, keep a minimum daily balance in your checking account of $1,500,00 or more.
(Your minimum daily balance was $670.00)

Our account alerts can help keep you on top of your balance. Set up alerts today!

« OR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and Investment balance was $1,754.00)

Talk to a banker about transferring your balances to Chase today!

© OR, pay at least $25.00 in quailfying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $0.00)

Stop In today and explore all Chase has to offer.

 

[OVERDRAFT AND RETURNED ITEM FEE SUMMARY]

 

 

 

 

Total for Total
This Period Year-to-date
Total Overdraft Fees * $.00 $117.00
Total Returned Item Fees $.00 $.00
* Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdraft Fees
Page 3 of 4

13cr628-013281

 

 
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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

Octaber 14, 2011 through November 10, 2017
Acoount Number, 000004222416350

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13cr628-013282

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 180 of 415
THES ITEM IS PAH! OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

November 11, 2011 through December 12, 2011
JPMorgan Chase Bank, N.A.

P O Box 659754 Account Number. 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

Web site: Chase.com

VeosTasaEuEodarsTbaUDascsabadestsUMesaceDbscdesI laced Dusal Service Center. 1-888-262-4273

00011106 DRE 201 143 34711 YNNNNNNNNNN T 1 aocaco000 0a 0000 Hearing Impaired: 1-800-242-7383

RAQUEL GARCIA International Calls: 4-713-262-1679

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We are making some changes that affect Chase personal and business checking, savings
and Certificate of Deposit (CD) accounts, including retirement accounts*. Enclosed with
this statement is a rewritten Deposit Account Agreement (formerly known as the Account
Rules and Regulations). The new design of this booklet will make it easier for you to read
and find the information you need quickly.

Please review the information and keep this as reference with your other financial
documents.

Please note: If you would like to receive the Deposit Account Agreement in Spanish,
they will be available at your nearest Chase branch, starting February 1, 2012.
*For checking and savings accounts, all changes are effective on February 1, 2012.

For CD accounts, the changes are effective on the first CD maturity date occurring
onor after February 1, 2012.

| CHECKING SUMMARY |_“hase Total Checking

 

 

 

 

AMOUNT
Beginning Balance $1,106.27
Deposits and Additions 5,850.00
Checks Paid - 2,582.88
ATM & Debit Card Withdrawals - 18.50
Fees and Other Withdrawals - 20.00
Ending Balance $4,337.89

| CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
940 4 12/05 $1,333.33
941 4 12/02 1,249.55
Total Checks Paid $2,582.88

if you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chasa.com.

Page 1 of 4

13cr628-013283

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 181 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE §

November 11, 2011 through December 12, 2011
Account Number 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3Total: $

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Data Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think Your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the {allowing information:

¢ Your name and account number

* The dollar amount of the suspected error

» A description of the error or transfer you are unsure of, why you believe itis an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
hew accounts) to do this, we will credit your account for the amount you think is in ertor so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contiaci the bank immediately if your statement is
Incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this slatement. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

{ENS = JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

13cr628-013284

 

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 182 of 415

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GROUP ID G30Mar1 2-584

Sequence number Posting date

 

 

 

 

 

 

 

 

 

CHASES
November 11, 2011 through December 12, 2011
Account Number, 000004222416350

TRANSACTION DETAIL
DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,106.27
1A? Card Purchase 11/16 Humana Compbenefits 770-5527101 GA Card - 15.50 1,090.77

3381

11/28 Deposit 272981858 2,650.00 3,740.77
11/30 Official Checks Charge - 8.00 3,732.77
12/02 Check #941 - 1,249.65 2,483.22 :
12/05 Check #940 - 1,333.33 1,149.89
12/07 Deposit 272981864 3,200.00 4,349.89 i
12/12 Service Fee - 12.00 4,337.89 z

Ending Balance $4,337.89 ~

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

Amonthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee

during any statement period.

« Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes.

* O8, keep a minimum dally balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $1,090.00)

Our account alerts can help keep you on top of your balance, Set up alerts today!

e Of, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $2,067.00)

Talk to a banker about transferring your balances to Chase today!

* OR, pay at least $25.00 in qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $8.00)

Stop in today and explore all Chase has to offer.

 

{OVERDRAFT AND RETURNED ITEM FEE SUMMARY|

 

 

 

 

 

Total Overdraft Fees *
Total Retumed Item Fees

Total for
This Period
$.00

$.00

Total
Year-to-date

$117.00
$.00

 

 

* Total Gverdraft Fees Includes insufficient Funds Fees, and Extended Overdraft Fees

Paga 3 of 4

13cr628-013285

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 183 of 415

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GROUP ID G30Mar1 2-584
Sequence number Posting date

CHASE &
‘a November 11, 2014 through December 12, 2014
AccountNumber, 000004222416350

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Page 4 01 4

13cr628-013286

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 184 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

December 13, 2011 through January 12, 2012
JPMorgan Chase Bark, N.A.
POR sa7Ed Account Number: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
HasaDfavcbabdesValderssefdal Masscllabsellandllaal Service Center. 1-888-262-4273
00010886 DRE 201 141 01412 NNNNNNNNNNN T 1 000000000 08 0000 Hearing Impaired: 1-800-242-7383,
RAQUEL GARCIA Intemational Calls: 4-713-262-1679
1347 DELL DALE ST
CHANNELVIEW TX 77530-2203

 

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Important Information about Chase Personal Checking and Savings Accounts

We are working to simplify our Chase checking and savings accounts by eliminating or
reducing some of our fees. The following changes to the Additional Banking Services and
Fees for Chase personal checking and savings accounts are effective December 14, 2011.
All other terms of your Deposit Account Agreement remain the same. If you have any
questions, please call us at 1-800-935-9935 or visit your branch.

We will no longer charge fees for the following services:

- No fees for Check/Item Copies and Urgent Item Copies -for example, we will not charge
you when you need a@ copy of a cancelled check or deposit slip.

- No fees for Immediate Notification of wire transfers

- No fees for Account Reconciliation

- No fees for Account Research

- No fees for a Failed Payment when using Chase Online Bill Pay or Quick Pay

- No fees for Online Banking Services - Financial Management Software Sarvice

We are also reducing the Non-Chase ATM fee charged by Chase for using another
institutions ATM to $2.00 per transaction for each Inquiry, Transfer or Withdrawal at a
non-Chase ATM within the United States, Puerto Rico and the US Virgin islands(1}(2}

(1) Chase does not charge a Non-Chase ATM fee for Inquiries, Transfer and Withdrawals for
using another institutions ATM as follows: the first two each statement period for Chase
Workplace(SM) Checking; the first four each statement period for Chase Premier Plus
Chacking(SM) and Chase Premier Checking(SM); and an unlimited number for and Chase
Premier Platinum Checking(SM), Chase Private Client Checking(SM), Chase Plus Savings(SM),
Chase Private Client Savings(SM) and Chase Premier Platinum Savings(SM)

{2) Usage Fes may be charged by the institution that owns the ATM. Additional fees may
apply when using an ATM outside the United States, Puerto Rico and the US Virgin Istands.

CHECKING SUMMARY | Chase Total Checking

 

 

AMOUNT
Beginning Balance $4,337.89
Deposits and Additions 2,590.00
Checks Paid - 2,582.88
ATM & Debit Card Withdrawals - 15.50
Ending Balance $4,329.51

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13cr628-013287

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 185 of 415

UHIS 1LEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

December 13, 2011 through January 12, 2012
Account Number. 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: §$.
3. Add Step 2 Total to Step 1 Balance, Step 3 Total: $

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Data Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or weite us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or it you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem cr error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your compiaint and will correct any error promptly. [f we take more than 10 business days (or 20 business days for
new accounts) to do this, we will oredit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
Incorrect or If you need more information about any r ic t tions (checks or deposits) on this it. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
delails, see the A { Rules and Regulations or other applicabh 9 that gi your 1

 

 

2 JPMorgan Chase Bank, N.A. Member FDIC

Page 2 4

13cr628-013288

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 186 of 415

iHIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

December 13, 2011 through January 12, 2012
Account Number: 000004222416350

CHECKS PAID

 

 

CHECK NUMBER DATE AMOUNT
PAID

942 A 01/03 $1,249.55

943 A 01/09 1,333.33

Total Checks Pald $2,582.88

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

TRANSACTION DETAIL]

DATE DESCRIPTION

 

 

 

 

 

 

AMOUNT BALANCE
Beginning Balance $4,337.89
12/19 Card Purchase 12/16 Humana Compbenefits 770-5527101 GA Card - 15.50 4,322.33
3381
12/27 Deposit 2,590.00 6,912.39
01/03 Check #942 - 1,249.55 5,662.84
01/09 Check #943 ~ 1,393.33 4,329.51
Ending Balance $4,329.51

A monthly Service Fes was not charged to your Chase Total Checking account. Here are the four ways you can avoid this
fee during any statement period.

* Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

« OR, keep a minimum daily balance in your checking account of $1,500.00 or more
(Your minimum daily balance was $4,322.00)

e OR, keep an average qualifying deposit and investment balance of $5,000.00 or more
(Your average qualifying deposit and investment balance was $5,170.00)

« OR, pay at least $25.00 in qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $0.00)

Page 3 of 4

13cr628-013289

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 187 of 415

THIS ITEM iS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

December 13, 2011 through January 12, 2012
AccountNumber 000004222416350

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Page 4 of 4

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IIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

JPMorgan Chase Bank, N.A.
PO Box 659754
San Antonio, TX 78265-9754

January 13, 2012 through February 10, 2012
Account Number. 000004222416350

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
UsssbssalabslaaelbsUsssssfslltlhes aabbasdss'Dsasbiiaad Service Center. 4-800-935-9935
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RAQUEL GARCIA Para Espanol: 1-877-312-4273 —
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CHANNELVIEW TX 77530-2203 —S—=
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[CHECKING SUMMARY | Chase Total Checking
AMOUNT
Beginning Balance $4,329.51
Deposits and Additions 4,603.15
Checks Paid - 3,051.88
ATM & Debit Card Withdrawals + 234.30
Electronic Withdrawals - 1,155.26
Fees and Other Withdrawals - 8.00
Ending Batance $4,483.22
CHECKS PAID
CHECK NUMBER pate AMOUNT
Pal
944 4 01/25 $469.00
$45 4 02/02 1,249.55
946 A 02/06 1,333.33
Total Checks Paid $3,051.88

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTION DETAIL|

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $4,329.51
01/17 Card Purchase 01/16 Humana Compbenefits 770-5527 101 GA Card - 15.50 4,314.01
3381
01/25 Deposit 3,000.00 7,314.01
01/25 Check #944 - 469.00 6,845.01
Page tof 4

13cr628-013291

 

 
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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

January 13, 2012 through February 10, 2012
Account Number. 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

Step 2 Total  $,
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: §

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

{N CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNOS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt ia incorrect or if you
need more Information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

« A description of the error or transfer you are unsure of, why you bellave It is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to de this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to compiete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contacl the bank immediately if your atatement is

 

Incorrect or if you need more Information about any non-el onic {checks or de; 3) on this it. if any such error
appears, you must notily the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicabl tag that g your

 

 

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Page 2 of 4

13cr628-013292

 

 
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GROUP ID G30Mar12-584

Sequence number Posting date

CHASE §

TRANSACTION DETAIL| ontinuea

DATE

January 13, 2012 through February 10, 2012
Account Number. 000004222416350

 

 

 

 

 

 

 

 

 

DESCRIPTION AMOUNT BALANCE
01/25 Official Checks Charge - 8.00 6,837.01
01/31 Texas Comptrollr Ersannuity PPD ID: 1746000089 1,103.15 7,940.16
02/02 Check #945 + 1,249.55 6,690.61
02/02 American Southwe E01089811P PPD ID: 9775071990 > 162.20 6,528.41
02/08 Deposit 500.00 7,028.41
02/08 Check # 946 - 1,333.33 5,695.08
02/09 He Prop Tax Hept1000 PPD 1D: 40223600 - 993.06 4,702.02
02/10 Card Purchase 02/09 SouthwestairS2624203633 Dallas TX Card - 218.80 4,483.22
3381
Ending Balance $4,483.22

Amonthly Service Fea was not charged to your Chase Total Checking account. Here are the four ways you can avoid this
fee during any statement period.

¢ Have direct deposits totaling $500.00 or more.
(Your total direct deposits this period were $1,103.15. Note: some deposits may be listed on your previous statement)

« QR, keep a minimum daily balance in your checking account of $1,500.00 or more
(Your minimum daily balance was $4,314.00)

« OR, keep an average qualifying deposit and investment balance of $5,000.00 or more
(Your average qualifying deposit and investment balance was $5,550.00)

« OR, pay at least $25.00 In qualifying checking-related services or fees.
{Your total qualifying checking-related services or fees paid were $8.00)

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 191 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

CHASE §

January 13, 2012 through February 10, 2012
Account Number 000004222476350

Additional discounts just for being a checking customer.

Make the most of your Chase checking account ~ Refinance your car loan and receive up to 0.75% off standard car loan
rates. Leam more at chase.com/AutoRefi.

Subject to credit approval by JPMorgan Chase Bank, N.A. Other terms and conditions apply.

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13cr628-013294

 

 
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GROUP ID G30Mart2-584
Sequence number Posting date

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IPMaoi Chase Bank, NA Febmary 11, 2012 through March 12, 2012
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PO Box 659754 Primary Account: 000004222416350
San Antonio, TX 78265 - 9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
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RAQUEL GARCIA Para Espanol: 4-877-312-4273
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Important Information about Chase Personal Checking and Savings Accounts
Starting March 19, 2012, we will lower the following fees’ on our checking and savings accounts:

e Overdraft Protection Transfer Fee to $10.
* Stop Payment Fee to $20 per request made with a banker.
¢ Stop Payment Fes via chase.com or Chase by Phone® automated phone system to $25 per request.

We are also extending how long a stop payment will be in effect. Stop payments made on or after March 19, 2012, on
checks will now be effective for one year rather than 180 days. Depending on how your stop payment was originated

(request made with a banker, via chase.com or Chase by Phone®), we will send a confirmation of your stop payment.

On ACH transactions, your stop payment will last for a minimum of 18 months or until we have determined that the debit is
no longer occurring, whichever is jonger. When making a stop payment request, you must tell us if the payment is a
recurring debit card transaction or an ACH payment and must give us the bank account number, the exact amount of the
payment, and the designated payee name.

These changes will be updated in the Deposit Account Agreement and Additional Banking Services and Fees for Chase
personal checking and savings accounts. All other terms of your account agreement remain the same. If you have any
questions, please call us at 1-800-935-9995 or visit your nearest Chase branch.

 

 

 

 

 

 

ASSETS
ACCOUNT BEGINNING BALANCE ENDING BALANCE
Checking & Savings THIS PERIOD THIS PERIOD
Chase Total Chacking 000004222416350 $4,483.22 $1,947.95
Total $4,483.22 $1,947.95
TOTAL ASSETS $4,483.22 $1,947.95
Page 1 of 6

13cr628-013295

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 193 of 415
(MIS 1JEM 1S PAKE OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASES

February 11, 2012 through March 12, 2012
Primary Account: 000004222416350

 

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write In the Ending Balance shown on this statement: Step 1 Balance: $0
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: §

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us al the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
naw accounts) to do this, we will credit your account for the amount you think is in error so that you will have uas of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. It any such error
appears, you must notify the bank in writing no later than 80 days after the statement waa made available to you. For more complete

daiails, see the Account Rules and Regulations or other app account ag: that govems your account.

{ENDER =. JP Morgan Chase Bank, N.A. Member FDIC

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 194 of 415

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GROUP ID G30Mar12-584
Sequence number Posting date

February 11, 2012 through March 12, 2012

 

 

 

 

 

 

 

Primary Account 000004222416350
CREDIT CARDS, LOANS & LINES OF CREDIT
ACCOUNT AVAILABLE CREDIT BALANCE
Loans & Lines of Credit
Direct Vehicle Loan seeeaweeseess #943505 $20,519.39
Total $0.00 $20,519.39
TOTAL CREDIT CARDS, LOANS & LINES OF CREDIT $0.00 $20,519.39

 

Ali Summary Balances shown are as of March 12, 2012 unless otherwise stated. For details of your retirement
accounts, credit accounts or securities accounts, you will receive separate statements. Balance summary information for
annuities is provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness
or accuracy.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Account Number: 000004222416350

 

CHECKING SUMMARY

 

 

 

 

 

AMOUNT
Beginning Balance $4,483.22
Deposits and Additions 10,000.00
Checks Paid - 3,419.65
ATM & Debit Card Withdrawals - 1,454.15
Electronic Withdrawals - 2,603.47
Fees and Other Withdrawals - 5,058.00
Ending Balance $1,947.95
[CHECKS PAID]
CHECK NUMBER DATE AMOUNT
PAID
949 4 03/02 $1,249.55
950 4 03/05 1,333.33
4192 °A 03/05 836.77
Total Checks Pald $3,419.65

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, sither becauss they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

Page 30 6

13cr628-013297

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 195 of 415

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[TRANSACTION DETAIL]

CHASE &

GROUP ID G30Mar1 2-584
Sequence number Posting date

February 11, 2012 through March 12, 2012

Primary Account: 000004222416350

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $4,483.22
02/16 Barclaycard US Creditcard 138594108 Web ID: 2510407970 - 100,00 4,383.22
02/17 oan Purchase 02/16 Humana Compbenefits 770-5527101 GA Card - 15.50 4,367.72
3381
02/17 02/17 Online Wire Transfer Via: Bk Amer Nyo/026009593 A/C: - 1,178.25 3,189.47
Aba/1 13000023 Dallas TX Ben: Delia Diaz Channelview TX 77530 US Imad:
0217B1Qgc01C000195 Tm: 0248000048Es
O27 Wire Online Domestic Fee - 25.00 3,164.47
02/27 Deposit 10,000.00 13,164.47
02/27 02/27 Withdrawal - 5,000.00 8,164.47
02/27 Official Checks Charge - 8.00 8,156.47
02/28 American Southwe £01089811P PPD 1D. 9775071990 - 251.70 7,804.77
03/02 Check #949 - 1,249.55 6,655.22
03/02 Stokes&Clinin PC 598 PPD ID: 9631203291 - 573,52 6,081.70
03/05 Check # 950 - 1,333.33 4,748.37
03/05 Check #1192 - 836,77 3,911.60
03/08 03/08 Online Wire Transfer Via: Bk Amer Nyc/026009593 A/C: - 500.00 3,411.60
Aba/113000023 Dallas TX Ben: Raquel Garcia Channelview TX 77530 US
imad: 0808B1Qgc02C000127 Tm. COS9400068Es
03/08 Wire Online Domestic Fee - 25.00 3,386.60
03/09 care Purchase 08/08 Armentas Mexican Res Channelview TX Card ~ 264,87 3,121.73
0
032 Card Purchase 03/10 Ron Craft Chew/Cadillac Baytown TX Card 0126 - 1,173.78 1,947.95
Ending Balance $1,947.95

Amonthly Service Fee was not charged to your Chase Total Checking account. Here are the four ways you can avoid this
fee during any statement period.

« Have direct deposits totaling $500.00 or more.
{You did not have a direct deposit this statement period)

e OR, keep a minimum dally balance In your checking account of $1,500.00 or more

(Your minimum daily balance was $3,164.00)

e OR, keep an average qualifying deposit and Investment balance of $5,000.00 or more
(Your average qualifying deposit and investment balance was $4,435.00)

« OR, pay at least $25.00 in qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $58.00)

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13cr628-013298

 

 
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{THD 11M ID PANT UP A LEGAL SIALEMEN! KECONSIKUCIION
GROUP ID G30Mar12-584
Sequence number Posting date

CHASE &

February 11, 2012 through March 12, 2012
Primary Account: 000004222416350

Watch your savings grow...starting with $125!

Open a new Chase SavingsS™ account* with a minimum opening deposit of $10,000 or more in new money by April 30,
2042, and you'll receive $125!

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With a Chase SavingsS™ account, you can:
¢ Make transfers to your savings at any Chase ATM, online at Chase.com, or even from your phone with Chase eS
Mobile®
« Get Free Account Alerts
¢ Get Overdraft Protection on your checking account when {inked to your savings account for added peace of mind

 

Plus, with a minimum opening balance of $10,000 or more, you'll receive $125.

To receive this bonus, bring this statement and the offer code below to 15252 Wallisville Rd in Houston to open your new
Chase Savings™ account, make your qualifying deposit and receive $125.

Hurry - offer ends April 30, 2012.

Bonus/Account Information: Offer valid from 3/1/12 through 4/30/12. A $10,000 minimum opening deposit of new money (monay not currently
held by Chase or its affiliates) is required to qualify for the offer. Cash bonus will ba automatically deposited into your new account within 10

b days of mini deposit validation, but not considered part of mini opening deposit. Limit one persenal savings account-related
bonus per customer, per calendar year. Offer not available on account conversions or in combination with any other offer. Savings account must
remain open for a minimum of six months or the bonus will be debited tram the account at closing. Cash bonus is considered interest and will be
reported on IRS Form 10S9-INT.

*Chase Savings™™ monthly Service Fee is waived if the minimum daily balance is $300 or more in this account or you have a repeating monthly
automatic transfer of $25 or more; otherwise a $4 monthly Service Fee applies ($5 for accounts opened in CA, FL, GA, ID, NV, OR and WA).
One time transfers do not qualify. The terms of the account, including any fees or features, may change.

For a Chase Savings®™ account, the Annual Percentage Yield (APY) for all balancas Is effective as of 2/1/12, and may change at Chase's
discretion. The APY is 0.01% for all balances in all states. Interest rates ara variable and subject to change. Fees may reduce eamings on this
account.

Chase Mobile & Alerts There is no charge from Chase, but message and data rates may apply. Such charges include those from your
communications service provider. Delivery of alerts may be delayed for various reasons, including service outages affecting your phone, wireless
or internat provider; technology failures; and system capacity limitations.

Overdraft Protection: Sign up with a banker. If you have aufficient funds available under Chase Overdraft Protection, funda will automatically be
transferred from your Chase savings account to cover your overdraft t tions. A $12 Overdraft Protection Transfer Fee applies.

 

Banker Instructions:

1. Enter the 16-digit coupon code into Sales Express at the time of account opening. Customers have 10 days from coupon enrollment to deposit
required amount. Coupon code can be found below.

2. Provide printed E-coupon receipt to customer. Offer expires 4/30/12.

Coupon Code: 4445490811707380

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13cr628-013299

 
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GROUP JD G30Mar12-584
Sequence number Posting date

CHASE &

February 11, 2012 through March 12, 2012
Primary Account: 000004222416350

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Page 6 of 6

13cr628-013300
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 198 of 415

10-Aug-12 09Aug12-1454
THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

March 13, 2012 through April 11, 20
JPMorgan Chase Bank, N.A. rough Apa 2

P O Box 659754 Primary Account: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
WaarbbarsDobibecslbaH senedsend Tobssnosdbsodsabbaost basal Sarvice Center. 1-800-935-9935
00010688 DRE 203 141 10312 NNNNNNNNNNY T 1000000060 08 ocoo Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST Intemational Calls: 4-713-262-1679

CHANNELVIEW TX 77530-2203

 

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00106830301000400023,

Important Information About Your Account Statement

We understand the value of being able to easily read your statements and the benefit
of balancing your account. To make your statement easier to follow, affective

March 19, 2012, we moved the Balancing Your Checkbook page to the last page

of the statement. This page may be used to balance your account for a given statement
period. If you have any questions, please call us at the number on this statement or
visit your branch.

important Information about Chase Personal Checking and Savings Accounts
Starting March 19, 2012, we will lower the following fees’ on our checking and savings accounts:

© Overdraft Protection Transfer Fee to $10.
e Stop Payment Fee to $30 per reques! made with a banker.
¢ Stop Payment Fee via chase.com or Chase by Phone® automated phone system to $25 per request.

We are also extending how long a stop payment will be in effect. Stop payments made on or after March 19, 2012, on
checks will now be effective for one year rather than 180 days. Depending on how your stop payment was originated

(request made with a banker, via chase.com or Chase by Phone®), we will send a confirmation of your stop payment.

On ACH transactions, your stop payment will last for a minimum of 18 months or until we have determined that the debit is
no tonger occurring, whichever is longer. When making a stop payment request, you must tell us if he payment is a
recurring debit card transaction or an ACH payment and must give us the bank account number, the exact amount of the
payment, and the designated payee name.

These changes will be updated in the Deposit Account Agreement and Additional Banking Services and Fees for Chase
personal checking and savings accounts. All other terms of your account agreement remain the same. If you have any
questions, please call us at 1-800-935-9935 or visit your nearest Chase branch.

‘These fees may be waived with certain account types.

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ASSETS
ii i ACCOUNT BEGINNING BALANCE ENDING BALANCE
Checking & Savings THIS PERIOD THIS PERIOD
Chase Total Checking 000004222416350 $1,947.95 $899.70
Total $1,947.95 $899.70
TOTAL ASSETS $1,947.95 $899.70
Page 1 of &

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 199 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

March 13, 2012 through April 11, 2012
Primary Account: 000004222416350

 

 

CREDIT CARDS, LOANS & LINES OF CREDIT

 

 

 

 

ACCOUNT AVAILABLE CREDIT BALANCE
Loans & Lines of Credit
Direct Vehicle Loan suewenesewneeess 9505 $18,238.31
Total $0.00 $18,238.31
TOTAL CREDIT CARDS, LOANS & LINES OF CREDIT $0.00 $18,238.31

All Summary Balances shown are as of April 11, 2012 unless otherwise stated. For details of your retirement accounts,
credit accounts or securities accounts, you will receive separate statements. Balance summary information for annuities is
Provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness or
accuracy.

 

RAQUEL GARCIA Account Number: 000004222416350

 

 

 

 

 

 

| CHECKING SUMMARY |
AMOUNT

Beginning Balance $1,947.95
Deposits and Additions 2,600.00
Checks Paid - 2,868.56
ATM & Debit Card Withdrawals ~ 277.47
Electronic Withdrawals ~ 490.52
Fees and Other Withdrawals - 12.00
Ending Balance $899.70
CHECKS PAID]

CHECK NUMBER DATE AMOUNT

PAID

1194 03/24 $285.68
1196 °A 04/04 1,333.33
1197 4 04/03 1,249.55
Total Checks Paid $2,868.56

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

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13cr628-013302
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

10-Aug-12

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G09Aug12-1454
Sequence number Posting date

 

 

 

 

 

 

 

 

 

 

 

CHASES
March 13, 2012 through April 11, 2012
Primary Account. 000004222416350
TRANSACTION DETAIL
DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $1,947.95
03/13 Card Purchase 03/12 Sq “R&S Custom Designs Baytown TX Card -277.17 1,670.78
0126
03/20 American Southwe E01092675P PPD ID: 9775071990 - 49,98 1,620.80
09/21 Check #1194 The Antique Gall Checkpaymt Boc 1D: 11617573848 - 285.68 1,335.12
026 Deposit 2,600.00 3,935.12
04/03 Check #1197 + 1,249.55 2,685.57
04/03 American Southwe E0108981 1P PPD ID: 9775071990 - 276.87 2,408.70
04/03 American Southwe E01041934P PPD ID: 9775071990 - 163.87 2,245.03
04/04 Check #1196 + 1,333.33 911.70
04/14 Service Fee - 12.00 899.70
Ending Baiance $899.70

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee

during any siatement period.

e Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes.

e OR, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $911.00)

Our account alerts can help keep you on top of your balance. Set up alerts today!

© 8, keep an average qualifying deposit and Investment balance of $5,000.00 or more.

(Your average qualifying deposit and investment balance was $2,067.00)
Talk to a banker about transferring your balances to Chase today!

e QB, pay at least $25.00 In qualifying checking-related services or fees,
(Your total qualifying checking-related services or fees paid were $0.00)

Stop in today and explore ali Chase has to offer.

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Page 200 of 415

09Aug12-1454

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 201 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID GO9Aug12-1454
Sequence number Posting date

CHASE &

March 13, 2012 through April 11, 2012
Primary Account: 000004222416350

IMPORTANT INFORMATION FOR CONSUMERS ABOUT YOUR
PERSONAL CHASE CHECKING ACCOUNT,
including Overdraft Protection and Chase Debit Card Coverage

WHAT YOU NEED TO KNOW ABOUT OVERDRAFTS AND OVERDRAFT FEES
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:

1. We have standard overdraft practices that come with your account.
2. We also offer overdraft protection plans, such as a link to a savings or credit card account, which may be

less expensive than our standard overdraft practices. To learn more, ask us about these plans.
This notice explains our standard overdraft practices.

What are the standard overdraft practices that come with my account?
We do authorize and pay overdraits for the following types of transactions:
° Checks and other transactions made using your checking account number
. Recurring debit card transactions

We do not authorize and pay overdrafts for the following type of transaction unless you ask us to:
e Everyday debit card transactions

 

We pay overdrafts at our discretion, which means we do not guarantee that wa will always authorize and pay any type of
transaction.
{f we do not authorize and pay an overdraft, your transaction will be declined.

What fees will | be charged if Chase pays my overdraft?
Under our standard overdraft practices:

° We will charge you a fee of $34 each time we pay an overdraft.

o Also, each time your account is overdrawn for 5 consecutive business days, we will charge you an
additional $15.

° There is a 3 per day limit on the above $34 fea we can charge you for overdrawing your account.

When you have Chase Debit Card Coverage on your account, your everyday debit card transactions including PIN point of
sale will be approved, at our discretion, when you don't have sufficient funds available to cover your purchase.

To activate, cance! or learn more about Chase Debit Card Coverage, visit chase.com/coverage, call us at
1-800-935-9935, or stop by any Chase branch and talk to a banker.

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10-Aug-12

 

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID GO9Aug12-1454
Sequence number Posting date

March 13, 2012 through April 11, 2012
Primary Account: 000004222416350

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

 

4. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Arnount Date Amount Date Amount

 

 

 

Step 2 Total: $.
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: §.

 

 

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

¢ A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
) on this

 

incorrect or if you need more information about any non-electronic (checks or deposits) 1. {f any such error
appears, you must notify the bank in writing no later than 80 days after the statement was made available to you, For more complete
dataila, see the Account Rules and Regulations or ather applicable account ag! that gi your

 

 

No = JPMorgan Chase Bank, N.A. Member FDIC

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10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASES

March 13, 2012 through April 14, 2012
Primary Account 000004222416350

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Page Gof 6

13cr628-013306
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 204 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

JPM Chase Bank. NA April 12, 2012 through May 10, 2012

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POR asoss Primary Account: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

Web site: Chase.com
MasabbossDad Dana DDsMDosecaLsdordalEDexsoeDLssdoslbeanlUlaoed Service Center. 1-800-935-9935
00010247 DRE 201 14119212 NYNNNNYNYNNT 1 000000000 08 0000 Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST Intemational Calls: 1-713-262-1679
CHANNELVIEW TX 77530-2203

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IMPORTANT INFORMATION REGARDING ATM TRANSFERS

Please note that we are extending our ATM cutoff time for transfers between Chase accounts to better serve you. For
transfers and deposits at most Chase ATMs, the cutoff time is 11 p.m. Eastern time, For ATMs with an earlier cutoff, the
ATM screen will notify you of the cutoff time. We hope you enjoy this added convenience.

This change updates your Deposit Account Agreement under the Funds Availability Policy section, the second bullet under
“When Your Deposit is Received.” This change applies to Chase personal checking and savings accounts as well as Chase
business checking and savings accounts. All other terms of your account agreement remain the same. If you have any
questions, please refer to the phone number on your statement or visit your nearest Chase branch.

 

 

 

 

 

 

 

 

 

 

ASSETS

ACCOUNT BEGINNING BALANCE = ENDING BALANCE
Checking & Savings THIS PERIOD THIS PERIOD
Chase Total Checking 000004222416350 $899.70 $1,600.26
Total $899.70 $1,600.26
TOTAL ASSETS $899.70 $1,600.26
CREDIT CARDS, LOANS & LINES OF CREDIT

ACCOUNT AVAILABLE CREDIT BALANCE
Loans & Lines of Credit
Direct Vehicle Loan saaeeweseeewesee 3505 $12,945.05
Total $0.00 $12,945.05
TOTAL CREDIT CARDS, LOANS & LINES OF CREDIT $0.00 $12,945.05

All Summary Balances shown are as of May 10, 2012 unless otherwise stated. For details of your retirement accounts,
credit accounts or securities accounts, you will receive separate statements. Balance summary information for annuities is
provided by the issuing insurance companies and believed to ba reliable without guarantee of its completeness or
accuracy.

Poge 1 of 4

13cr628-013307
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 205 of 415

10-Aug-12

09Aug12-1 454

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASES

 
 

RAQUEL GARCIA

| CHECKING SUMMARY |

April 12, 2012 through May 10, 2012

Primary Account: 000004222416350

 

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Account Number: 000004222416350

 

 

 

 

 

 

AMOUNT
Beginning Balance $899.70
Deposits and Additions 4,800.00
Checks Paid - 2,637.44
Electronic Withdrawals + 1,450.00
Fees and Other Withdrawals - 12.00
Ending Balance $1,600.26
[CHECKS PAID]
CHECK NUMBER DATE AMOUNT
PAID
4199 4 05/01 $54.56
1200 4 06/02 1,249.55
1201 4 05/03 1,333.33
Total Checks Paid $2,687.44

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* An image of this check may be available for you to view on Chasa.com.

TRANSACTION DETAIL|

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $899.70

04/13 Deposit 800.00 1,699.70

04/25 04/25 Online Transfer 2638465966 To Princesa Visa ######4850 - 1,000.00 699.70
Transaction #: 2638465966

04/30 Deposit 4,000.00 4,699.70

05/01 Check #1199 - 54.56 4,645.14

05/02 Check #1200 + 1,249.55 3,395.59

05/03 Check #1201 - 1,333.33 2,062.26

05/09 05/09 Online Transter 2662503927 To Princesa Visa #4#HHHI4850 - 450.00 1,612.26
Transaction #: 2662503927

05/10 Service Fee - 12.00 1,600.26

Ending Balance $1,600.26

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13cr628-013308
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 206 of 415

10-Aug-12

THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

April 12, 2012 through May 10, 2012
Primary Account: 000004222416350

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee
during any statement period.

Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes.

OR, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $899.00)

Our account alerts can help keep you on top of your balance. Set up alerts today!

OR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $1,807.00)

Talk to a banker about transferring your balances to Chase today!

OF, pay at least $25.00 In qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $0.00)

Stop in today and explore all Chase has to offer.

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09Aug12-1454

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10-Aug-42 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

April 12, 2012 through May 10, 2012
Primary Account: 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

4. List and total ali checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect o7 if you
heed more Informaticn about a transfer listed on the statement or receipt. We must hear from you no later than 60 days alter we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give ue the following information:

* Your name and account number

* The dollar amount of the suspected error

+ A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic lions (ch or dep } on this it. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, sea the Account Rules and Regulations or other applicable account ag it that gavems your account.

 

 

tgnbea = JPMorgan Chase Bank, N.A. Member FDIC

Page 4 of 4

13cr628-013310
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 208 of 415

10-Aug-12 09Aug12-1454
THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASES

io ° NA May 11, 2012 through June 12, 2012
ae ee ee. Bank, NA. Primary Account. 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
Wesel Easel sDaDeasME Mssnsodstocd UEDosssellsstasd Leas! ese! Service Center: | 1-800-935-9935
00010454 DRE 201 141 16512 NNNNYNNYYNN T 1 000000000 08 0000 Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1847 DELL DALE ST International Calls: 1-713-262-1679

CHANNELVIEW TX 77530-2203

 

00104540301044100023

No overdraft fees for purchases of $5 or less

Good news, we're making changes to help you avoid fees. For purchases of $5 or less that overdraw your account, we'll no
longer charge you an Insufficient Funds Fee, Returned Item Fee, or Overdraft Protection Transfer Fee. This is in addition to
our current policy of not charging those fees if your account is overdrawn by $5 or less at the end of the business day.

Effective July 22, 2012, these changes will be incorporated into the “Additional Banking Services and Fees” document as
follows:

In the Additional Banking Services and Fees,
in the section called “Insufficient Funds, Retumed ltems, and Stop Payments" the fee descriptions will be changed to:

Insufficient Funds and Returned item Fees

We will not charge an Insufficient Funds Fee if your ending account balance is overdrawn by $5 or
less. Additionally, even if your ending account balance is overdrawn we will not charge an Insufficient Funds
or Returned item Fee for any item that is $5 or less.

Overcraft Protection Transfer Fee

We will not charge an Overdraft Protection Transfer Fee if your anding account balance, before
any Overdrait Protection Transfers are made, is overdrawn by $5 or less or the Overdraft Protection
transfer resulted from transactions that are all $5 or lass.

Please note that there will be no change to the amount of these fees. All other terms of your account agreement remain the
same. If you have any questions, please call us at the telephone number listed on this statement or visit your nearest Chase
branch.

Change in fees for non-Chase ATM transactions

Good news. Starting July 22, 2012, we will reduce the number of non-Chase ATM fees charged when you perform balance
inquiries or account transfers at a non-Chase ATM. For transactions performed by the same card at the same terminal within
a 15 minute time period, balance inquiries and account transfers will not incur a fee if done in conjunction with a withdrawal.
If only transfers and inquiries are periormed only one non-Chase ATM fec will be charged. Other than this reduction in the
number of fees charged for inquiries and transfers, there are no other changes to the Non-Chase ATM fee. As a reminder,
the owner of the non-Chase ATM may impose an additional charge.

These changes will be reflected in your account agreement. All other terms of your account agreement remain the same. If
you have any questions, please call us at the telephone number listed on this statement or visit your nearest Chase branch.

Paga 1 of 6

13cr628-013311
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 209 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

May 11, 2012 through June 12, 2012
Primary Account: 000004222416350

Lower Fees for Counter Checks

Beginning July 22, 2012, we will charge $2 per sheet (3 checks to a page) of Counter Checks, instead of $2 per check. Also,
we may waive this Counter Check fee for certain types of accounts.

These changes will be updated in the Additional Banking Services and Fees for Chase personal checking and savings
accounts. All other terms of your account agreement remain the same. If you have any questions, please call us at the
telephone number listed on this statement or visit your nearest Chase branch.

 

 

 

 

 

 

 

 

 

 

 

ASSETS
Checking & Savings ACCOUNT BEGINNING BALANCE = ENDING BALANCE
THIS PERIOD THIS PERIOD

Chase Total Checking 000004222416350 $1,600.26 $517.88
Total $1,600.26 $517.88
TOTAL ASSETS $1,600.26 $517.88
CREDIT CARDS, LOANS & LINES OF CREDIT

ACCOUNT AVAILABLE CREDIT BALANCE
Loans & Lines of Credit
Direct Vehicle Loan saseceeeounsess4 3505 $7,597.28
Total $0.00 $7,597.28
TOTAL CREDIT CARDS, LOANS & LINES OF CREDIT $0.00 $7,597.28

All Summary Balances shown ara as of June 12, 2012 unless otherwise stated. For details of your retirement accounts,
credit accounts or securities accounts, you will receive separate statements. Balance summary information for annuities is
provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness or
accuracy.

 

 

 

RAQUEL GARCIA Account Number: 000004222416350
| CHECKING SUMMARY |

AMOUNT
Beginning Balance $1,600.26
Deposits and Additions 4,780.00
Checks Paid - 4,506.68
ATM & Debit Card Withdrawals - 899.77
Electronic Withdrawals - 443,93
Fees and Other Withdrawals - 12,00
Ending Balance $517.88

Page 20! &

13¢r628-013312
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 210 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID GO9Aug12-1454

Sequence number Posting date

CHASE &

May 11, 2012 through June 12, 2012
Primary Account: 000004222416350

 

CHECKS PAID|

 

 

 

 

 

 

 

 

 

 

 

  

CHECK DATE AMOUNT CHECK DATE AMOUNT

NUMBER PAID NUMBER PAID

1161 05/29 $1,957.18 1167 4 06/05 29.07 —_—

1162 4 05/30 147.57 1168 4 06/07 497.00 —

1163 4 05/23 390.80 1169 4 06/07 95.17

1164.4 06/05 78.97 1170 06/08 80.00 8

1165 06/05 138.13 1203" 05/31 760.00 i

1166 4 06/04 397.79 3
Total Checks Paid $4,506.68 3

&

|

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.
4 An image of this check may be available for you to view on Chase.cam.

[TRANSACTION DETAIL]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,600.26
05/14 American Southwe E01092675P PPD ID: 9775071980 - 143.93 1,456.33
05/21 Deposit 2,500.00 3,956.33
05/23 Check #1163 - 390.80 3,565.53
05/29 Check # 1161 Geerb Sf Checkpymt Arc ID: 9200509007 - 1,957.18 1,608.35
05/30 Check #1162 - 147.57 1,460.78
05/31 Deposit 640.00 2,100.78
05/31 Check #1203 ~ 760.00 1,340.78
06/04 Deposit 640,00 4,980.78
06/04 Check #1166 - 397.79 4,582.99
06/05 Check #1165 Mci Telusa Arc Verizontx Arc !D: 83005022230 - 133.13 1,449.86
06/05 Check #1164 - 78.97 1,370.89
06/05 Chock # 1167 - 29.07 1,341.82
06/07 Deposit 1,000.00 2,341.82
06/07 Card Purchase 06/06 Ace Mart Restaurant Sup Houston TX Card ~ 899.77 1,442.05

0126
06/07 06/07 Online Transfer 2707443977 To Princesa Visa ###4##4850 - 300.00 1,142.05
Transaction # 2707443977

06/07 Check #1168 - 497.00 645.05
06/07 Check #1169 - 35.17 609.88
06/08 Check #1170 Sams Club/Gemb Checkpaymt Arc ID: 0818200401 - 80.00 529.88
06/12 Service Fee - 12,00 517.88

Ending Balance $517.88

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13cr628-013313
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 211 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

May 14, 2012 through June 12, 2012
Primary Account. 000004222416350

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

Amonthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee
during any statement period.

« Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can heip you sel up direct deposit in just a few minutes.

« OR, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $529.00)

Our account alerts can help keep you on top of your balance. Set up alerts today!

«* OR, keep an average qualifying deposit and Investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $1,857.00)

Talk to a banker about transferring your balances to Chase today!

«© OR, pay at least $25.00 in qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $0.00)

Stop in today and explore all Chase has to offer.

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13cr628-013314
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 212 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

May 11, 2012 through June 12, 2012
Primary Account 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

1010464030300000008:

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Cail or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt, We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

+ A description of the error or transfer you are unsure of, why you believe it is an error, ar why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is In error so thal you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS-Contact the bank immediately if your statement is

incorrect ar if you need more information about any non-electronic trar or di ) on this it. If any such error

appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
detalis, see the Account Rules and Regulations or other applicable account agreement that governs your account.

Excen JPMorgan Chase Bank, N.A. Member FDIC

Page § of 6

13cr628-013315
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

16-Aug-12
THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID GO9Aug12-1454
Sequence number Posting date

CHASE &

May 11, 2042 through June 12, 2012
Primary Account: 000004222416350

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Page 6 of &

Page 213 of 415

09Aug12-1454

13cr628-013316
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 214 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

JPMorgan Chase Bank, NA dune 13, 2012 through July 12, 2042

jay 1 NLA. .

PO Box 659754 Primary Account: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
WassbDesebsdabaosVLHonsardsbssd lS scrsbbasEasddaaslHaael Service Center. 1-800-935-9935
00010047 DRE 201 141 19512 NNNNNNNNNNNT 1 00coce00 08 ooo Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1847 DELL DALE ST International Calls: 1-713-262-1679
CHANNELVIEW TX 77530-2203
ASSETS
Checking & Savings ACCOUNT BEGINNING BALANCE — ENDING BALANCE
THIS PERIOD THIS PERIOD
Chase Total Checking 000004222416350 $517.88 $505.88
Total $517.88 $505.88
TOTAL ASSETS $517.88 $505.88
CREDIT CARDS, LOANS & LINES OF CREDIT
ACCOUNT AVAILABLE CREDIT BALANCE
Loans & Lines of Credit
Direct Vehicle Loan srevewanee sees" 3505 $28.55
Totai $0.00 $28.55
TOTAL CREDIT CARDS, LOANS & LINES OF CREDIT $0.00 $28.55

All Summary Balances shown are as of July 12, 2012 unless otherwise stated. For details of your retirement accounts,
credit accounts or securities accounts, you will receive separate statements. Balance summary information for annuities is
provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness or
accuracy.

Page 1 of 4

13cr628-013317
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 215 of 415

10-Aug-12
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE &

O09Aug12-1454

June 13, 2012 through July 12, 2012

Primary Account: 000004222416350

 
 

 

RAQUEL GARCIA Account Number: 000004222416350

 

CHECKING SUMMARY |
AMOUNT

Beginning Balance $517.88
Fees and Other Withdrawals - 12.00
Ending Balance $505.88

TRANSACTION DETAIL]

 

 

DATE DESCRIPTION AMOUNT
Beginning Balance

07/12 Service Fee - 12.00
Ending Balance

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

BALANCE
$517.88

505.88
$505.88

A monthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fea

during any statement period.

« Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes.

« QR, keep a minimum dally balance in your checking account of $1,500.00 or more.
{Your minimum daily balance was $517.00)

Our account alerts can help keep you on top of your balance, Sei up alerts today!

e OR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $517.00)

Talk to a banker about transferring your balances to Chase today!

e OR, pay at least $25.00 In qualifying checking-related services or fees.
{Your total qualifying checking-related services or fees paid were $0.00)

Stop in today and explore all Chase has to offer.

Page 2 of 4

13cr628-013318
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 216 of 415

10-Aug-12 09Aug12-1454
THIS ITEM 1S PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

June 13, 2012 through July 12, 2012
Primary Account. 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on thia statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this slatement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after wa sant you
the FIRST statament on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

» The dollar amount of the suspected error

» A description of the error or transfer you are unsure of, wy you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error prompily. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think Is in error so that you will have use of the money during the
tine it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contacl tha bank immediately if your statement is
incorrect or if you nesd more information about any non-electronic th (checks or depx ) on this . If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agi that g your .

ioaa = JPMorgan Chase Bank, N.A. Member FDIC

Poge 3 of 4

13cr628-013319
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 217 of 415

10-Aug-12
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number Posting date

CHASE S

dune 13, 2012 through July 12, 2012
Primary Account. 000004222416350

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Page 4 of 4

09Augl2-1454

13cr628-013320
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 218 of 415

CHASE &

duly 13, 2012 through August 10, 2012
JPMorgan Chase Bank, N.A.

PO Box 689754 Account Number. 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Web site: Chase.com
WDusshbecalsUsdonsTUs UM sscenbsbeeDabDDasossldaatesDacsbbsaal Service Center: 1-800-935-9935
C00e8882 DRE 201 141 22412 NNNYNNNYYNN T 1 000000000 08 co70 Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espano!: 1-877-312-4273 —
1347 DELL DALE ST International Calls: 1-713-262-1679 Ss
CHANNELVIEW TX 77530-2203 ——
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—-. 8
8
| CHECKING SUMMARY | Chase Total Checking
AMOUNT
Beginning Balance $505.88
Deposits and Additions 5,200.00
Checks Paid - 00.00
ATM & Debit Card Withdrawals - 187.22
Electronic Withdrawals - 3,700.00
Fees and Other Withdrawals - 25.00
Ending Balance $1,293.66
CHECKS PAID
CHECK NUMBER DATE AMOUNT
PAID
1204 4 07/24 $500.00
Total Checks Pald $500.00

if you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

 

[TRANSACTION DETAIL]

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $505.88
07/16 Deposit 2,500.00 3,005.88
07/23 Card Purchase 07/19 Hyatt Hotels Austin F 888-472-2870 TX Card - $1.00 2,964.88
0126
07/24 Check #1204 - 500.00 2,464.88
07/27 Card Purchase 07/26 LA Subasta 713-777-1010 TX Card 0126 - 11.90 2,452.98
07/30 Deposit 2,700.00 5,152.98
Page 1 of 4

13cr628-013321
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 219 of 415

 

 

 

 

 

 

 

 

 

CHASES
duly 13, 2012 through August 10, 2012
Account Number, 000004222416350
[TRANSACTION DETAIL |_(ominuey
DATE DESCRIPTION AMOUNT BALANCE
07/31 07/31 Online Wire Transfer Via: Wells Fargo NA/121000248 A/C: - 2,700.00 2,452.98
Aba/111900659 Fort Worth TX 76101 Ben: David Garcia Baytown TX 77521
US Imad: 0731B1Qgc08C002326 Tm: 3548900213Es
07/31 Wire Online Domestic Fee - 25.00 2,427.98
08/01 07/31 Online Transfer 2791936682 To Princesa Visa ######4850 - 400.00 2,027.98
Transaction #: 2791936682
08/03 08/03 Online Transfer 2798418124 To Princesa Visa ######4850 - 600.00 1,427.98
Transaction #: 2798418124
08/06 Card Purchase 08/05 Texas Roadhouse #2411 Baytown TX Card - 63.96 1,364.02
0126
08/10 Card Purchase 08/08 Antique Center of Texa Houston TX Card 0126 - 70.36 1,293.66
Ending Balance $1,293.66

A monthly Service Fee was not charged to your Chase Total Checking account. Here are the four ways you can avoid this

fee during any statement period.

* Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

* OR, keep a minimum daily balance In your checking account of $1,500.00 or more
(Your minimum daily balance was $505.00)

« OR, keep an average qualifying deposit and investment balance of $5,000.00 or more
(Your average qualifying deposit and investment balance was $2,142.00)

« OR, pay at least $25.00 In qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $25.00)

Page 2 of 4

13cr628-013322
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

CHASE G@

July 18, 2012 through August 10, 2012
Account Number. 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: §.

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
8. Add Step 2 Total to Step 1 Balance. Step 3 Total: §$.

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$

 

5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe itis an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. if we take more than 10 business days (or 20 businesa days for
new accounts) to do this, we will credit your account for the amount you think ie in error so that you will have use of the money during the
time it takes us to complete cur investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. if any such error

appears, you must notify the bank in writing no later than 80 days after the statement was made available to you. For mora complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account.

tender JPMorgan Chase Bank, N.A. Member FDIC

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13cr628-013323
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 221 of 415

CHASE S

July 13, 2012 through August 10, 2012
Account Number: 000004222416350

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 222 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681

Sequence number Posting date

CHASE &

August 11, 2012 through September 13, 2012
JPMorgan Chase Bank, N.A.

P O Box 659754 Account Number: 000004222416350
San Antonio, TX 78265-9754

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
HasaDDscedeDsbergDDsEusasodsDostsbDbecacsdbssTsalbaced Doce] Service Center: 1-800-935-9935
00010082 DRE 201 141 25812 NNNNNNNNYNN T 1 0G0000000 08 0000 Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273
1347 DELL DALE ST International Calls: 4-713-262-1679

CHANNELVIEW TX 77530-2203

 

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Leam how Chase Liquid(SM) can help you:

Chase Liquid is our new reloadable card with the security and convenionce that Chase
offers. Now, the balance of a linked Chase Liquid Card can be combined with your other
qualifying linked deposits and investments to help waive your Chase Total Checking(SM)
Monthly Service Fee.

All other terms of your account agreement remain the same. If you have any questions,
please call us at the number on this statement or visit your nearest branch.
Visit chase.com/Liquid to leam more about Chase Liquid.

| CHECKING SUMM ARY | Chase Total Checking

 

 

 

 

 

AMOUNT
Beginning Balance $1,298.66
Deposits and Additions 1,500.00
Checks Paid - 1,108.30
ATM & Debit Card Withdrawals - 35.70
Fees and Other Withdrawals - 12.00
Ending Balance $1,637.66
| CHECKS PAID|
CHECK NUMBER DATE AMOUNT
PAID
1208 08/15 $608.30
121074 09/10 §00.00
Total Checks Paid $1,108.30

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* All of your recent checks may not be on this statement, sither because they haven't cleared yet or they were listed on
one of your previous statements.

* An image of this check may be available for you to view on Chase.com.

Page 1 of 4

13¢r628-013325
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 223 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTAUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &

August 11, 2012 through Septamber 13, 2012
Account Number: 000004222416350

[TRANSACTION DETAIL

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,298.66
08/15 Check #1208 The Antique Gail Checkpaymt Boc ID: 1161757848 - 608.30 685.36
08/17 Card Purchase 08/16 LA Subasta 713-777-1010 TX Card 0126 - 35,70 649.66
09/10 Check #1210 - 500.00 149.66
Oo/ii Deposit 1,000.00 1,149.66
09/12 Deposit 379557375 500.00 1,649.66
09/13 Sarvice Fee - 12.00 1,637.66

Ending Balance $1,637.66

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee
during any statement period.

e Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes.

« OR, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $149.00)

Our account alerts can help keep you on top of your balance. Sat up alerts today!

« OR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $775.00)

Talk to a banker about transferring your balances to Chase today!

«* OR, pay at least $25.00 in qualifying checking-related services or fees.
{Your total qualifying checking-related services or fees paid were $0.00)

Stop in today and explore all Chase has to offer.

Page 2 of 4

13cr628-013326
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 224 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &

August 11, 2012 through September 13, 2012
Account Number; 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your

 

 

 

 

 

statement or not. Ss
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i. : =>
1. Write in the Ending Balance shown on this statement: Step 1 Balance: §.
2. List and total all deposits & additions not shown on this statement: =
Date Amount Date Amount Date Amount ES
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Step 2 Total:  $.
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: §.

4, List and total all checks, ATM withdrawals, debit card purchases and other withdrawais
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you nc later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

© Your name and account number

© The dollar amount of the suspected error

° Adescription of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in esror so that you will have use of the money during the
time it takes us to complete our investigation.

iN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is

incorrect or if you nead more information about any non-electronic i ar dep on this if any such error

appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account

{igen JPMorgan Chase Bank, N.A. Member FDIC

Page 3 of 4

13¢r628-013327
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 225 of 415

23-Nov-12 20Nov12-681
THIS ITEM JS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &

August 11, 2012 through September 13, 2012
Account Number. 000004222416350

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Page 4 of 4

13cr628-013328
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23-Nov-12

20Nov12-681

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &

JPMorgan Chase Bank, N.A.
PO Box 889754
San Antonio, TX 78265-9754

September 14, 2012 through October 11, 2012
. Account Number, 000004222416350

 

CUSTOMER SERVICE INFORMATION

 

   

 

 

 

 

 

 

Web site: Chase.com
VesabDaarD aad eneE DBD sazsaQabeedsT)EassesDosbesdDssalD lass] Service Center: 1-800-935-9935
00010470 DRE 201 141 28612 NNNNNNNNNNN T 1 0000000C0 08 0000 Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espanot 4-877-312-4273
1347 DELL DALE ST International Calls: 1-743-262-1679
CHANNELVIEW TX 77530-2203
——e :
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CHECKING SUMMARY |_&"2°e Total Checking
AMOUNT
Beginning Balance $1,637.66
Deposits and Additions 900.00
Chocks Paid - 1,000.00
ATM & Debit Card Withdrawals - 40.80
Fees and Other Withdrawals - 12.00
Ending Balance $1,484.86
CHECKS PAID |
CHECK NUMBER DATE AMOUNT
PAID
1211 4% 09/26 $1,000.00
Total Checks Paid $1,000.00

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to return the check to you or show you an image on Chase.com.

* An image of this check may be available for you to view on Chase.com.

 

TRANSACTION DETAIL]

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE
Beginning Balance $1,837.86
09/18 Deposit 1072024181 900.00 2,587.66
09/25 Card Purchase 09/24 LA Subasta 713-777-1010 TX Card 0126 ~ 40.80 2,496.86
09/26 Check #1241 - 1,000.00 1,496.86
40/11 Service Fea - 12.00 1,484.86
Ending Balance $1,484.86
Page 1 of 4

13cr628-013329
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 227 of 415

23-Nov-12 20Nov12-681
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GROUP [D G20Nov12-681
Sequence number Posting date

CHASE &

September 14, 2012 through October 11, 2012
Account Number. 0060004222416350

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

A monthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee
during any statement period.

« Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes.

« Of, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $1,496.00)

Our account alerts can help keep you on top of your balance. Set up aleris today!

¢ 8, keep an average qualifying deposit and investment balance of $5,000.00 or mare.
(Your average qualifying deposit and investment balance was $1,817.00)

Talk to a banker about transferring your balances to Chase today!

¢ OR, pay at least $25.00 In qualifying checking-related services or fees.
(Your total qualifying checking-related services or fees paid were $0.00)

Stop in today and explore all Chase has to offer.

Page 2 ot 4

13cr628-013330
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 228 of 415

23-Nov-12 20Nov12-681
THIS ITEM tS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASE ©

September 14, 2012 through October 11, 2012
Account Number: 000004222416350

IMPORTANT INFORMATION FOR CONSUMERS ABOUT YOUR
PERSONAL CHASE CHECKING ACCOUNT

WHAT YOU NEED TO KNOW ABOUT OVERDRAFTS AND OVERDRAFT FEES
An overdraft occurs when you do not have enough money in your account to cover a transaction, but we pay it anyway. We
can cover your overdrafts in two different ways:
1. We have standard overdraft practices that come with your account.
2. We also offer overdraft protection plans, such as a link to a savings or credit card account, which may be less
expensive than our standard overdraft practices. To leam more, ask us about these plans.

This notice explains our standard overdraft practices.

 

What are the standard overdraft practices that come with my account?
We do authorize and pay overdrafts for the following types of transactions:

« Checks and other transactions made using your checking account number

« Recurring debit card transactions

We do not authorize and pay overdrafts for the following type of transaction unless you ask us to:
« Everyday debit card transactions

We pay overdratts at our discretion, which means we do not guarantee that we will always authorize and pay any type of
transaction.

if wo do not authorize and pay an overdraft, your transaction will be declined.

What fees will | be charged if Chase pays my overdraft?

Under our standard overdratt practices:
* Wewill charge you a fee of $34 each time we pay an overdraft.
« Also, each time your account is overdrawn for 5 consecutive business days, we will charge you an additional $15.
«= There is a 3 per day limit on the above $34 fee we can charge you for overdrawing your account.

Page 3 of 4

13cr628-013331
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 229 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

September 14, 2012 through October 11, 2012
Account Number: 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $.

 

2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total:
3. Add Step 2 Total to Step 1 Balance. Step 3 Total:

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more Informaticn about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after wa sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

« A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time il takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available lo you. For more compieis
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

tenor «= JPMorgan Chase Bank, N.A. Member FDIC

Page 4 of 4

13cr628-013332
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 230 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &

October 12, 2012 through November 13, 2012
JPMorgan Chase Bank, N.A.
PO Box 650754 Account Number 000004222416350
San Antonio, TX 78265-9764

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
WareDbaorbsLstearM aE bavasababaal Mbsanrelfssboablssalflaned Service Center. 4-800-935-9935
00010256 DRE 201 141 31912 YNYNNNNYNNN T 1 000000000 08 0000 Deaf and Hard of Hearing: 1-800-242-7383
RAQUEL GARCIA Para Espanol: 1-877-312-4273,
1347 DELL DALE ST {ntemational Calls: 1-718-262-1679

CHANNELVIEW TX 77530-2203

 

0010256030121 4000023

You will see more information about your ATM deposits on your account statement.
Tracking your ATM deposits will be even easier beginning November 12, 2012. In the
Deposits and Additions section of your statement, you will see the date you made your
deposit (in addition to the date we posted it to your account), the street address of the
ATM, and the last four digits of the card number for each ATM deposit. You will see these
changes on ail ATM deposits that post to your account on and after November 12. Please
note that any ATM deposit transactions that post to your account before November 12, 2012
will not show this additional information and will not be included in the ATM & Debit Card
Summary section at the end of your statement.

If you have questions, please call us at the number on this statement or visit your

nearest branch.

| CHECKING SUMMARY |[_°h2s8 Total Checking

 

 

AMOUNT
Beginning Balance $1,484.86
Deposits and Additions 1,700.00
Checks Paid - 1,389.94
ATM & Debit Card Withdrawals - 23.80
Electronic Withdrawals - 513.27
Fees and Other Withdrawals - 12.00
Ending Balance $1,245.85

Page 1096

13cr628-013333
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 231 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &

October 12, 2012 through November 13, 2012
Account Number. 000004222416350

CHECKS PAID]

 

 

 

 

 

CHECK NUMBER DATE AMOUNT
PAID
1172.” 10/31 $700.00
1173 “ 10/26 75.00
W174 * 11/08 75.00
1175 4 11/13 103.49
1176 * 11/13 436.45
Total Checks Paid $1,389.94

If you see a check description in the Transaction Detail section, it means your check has already been converted for
electronic payment. Because of this, we're not able to retum the check to you or show you an image on Chase.com.

4 An image of this check may be available for you to view on Chase.com.

[TRANSACTION DETAIL]

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT BALANCE

Beginning Balance $1,484.86
10/24 Deposit 424697701 700.00 2,184.86
10/24 Card Purchase 10/23 LA Subasta 713-777-1010 TX Card 0126 - 23.80 2,161.06
10/26 Check #1173 - 75.00 2,086.06
40/31 Check #1172 - 700.00 1,386.06
101 Sears Parisdirec Internet 043000099035919 Web ID: 9044107936 + 213.27 1,172.79
11/07 11/07 Online Transfer 2952281492 To Princesa Visa #####4850 ~ 300.00 872.79

Transaction #: 2952281492

11/08 Check #1174 - 75.00 797.79
11/09 Deposit 1,000.00 1,797.79
V1/N3 Check #1176 - 436.45 1,861.34
11/13 Check #4178 ~ 103.49 1,257.85
11/13 Service Fee - 12.00 1,245.85

Ending Balance $1,245.85

Page 206

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 232 of 415
23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &

October 12, 2012 through November 13, 2012
Account Number: 000004222416350

WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

Amonthly Service Fee was charged to your Chase Total Checking account. Here are the four ways you can avoid this fee
during any statement period.

e Have direct deposits totaling $500.00 or more.
(You did not have a direct deposit this statement period)

One of our bankers can help you set up direct deposit in just a few minutes.

e OB, keep a minimum daily balance in your checking account of $1,500.00 or more.
(Your minimum daily balance was $797.00)

Our account alerts can help keep you on top of your balance. Set up alerts today!

 

e QR, keep an average qualifying deposit and investment balance of $5,000.00 or more.
(Your average qualifying deposit and investment balance was $1,555.00)

Talk to a banker about transferring your balances to Chase today!

e QQ, pay at least $25.00 in qualifying checking-related services or fees,
(Your total qualifying checking-related services or fees paid were $0.00)

Stop in today and explore all Chase has to offer.

Page 30f 6

13cr628-013335
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 233 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G20Nov12-681
Sequence number Posting date

CHASE &
= October 12, 2012 through November 13, 2012
Account Number. 000004222416350

Chase checking customers may receive up to 0.75% off standard auto loan rates.

Refinancing your existing car loan may lower your interest rate and reduce your monthly payment. And Chase checking
customers save even more—up to 0.75% off standard auto loan rates. Find out more and apply at
Chase.com/AutoRefinance.

Subject to credit approval by JPMorgan Chase Bank, N.A. Other terms and conditions apply.

Page 4 of 5

13cr628-013336
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 234 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G20Nov12-681
Sequence number Posting date

October 12, 2012 through November 13, 2012
Account Number: 000004222416350

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: S$.

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2. List and total all deposits & additions not shown on this statement:

 

Date Amount Date Amount Date Amount

 

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Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: §

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: §

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

* Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
lime it takes us to complete our investigation.

 

 

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
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incorrect or if you nead more Information about any no! 18 (checks or dit Its) on this il. Hf any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made avallable to you. For more complete
details, see the Account Rules and Regulations or other applicable account ag that govems your account.

 

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Page 5 of &

13cr628-013337
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 235 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number Posting date

CHASES

October 12, 2012 through November 18, 2012
Account Number. 000004222416350

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Page 6 of 6

13cr628-013338
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 236_of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 11111 Posting date 22-JAN-09

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 237 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 22-JAN-09

Sequence number 22222

Amount 100.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013340
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 238 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
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_ Case _4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 239 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 11111 Posting date 10-MAR-09

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#4 CHANNELVIEW, TX 77530-2203

 

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13cr628-013343
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 240 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 10-MAR-09

Sequence number 22222

Amount 400.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013344
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 241 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION a
GROUP ID G30Mar12-584
Sequence number 11111 Posting date 13-APR-09

 

 

 

 

 

 

 

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13cr628-013345
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 242 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 13-APR-09

Sequence number 22222

Amount 400.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013346
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 243 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
~ GROUP ID G30Mar12-584
Sequence number 11111 Posting date 11-MAY-09

     

 

 

 

 

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13cr628-013347
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 244 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 11-MAY-09

Sequence number 22222

Amount 300.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013348
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 245 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 11111 Posting date 28-MAY-09

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 246 of 415
30Mar12-584
This is a substitute document representing a CASH IN TICKET
Posting Date 28-MAY-09
Sequence number 22222
Amount 2000.00
Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013350
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 247 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584

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Sequence number 11111 Posting date 13-JUL-09

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Account No.

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13cr628-013351
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 248 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 13-JUL-09

Sequence number 22222

Amount 700.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013352
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 249 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006080754056 Posting date 05-AUG-09

 

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13cr628-013353
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 250 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584

Sequence number 006080754057 Posting date 05-AUG-09

 

 

 

 

 

 

 

 

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_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 251 of A415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION -
GROUP ID G30Mar12-584
Sequence number 003990322672 Posting date 05-OCT-09

 

 

 

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13cr628-013355
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 252 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003990322673 Posting date 05-OCT-09

 

 

 

 

 

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 253 of 415
30Mar12-584
This is a substitute document representing a CASH IN TICKET
Posting Date 05-OCT-09
Sequence number 003990322674
Amount 2050.00
Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013357
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 254 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008490054099 Posting date 13-OCT-09

 

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13cr628-013358
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 255 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 13-OCT-09

Sequence number 008490054100

Amount 1000.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013359
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 256 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION oe
GROUP ID G30Mar12-584
Sequence number 007290177910 Posting date 02-DEC-09

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13cr628-013360
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 257 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 02-DEC-09

Sequence number 007290177911

Amount 1000.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013361
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 258 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584
Sequence number 008080445843 Posting date 07-DEC-09

 

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13cr628-013362
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 259 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 07-DEC-09

Sequence number 008080445844

Amount 500.00

Account Number 4222416350

Date Request Received 30-MAR-12

13¢r628-013363
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 260 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 004980413355 Posting date 14-DEC-09

 

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13cr628-013364
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 261 of 415

30Mar12-584

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Posting Date 14-DEC-09

Sequence number 004980413356

Amount 2000.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013365
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 262 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP 1D G30Mar12-584
Sequence number 007490210612 Posting date 11-JAN-10

 

 

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13cr628-013366
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 263 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007490210613 Posting date 11-JAN-10

 

 

 

 
  

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 264 of 415
30Mar12-584
This is a substitute document representing a CASH IN TICKET
Posting Date 11-JAN-10
Sequence number 007490210614
Amount 2050.00
Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013368
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 265 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION os
GROUP ID G30Mar12-584
Sequence number 004390822868 Posting date 12-JAN-10

 

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13cr628-013369
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 266 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 12-JAN-10

Sequence number 004390822869

Amount 500.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013370
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 267 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584

Sequence number 006980188198 Posting date 19-JAN-10

 

 

 

 

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EntryNum: 5193 ItemType: FP

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13cr628-013371
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 268 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 19-JAN-10

Sequence number 006980188199

Amount 1500.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013372
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006780615154 Posting date 25-JAN-10

_Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 269 of 415

 

  

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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TranCode: 000000 RouteTran: 52010102 DoeType: 1
EntryNum: 5021 ItemType: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 270 of 415
30Mar1 2-584
This is a substitute document representing a CASH IN TICKET
Posting Date 25-JAN-10
Sequence number 006780615155
Amount 500.00
Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013374
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 271 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584

Sequence number 005790555701 Posting date 03-FEB-10

 

 

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 272 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005790555702 Posting date 03-FEB-10

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 273 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002180501157 Posting date 17-FEB-10

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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13cr628-013377
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 274 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 17-FEB-10

Sequence number 002180501158

Amount 1500.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013378
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 275 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 004090288369 Posting date 23-FEB-10

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 276 of 415

30Mar12-584

This is a substitute document representing a CASH IN TICKET
Posting Date 23-FEB-10

Sequence number 004090288370

Amount 400.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013380
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 277 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008880408231 Posting date 08-MAR-10

 

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EntryNum: 4731 Itemfype: P

  
 

 

13cr628-013381
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 278 of 415

30Mar1 2-584

This is a substitute document representing a CASH IN TICKET
Posting Date 08-MAR-10

Sequence number 008880408232

Amount 1800.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013382
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 279 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003390076977 Posting date 23-MAR-10

 

 

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__ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 280 of 415

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This is a substitute document representing a CASH IN TICKET
Posting Date 23-MAR-10

Sequence number 003390076978

Amount 600.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013384
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 281 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP 1D G30Mar12-584
Sequence number 003780163329 Posting date 01-APR-10

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 282 of 415

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Posting Date 25-JAN-12

Sequence number 004870965451

Amount 3000.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013386
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 283 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584

Sequence number 009880847808 Posting date 06-FEB-12

 

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30Mar1 2-584
This is a substitute document representing a CASH IN TICKET
Posting Date 06-FEB-12
Sequence number 009880847809
Amount 500.00
Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013388
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 285 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
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EntryNum: 5095 ItemType:

 

 

 

13cr628-013389
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 286 of 415

30Mar1 2-584

This is a substitute document representing a CASH IN TICKET
Posting Date 27-FEB-12

Sequence number 009880983585

Amount 10000.00

Account Number 4222416350

Date Request Received 30-MAR-12

13cr628-013390
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 287 of 415

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GROUP ID G09Aug12-1454
Sequence number 001670453717 Posting date 26-MAR-12

 

 

 

 

 

 

 

 

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13cr628-013391
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 288 of 415
10-Aug-12

09Aug12-1454

This is a substitute document representing a CASH IN TICKET
Posting Date 26-MAR-12

Sequence number 001670453718

Amount 2600.00

Account Number 4222416350

Date Request Received 10-AUG-12

13cr628-013392
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 289 of 415

10-Aug-12

09Aug12-1454

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G09Aug12-1454

Sequence number 006680281466 Posting date 13-APR-12

 

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AcctNum: 000000004222416350

Xerno: 0000000000 PostDate:
BankNum: 9201 AppCode: 0001
UDK: 02011204130066802814556

TranCode: 000000 RouteTran:
EntryNum: 3306 ItemType: P

 

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Amount: 000000000080000
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13cr628-013393
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 290 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 006680281467 Posting date 13-APR-12

  
 

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13cr628-013394
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 291 of 415

09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

10-Aug-12

GROUP ID G09Aug12-1454
Sequence number 002670251798 Posting date 30-APR-12

 

 

 

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Xerno: 0000000000 PostDate: 20120430 Sequence: 002670251798

0201 AppCode: 0001 Field4: 0000 ImageStat: 05

UDK: 0201120430002670251738 BOFD: 000000000 CapSRe: BY

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EntryNum: 5833 ItemTypa: P

 

 

13cr628-013395
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 292 of 415
10-Aug-12

09Aug12-1454

This is a substitute document representing a CASH IN TICKET
Posting Date 30-APR-12

Sequence number 002670251799

Amount 4000.00

Account Number 4222416350

Date Request Received 10-AUG-12

13cr628-013396
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 293 of 415

10-Aug-12 09Augt2-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 002590077236 Posting date 21-MAY-12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Mermo: 0000000000 PostDate: 20120521 Sequence: 002590077236
BankNum: 0201 pec ode: 0001 Ficeld4: 0000 ImageStat: 05
UDK: 0201120521002590077236 BORD: 000000000 CapsrRc: BY
TranCode: 000000 RouteTran: 52010102 DocType: 1
EntryNum: 6516 ItemIype: P

 

 

 

13cr628-013397
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 294 of 415
10-Aug-12

09Aug12-1454

This is a substitute document representing a CASH IN TICKET
Posting Date 21-MAY-12

Sequence number 002590077237

Amount 2500.00

Account Number 4222416350

Date Request Received 10-AUG-12

13cr628-013398
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 295 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 007790802611 Posting date 31-MAY-12

 

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BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201120531007790802511 BOFD: 000000000 APSRC: BY
TranCode: 000000 RouteTran: 52010102 DocType:

EntryNum: 3944 ItemType: P

 

 

 

13cr628-013399
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 296 of 415
10-Aug-12

09Aug12-1454

This is a substitute document representing a CASH IN TICKET
Posting Date 31-MAY-12

Sequence number 007790802612

Amount 640.00

Account Number 4222416350

Date Request Received 10-AUG-12

13cr628-013400
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 297 of 415

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 298 of 415
10-Aug-12

09Aug12-1454

This is a substitute document representing a CASH IN TICKET
Posting Date 04-JUN-12

Sequence number 003980647331

Amount 640.00

Account Number 4222416350

Date Request Received 10-AUG-12

13cr628-013402
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 299 of 415

10-Aug-12

09Aug12-1454

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G09Aug12-1454
Sequence number 009780797448 Posting date 07-JUN-12

 

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Xerno: 0000000000 PostDate: 20120607 Sequence: 009780797448
BankNum: 0201 Code: 0001 Field4: 0000 ImageStat: 05
UDK: 02011206070097807974d3 BOFD: 000000000 CapsRC: BY
TranCode: 000000 RouteTran: 52010102 #DeocType: 1
EntryNum: 4041 TtemType: P

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13cr628-013403
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 300 of 415
10-Aug-12

09Aug12-1454

This is a substitute document representing a CASH IN TICKET
Posting Date 07-JUN-12

Sequence number 009780797449

Amount 1000.00

Account Number 4222416350

Date Request Received 10-AUG-12

13cr628-013404
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 301 of 415

Posting Date: 2012-07-16
Sequence #: 4590126589
Account #: 4222416350
Routing Transit: 52010102
Amount #: $2500.00
Check/Serial #: 000000000000
Bank #: 201

Tran Code: 000000
IRD: 0

ItemType: P

BOFD: 000000000
Cost Center: 593802

Teller Number: 2
Teller Seq Number: 0
Processing Date: 20120716

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13cr628-013405
Case 4:13-cr-00628 Document 881

 

 

Posting Date: 2012-07-30
Sequence #: 4390414648
Account #: 4222416350
Routing Transit: 52010102
Amount #: $2700.00
Check/Serial #: 000000000000
Bank #: 201
Tran Code: 000000
IRD: 0
ItemType: P
BOFD: 000000000
Cost Center: 593802
Teller Number: 2
Teller Seq Number: 0
Processing Date: 20120730
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Filed on 03/29/16 in TXSD Page 302 of 415

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13cr628-013406
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 303 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 008680270228 Posting date 11-SEP-12

 

   
  

 

  
 

  
 

 

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TranCode: 000000 RouteTran: 52010102 Doolype: 1
EntryNum: 0000003730 ItemType: P

 

 

 

 

13cr628-013407
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 304 of 415
21-Nov-12

20Nov12-681

This is a substitute document representing a CASH IN TICKET
Posting Date 11-SEP-12

Sequence number 008680270229

Amount 1000.00

Account Number 4222416350

Date Request Received 20-NOV-12

13cr628-013408
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 305 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 008390575687 Posting date 12-SEP-12

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 306 of 415

23-Nov-12

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 008390575688 Posting date 12-SEP-12

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 307 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 008490240236 Posting date 18-SEP-12

 

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13cr628-013411
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 308 of 415
21-Nov-12

20Nov12-681

This is a substitute document representing a CASH IN TICKET
Posting Date 18-SEP-12

Sequence number 008490240237

Amount 900.00

Account Number 4222416350

Date Request Received 20-NOV-12

13cr628-013412
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 309 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G20Nov12-681
Sequence number 008180886809 Posting date 24-OCT-12

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 310 of 415
21-Nov-12

20Nov12-681

This is a substitute document representing a CASH IN TICKET
Posting Date 24-OCT-12

Sequence number 008180886810

Amount 700.00

Account Number 4222416350

Date Request Received 20-NOV-12

13cr628-013414
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 311 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 007880713551 Posting date 09-NOV-12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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13cr628-013415
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 312 of 415
21-Nov-12

20Nov12-681

This is a substitute document representing a CASH IN TICKET
Posting Date 09-NOV-12

Sequence number 007880713552

Amount 1000.00

Account Number 4222416350

Date Request Received 20-NOV-12

13¢r628-013416
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 313 al 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009680764053 Posting date 12-AUG-10

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 314 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007070719742 Posting date 26-SEP-11

 

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13cr628-013418
Case 4:13-cr-00628 Document 881 Filed

on 03/29/16 in TXSD Page 315 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar

12-584

Sequence number 009880983591 Posting date 27-FEB-12

 

 

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13cr628-013419
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 316 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 000714731528 Posting date 04-JUN-09

 

 

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13cr628-013420
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 317 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 000714773710 Posting date 05-JUN-09

 

  
 

 
  

 
 
 

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BankNum: 9003 AppCode: 0400 Field4: 0000 ImageStat: 01
UDK: 0003090605000714773710 BOFD: 000000 CapSRC: w5S
TranCode: 000656 ReouteTran: 11199377 DeocType: 8

EntryNum: 7452 ItemType: P

 

 

13cr628-013421
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 318 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 000700837302 Posting date 08-JUL-09

 

 

 

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 319 of 415

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GROUP ID G30Mar12-584
Sequence number 000701620021 Posting date 22-JUL-09

 

 

 

 

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13cr628-013423
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 320 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION 7
GROUP ID G30Mar12-584
Sequence number 009280485153 Posting date 06-AUG-09

 

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 321 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006380806392 Posting date 17-AUG-09

 

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13cr628-013425
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Pa

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005080092336 Posting date 08-SEP-09

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13cr628-013426
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 323 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001080295070 Posting date 14-SEP-09

 

 

 

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EntryMNum: 5955 ItemType: P

 

 

 

13cr628-013427
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008330772969 Posting date 01-OCT-09

 

Page 324 of 415

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TranCode: 000661 RouteTran: 11199377 DocTypa: 8
EntryNum: 6161 ItemType: P
13cr628-013428
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 325 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002490833942 Posting date 26-OCT-09

 

 

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AcctNum: 9009000004222416350 Brpunts 62 92000000008548
Xerno: 0000000665 PostDate: 2009 sequence: 992499933942
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UDK: 0201091026 Seabe39942 Earp: doopaoons pee: EV
ranCode: 000665 RouteTran: 11199377 DocType: 8
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13cr628-013429
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 326 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002390671465 Posting date 24-NOV-09

 

 

   
  
   
  

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Xexrno: 0000000669 PostDate: 20091124 Sequence: 002390671455
BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat:

UDK: 02091091124002390671465 BOFD: GQ0000000 CapSRC: we
TranCode: 000669 RouteTran: 11199377 DocTypa: 8
EntryNum: 2844 ItemType: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 327 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001990129718 Posting date 24-NOV-09

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 328 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001990129719 Posting date 24-NOV-09

 

 

 

 

 

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UDK: 020 1091124 990129719 EET 600060000 apSRC:
anCode: 000668 RouteTran: 11199377 Doctype:
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13cr628-013432
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 329 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008390653455 Posting date 02-DEC-09

 

 

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AcctNum: 000000004222416250 Amount: 000000000200000 ]

Xerno: 0000000654 PostDate: 20091202 Sequence: 008390653455
BankNum: 0201 A de: 0001 Field4: 0000 ImagaStat: 05
UDR: 0201091202008250652455 BOWD: 000000000 CapSRC: PV
TranCode: 000664 RouteTran: 11199377 DocType: 8
EntryNum: 2509 [temType: P

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 330 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005680341846 Posting date 04-DEC-09

 

 

 

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EntryNum: 4659 ItemPype

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 331 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005680341847 Posting date 04-DEC-09

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TranCode: 00066 71553

EntryNum: 4659

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 332 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008290669154 Posting date 14-DEC-09

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Xerno: 90090900672 PostDate: 20091214 Sequence: 008290669154
BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05

UDK: $201091214 008290669154 BOFD: 000000000 CapSRC: PV
TranCode: 000672 RouteTran: 11199377 DoaType:

EntryNum: 2485 ItemType: P

 

      

 

 

13cr628-013436
Case, 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 333 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009990780474 Posting date 18-DEC-09

 

 

 

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UDK: 0201091218 90789474 BOFD: boone om PERC: oy
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EntryNum: 4414 ItemType: P

 

13cr628-013437
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 334 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007290888852 Posting date 13-JAN-10

 

 

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Entryfum: 4431 Itemtype: P

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 335 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007180238023 Posting date 14-JAN-10

  
 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 336 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006180702499 Posting date 21-JAN-10

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UDK: 0201100121006180702499 BOFD: 000000000 GapSRC; PV
TranCode: 000801 RouteTzan: 11100061 Doclype: 8
EntryNum: 4766 ItemType: P

 

 

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_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 337 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007790094610 Posting date 22-JAN-10

 

 

 

  
   
  
  
  

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UDK: 0201100122007790094610 BOFD: 000000000 CapsRc: PM
TranCode: 000674 RouteTran: 11199377 Doolype: 8
EntryNum: 4750 ItemType: P

 

 

13cr628-013441
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 338 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007580911574 Posting date 25-JAN-10

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TranCode: 000802 RouteTran: 11100061 DocType: 8

EntryNum: 5234 ItemType:

 

 

 

13cr628-013442
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 339 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002990166903 Posting date 02-FEB-10

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 340 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003890719684 Posting date 12-FEB-10

  

  

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 341 of 415
. THIS ITEM IS PART OF ALEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003990400238 Posting date 12-FEB-10

 

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TranCode: 000865 RouteTran: 11100061°  DocType:
EntryNum: 1773 ItenType: P

AcctMum: 999000004222416350 Amount ; 0000000076506, ~ ccs

 

 

 

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13cr628-013445
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 342 of 415

 

 

 
  

 

 

    
 

 

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4 32-61 ’ fy Sequence Number: 5190131534
} RAQUEL GARCIA 110 806 4
4 1347 DELL DALE ST. f Amount: $1 03.00
9) CHANNELVIEW, TX 77530-2203 : DATE SO {Po 999416350
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Capture Source: PV
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Item Type: P

 

 

Processing Date:

 

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13cr628-013446
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 343 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002890635964 Posting date 19-FEB-10

 

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TranCode: g008609 Route?fran: 11100061 DocType:
um: 2656 ItemType: P

 

 

13cr628-013447
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 344 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005180607013 Posting date 02-MAR-10

 

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UDK: 0201100302005180607013 BoFD: 000000000 apSRC: ey
TranCode: 000810 RouteTran: 11100061 DoeType:

EntryNum: 1233 Itemfype: P

 

13cr628-013448
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 345 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005180607014 Posting date 02-MAR-10

 

 

 

 

 
 

 

 

 

 

     

 

 

 

 

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UDK: 0201190302005180607014 BORD: angnoaods SRC! 2
francode: oggait Routefran: 11100061 DocTrype
ryNum: 1233 TI Type: FP

 

 

13cr628-013449

  
    

 

 
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 346 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003380535010 Posting date 24-MAR-10

 

 

 

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AcctNum: 000000004222416250 Amount: 0660000000050000

Xerno: 0000000812 PostDate: 20100324 Se noe: 003330535010
BankNum: 0201 Coda: 0001 Field4: Q000 ImageStat: 05
UDK: 0201100324003380535010 BOFD: 000000000 CapsRC: PV
TranCode: 000812 RouteTran: 11100061 DooType:

EntryNum: 2528 ItemType:

 

 

13cr628-013450
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 347 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 004680740624 Posting date 30-MAR-10

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TranCode: 000813 RouteTran: 11100061 DecType: 8
EntryNum: 1584 Item[ype: P

 

13cr628-013451
_. Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 348 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006290470505 Posting date 05-APR-10

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AcctNum: 000000004222416350 Amount: 000000000400000

Xerne: 0b e On one PostDate: 20100405 Sequence: 006290470505
BankNum: 0201 pCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201100408006590470505 BOFD: 111900057 CapsRc: BY
TranCode: 000814 RouteTran: 11190061 DooType: &
EntryNum: 5073 ItemType: P

 

 

 

13cr628-013452
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 349 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003690781035 Posting date 08-APR-10

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Xerno: 0000000816 PostDate: 20100408 Sequence: 003690781035
BankNum: 0201 Code: 0001 Field4: 0000 ImageStat: 05
UDK: 0201100408003690781035 BOFD: 111900057 apSkC: BY
TranCode: 000816 RouteTran: 11100061 DooType:

EntryNum: 3749 ItemType: P

 

 

 

13cr628-013453
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 350 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003780465415 Posting date 09-APR-10

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CHANNELVIEW, TX 77530-2208

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BankNum: 0201 pCode: 0001 Fieldd4: 0000 ImageStat: 05
UDK: 0201100409003780065415 BOFD: 111900057 CapSRC: BY
TranCode: 000815 RouteTran: 11100061 DocType: 8
EntryNum: 3406 ItemTIype: P

 

 

 

13cr628-013454
. Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 351 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002690873845 Posting date 22-APR-10

 

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TranCode: 000818 ReuteTran: 11100061 DocTyps:
EntryNum: 2255 ItemType: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 352 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 004990038983 Posting date 27-APR-10

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BankMum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 02011004270045990038983 BOFD: 000000000 CapSRC: PV
TranCode; 000819 RouteTran: 11100061 DoeType: 8
EntryNum: 4789 ItemTyne: P

 

 

13cr628-013456
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 353 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003280002210 Posting date 29-APR-10

 

 

 

 

  

 

 

 

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TranCode: 000820 RouteTran: 11100061 DocType: &
EntryNum: 2284 ItemType: P

 

 

13cr628-013457
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 354 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001790075397 Posting date 18-MAY-10

 

 

 

  
 

 

 

 

 

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UDK: 0201100518001790075397 BOFD: 000000000 Capskc: Pv
TranCode: 000821 RouteTran: 11100061 DocType:

EntryMum: 4751 ItemType: P

 

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. Gase 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 355 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008380223067 Posting date 18-MAY-10

 

 

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TranCode: 00 7 RouteTran: 11100061 DocType:
EntryNum: 23 get ItemType: P

 

13cr628-013459
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 356 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008180393623 Posting date 24-MAY-10

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AcctNum: 000000004222416350 Amount: 000000000018500

Zerno: 0000000823 PostDate: 20100524 Sequence: 008180393623
BankNum: 0201 AppCode: 9001 Field4: 0000 ImageStat: 05

UDK: 0201100524008180393623 BOFD: 000000000 CapsRC: FV
TranCode: 000823 RouteTran: 11100061 DocType: 8
EntryNum: 2406 ItemIype: P

13cr628-013460
Gase 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 357 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007980464737 Posting date 28-MAY-10

 
  

   

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Xexrno: 0000000824 PostDate: 20100528 Sequence: 007980464737
BankNum: 0201 Apptede: 0001 Field4: 0000 Imagestat: 05
UDK: 0201100528007930464737 BOFD: 000000000 CapSRC: PY
TranCode: 000824 RouteTran: 11100061 DocTyps: &
EntryNum: 2115 ItemType: P

 

 

 

13cr628-013461
 

. Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 358 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008380413109 Posting date 02-JUN-10

 

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Zermo: 0000000825 PostDate: 20100602 Sequence: 008330413109
BankNum: 0201 App pCode: 0001 Field4: 0000 ImageStat: 05

UDK; 0201100602

08380413109 BOFD: 000000000 CapsRG: PV

TranCode: 000825 RouteTran: 11100061 DooType:
EntryHum: 2471 ItemTynpe: P

13cr628-013462
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 359 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008290811677 Posting date 09-JUN-10

 

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AcctNum: 000000004222416350 Amount: 000000000553000

Kerno: 0000000827 PostDate: 20100609 Sequence: 008290811677
BankNum: 0201 AppCode: 0001 Fieald4: 0000 ImageStat: 05
UDK: 0201100609008290811677 BOFD: 000000000 CapSRe: Pv
TranCode: 000827 RouteTran: 11100061 DooType:

EntryNum: 4578 ItemType: FP

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 360 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003780217713 Posting date 23-JUN-10

 

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Zerno: 0000000831 PostDate: 20100623 Sequence: 003780217713
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201100623003780217713 BOFD: 000000000 Sanden! Pv
TranCode: 000831 RouteTran; 11100061 DocType:

EntryMum: 2387 ItemType: P

13cr628-013464
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 361 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003680610942 Posting date 08-JUL-10

 

 

  
    
   
 

 

 

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Xerne: 0000000832 PostDate: 20100708 Sequence: 003680610942
BankNum: 0201 AppCode: 0001 Fieidd: 0000 ImageStat: 05
UDK: 0201100708003680610942 RBOFD: O00O000000 CapSRC: FV
TranCode: 000832 RouteTran: 11100061 DecTypa: B
EntryNum: 2270 ItemType: P

 

 

 

13cr628-013465
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 362 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007680831265 Posting date 02-AUG-10

 

   

 

   

 

 

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Xerno: 0000000837 PostDate: 20100802 Se ce: 007680831265
BankNum: 0201 AppCods 0001 Field4: 0000 ImageStat: 05
UDK: 0201100802007680831265 BOFD: 000000000 CapsSRC: PV
TranCode: 000837 RouteTran: 11100061 DocType: 8
EntryNum: 6619 ItemType: P

 

 

13cr628-013466
_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 363 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009480459127 Posting date 11-AUG-10

 

 

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AcotNum: 000000004222416350 Amount: 000000000632500

Zerno: 0000000836 PostDate: 20100811 Sequence: 009480459127
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05

UDK: 0201100811009480459127 BOFD: 000000000 CapSRC: PV
TranCode: 000836 RouteTran: 11100061 DocType: 8
Entrytum: 4592 ItamTypa: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 364 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007780777030 Posting date 12-AUG-10

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AcotNum: 000000004222416350 Amount: 000000000047200
Xerno: DO0OD00838 PostDate: 20100812 Sequence: 007780777030
BankNum: O2D1 a epee ads : 0001 Field4: ODOO ImageStat: O05
UDK: O0201100812007730777030 BOFD: 000000000 CapSRC: PV
TranCode: 000838 RouteTran: 11100061 DocType: 8
EntryNum: 2356 ItemType: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 365 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008180085984 Posting date 24-AUG-10

 

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AcctNum: 9000000004222416350 Amount: 000000000124058
SZerno: 0000000839 PostDate: 20100824 Sequence: 008180085984
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201100824008180085984 BOFD: 000000000 CapSRC: PV
TranCode: 000839 RouteTran: 11100061 DocType: 8
EntryMum: 2511 ItemType: P

 

 

13cr628-013469
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 366 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002790985459 Posting date 30-AUG-10

 

 

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UDK: 0201100830002790985459
TranCode: 000840 RouteTran:
EntryNum: 6140 ItemType: FP

Field4: 0000 ImageStat: 05
BOFD: 900000000 CapSRC: Pv
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AcctMum: 000000004222416350 Amount: 000000000458078 "
Zerne: 0000000840 PostDate: 20100830 Sequence: 002790985459

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 367 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007780249554 Posting date 03-SEP-10

 

 

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Zerno: 0000000841 PostDate: 20100903 Sequence: 007780249554
BankNum: 0201 Appcode: Q001 Field4: 0000 ImageStat: 05
UDK: 0201100903007780249554 BOFD: 000000000 CapSRC: PV
TranCede: 000841 RouteTran: 11100061 DocType: 8
EntryNum: 2208 ItemType: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 368 of 415

THIS ITEM IS PART OF ALEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 001280858089 Posting date 21-SEP-10

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Xerno: 0000000843 PostDate: 20100921 Sequence: 001280858089
BankNum: 0201 pppcode : Q001 Field4: 0000 ImageStat: 05

UDK: 6201100921001280858089 BOFD: 111900057 CapSRC: BY
TranCode: 000843 RouteTran: 11100061 DocType: &
EntryNum: 4196 ItemType: P

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 369 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009280605337 Posting date 20-OCT-10

 
     
   
 
    
   
    

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¥erno: 6000000852 PostDate: 20101020 se ence: 009280605337
BankWum: 0201 AppCode: 0001 Field4: 000 geStat: 05

UDK: 0201101020009280605337 BOFD: 600000000" CapsRC: PV

TranCode: 900852 RouteTran: 11100061 DocType:

EntryNum: 4834 ItemType:

 

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_ Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 370 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009280605338 Posting date 20-OCT-10

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EntryNum: 4834 ItemType:

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009280605339 Posting date 20-OCT-10

 

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AcctNum: 000000004222416350 Amount: 000000000157398

Xerno: 0000000851 PostDate: 20101020 Sequence: 009280605339
BankNum: 0201 # ode: 0001 Fieldd: 0000 ImageStat: 05
UDR: 0201101020009280605339 BOFD: 000000000 CapsSRC: PV
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EntryNum: 4834 ItemType: P

 

 

 

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Zerno: 0060000854 PostDate: 20101028 Sequence: 004080823601
BankNum: 0201 Jape: 0001 Field4: 0000 ImageStat: 05
UDK: 0201101028004

TranCode: 000854 RouteTran: 11100061 DocType: 8
EntryNum: 3488 ItemType: P

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 372 of 415

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 004080823601 Posting date 28-OCT-10

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1947 DELL DALE ST.
CHANNELVIEW, TX 77530-2208

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 373 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005390846397 Posting date 12-JAN-11

 

 

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Xexrno: 0000000855 PostDate: 20110112 Sequence: 005590846397
BankNum: 0261 Ap ppCode : 0001 Field4d: 0000 ImageStat: 05

UDK: 0201119112005390846397 BOFD: 111900057 Capsket PM
TranCode: 000855 RouteTran: 11100061 DocType:

EntryNum: 4177 ItemTypa:

 

 

13cr628-013477
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 374 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008390172310 Posting date 31-JAN-11

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UDK: 0201110131008390172310 BOrD: 000000000 GapSRC: PV
TranCode: 000847 RouteTran: 11100061 DoctType: 38
EntryNum: 0433 ItemType: P

 

13cr628-013478
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 375 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008890079612 Posting date 02-FEB-11

 

 

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Zerno: 0000000859 PostDate: 20110202 Sequence: 008890079612

BankNum: 0201 Bppc ode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201110202008890079612 BOFD: 000000000 CapSRC: PV
TxanCode: 000859 RouteTran: 11100061 DocType: $

Entryiim: 1432 ItemTypsa: P

 

 

13cr628-013479
-. Gase.4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 376 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005580477385 Posting date 30-SEP-11

 

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BankNim: 0201 AppCode: 0001 Field4: 06000 ImageStat: O58
UDK: 0201110930005580477385 BOFD: 000000000 CapSRC: FV
TranCode: 000933 RouteTran: 11100061 DeoTypes §
EntxyNum: 4974 ItemType: P

 

13cr628-013480
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD_ Page 377 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 101170774219 Posting date 03-OCT-11

      
        
 
 
 
 

 

 
  

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Nerno: 0000006930 DostDate: 20111603 Sequence: 1611'70774219
BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05
UDK: 0201111003101170774219 BOFD: 000000000 CapsRc: IV
TranCode: 000950 RoutaTran: 11100061 DoeTyne: 8
EntryNum: 4881 ItemType: P

 

13cr628-013481
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 378 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003480152373 Posting date 04-OCT-11

 

 

 

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3480152373 BOFD: 00000000

Xerno: 0000000931 PostDate:
BankNum: 0201 A
UDK: 0201111004

TranCede: 000931 RouteTran: 11100061

EntryNum: 2297 ItemType: P

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.. ase 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 379 of 415

THIS ITEM IS PART OF ALEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007380202133 Posting date 24-OCT-11

 

     

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BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05
UDK: 0201111024007380202133 BOFD; 000000000 apsRe: PY
TranCode: 000936 RouteTran: 11100061 DooType: 8
EntryNum: 1888 ItemType: P

 

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_. .Gase 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 380 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 007380202134 Posting date 24-OCT-11

 

 

 

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Xerno: 0000000935 PostDate: 20111024 Sequence: 007380202134

 

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THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 004880979332 Posting date 02-NOV-11

 

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Xerne: 0000000937 PostDate: 20111102 Sequence: 004830979332
BankNum: 0201 Code: 0001 Field4d: 0000 ImageStat: 05
UDK: 0201111102004880979332 BOFD: 000000000 CapSRC: PV
TranCode: 000937 RouteTran: 11100061 DocType: 8
EntryNum: 15600 ItemType: P

 

 

13cr628-013485
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 382 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 008680423950 Posting date 07-NOV-11

 

 

 

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BankNum: 0201 AppCode: 0001 Field4: ocd magestat: 05
UDK: 0201111107008680423950 BOFD: booogcons apsRc: Pv
TranCode: 000938 RouteTran: 11100061 DocType:
EntryNum: 71235 ItemType: P

 

 

13cr628-013486
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 383 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

Sequence number 007370431442 Posting date 02-DEC-11

GROUP ID G30Mar12-584

 

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EntryNum: 1592 ItemType: P

Amount: 000000000124955
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BOFD: 000000000 CapSRC: PV
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13cr628-013487
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 384 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005770311212 Posting date 05-DEC-11

 

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 385 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 009990664950 Posting date 03-JAN-12

 

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 386 of 415

THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 002770227367 Posting date 09-JAN-12

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 387 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mari2-584
Sequence number 001390340381 Posting date 25-JAN-12

 

 

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AcctMum: 000000004222416350 Amount: 900000000046900

Zerno: 0000000944 PostDate: 20120125 Sequence: 001390340381
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05

UDK: 0201120125001390340381 BOFD: 000000000 CapSRC: FV
TranCode: 000944 RouteTran: 11100061 DocType: 8
EntryNum: 4641 ItemType: P

 

 

13cr628-013491
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 388 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 003970033897 Posting date 02-FEB-12

 

 

 

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AcctNum: 000000004222416350 Amount: 000000000124955

Xerno: 00 OOOO aE PostDate: 20120202 § nee: 0039700338397
BankNum: 020 de: 0001 Fieldd: 0000 ImageStat: 05
UDK: opo13 20200 3890033897 BOFD: 000000000 Gapsac: PV
Trancode: 000345 RouteTran: 11100051 DocType:

EntryNum: 1527 ItemType: P

 

 

 

13cr628-013492
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 389 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 005880083103 Posting date 06-FEB-12

 

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AcctNum: 000000004222416350 Amount: 000000000133333

Merno: 0000000946 PostDate: 20120206 Sequence: puSen ona102
BankNum: 0201 AppCode: 0001 Field4: 0000 Imagestat:

UDE: Seer eee 59800931023 BOFD: 00000000" Pee: Py
Trancode: 00 eae ese 11100061 DocType:

EntryNum: 33334 ItemType: P

 

13cr628-013493
 

Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 390 of 415
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G30Mar12-584
Sequence number 006280934115 Posting date 02-MAR-12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

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AcctNum: 000000004222416350 Amount: 000000000124955
Kerno: 0000000949 PostDate: 20120302 §& ence: 206280934115
BankNum: 0201 AppCode: 0001 Field4: 000 magestat: 0
UDEK: 0201120302006280934115 BOFD: doeeoo0d0 ype a oe
TranCode: 000949 RouteTran: 11100061
EntryNum: 4950 ItemType: P

 

 

13cr628-013494
Case 4d eeGt-O0628 Document 881 Filed on 03/29/16 in TXSD_ Page 391 of 415
IS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G30Mar12-584
Sequence number 001580046238 Posting date 05-MAR-12

 

 

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AcctMum: 000000004222416350 Amount: 000000000133333
Xerno: 0000000950 PostDate: 20120305 Sequence: 001580046238

BankWNum: 0201

UDK: 0201120305

 

 

AppCode : 0001 Field4: 0000 ImageStat: 05
1580046238 BOFD: 900000000 CapSRC: PV

¥ranCoda: 000950 RoutaTran: 11100061 DoeType: 8&8
EntxyNum: 4192 Itemtype: P

13cr628-013495
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 392 of 415
Posting Date: 2012-03-05

Sequence #: 6770016782
Account #: 4222416350
Routing Transit: 11100061
Amount #: $836.77
Check/Serial #: 000000001192
Bank #: 201

Tran Code: 001192
IRD: 0

ItemType: P

BOFD: 000000000
Cost Center: N/A

Teller Number: N/A

Teller Seq Number: N/A

Processing Date: N/A

 

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13cr628-013496
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 393 of 415

10-Aug-12

09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G09Aug12-1454
Sequence number 009880983591 Posting date 27-FEB-12

 

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13cr628-013497
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 394 of 415

Page | of 1

Posting Date: 2012-02-27
Sequence #: 9880983597
Account #: 758661375
Routing Transit: 04400003
Amount #: $5000.00
Check/Serial #: 009480711510
Bank #: 1

Tran Code: 000000
IRD: 0

ItemType: P

BOFD: 111900057
Cost Center: 593802

Teller Number: 4
Teller Seq Number: 503
Processing Date: 20120227

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 395 of 415

 

 

 

 

  

 

 

 

 
 
 

 

 

 

 
 
   

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 005170250105 Posting date 03-APR-12
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AcetNum: 000000004222416350 Amount: 000000000124955

Xerno: 0000001197 PostDate: 20120403 Sequence: 005170250105
BankNwmn: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05

UDK: 0201120403005170250105 BOFD: 000000000 apSRC: BY
TranCode: 001197 RouteTran: 11100061 DocType:

EntryNum: 1740 Itemfype: P

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 396 of 415
10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 005780171222 Posting date 04-APR-12

 

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AcctNum: 000000004222416350 Amount: 000000000133333
Xerno: 0000001196 PostDate: 20120404 Sequense: 005780171222
RankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat:
UDK: 0201120404005780171222 BOFD: 000000000 GapSRC: PY
TranCoda: 001196 RouteTran: 11100061 DocTypa: 8
EntryNum: 4463 ItemType: P

 

 

 

13¢r628-013500
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 397 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 004590319376 Posting date 01-MAY-12

 

   

       
      

 

   

 

        
   

 

 

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AcctNum: 000000004222416350 Amount: 000000000005456
Xerno: 0000001199 PostDate: 20120501 Sequence: 004590319276
BankNum: 0201 weRCede: 0001 Field4: 0000 ImageStat: 05
UDK: 0201120501004590319376 BOFD: 000000000 Capskc: py
TranCode: 001199 RouteTran: 11100061 DocType: 8
EntryHum: 3088 Itemfype: P

 

13cr628-013501
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 398 of 415
10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 009090229412 Posting date 02-MAY-12

 

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AcctNum: 000000004222416350 Amount: 000000000124955

Xerno: 0000001200 PostDate: 20120502 Sequence: 009090229412
BankNum: 0201 Code: 0001 Field4: 0000 ImageStat: 05
UPK: 0201120502009090229412 BOFD: Oa0000000 apSRC: PY
TranCode: 001200 RouteTran: 11100061 DocType:

EntryHum: 1637 ItemType: P

 

13cr628-013502
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 399 of 415
10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 004590542897 Posting date 03-MAY-12

 
     

 

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AcctNum: 000000004222416350 Amount: 000000000133333

Xerno: 0000001201 PostDate: 20120503 Sequence: 004590542897

RankNum: 0201 pCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201120503004590542897 BOFD: O00000000 CapSRC: PV
TranCeodse: 001201 RoutaTran: 11100061 DeeTypa: 8
EntxryNum: 3641 ItemType: P

 

 

 

13cr628-013503
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 400 of 415
10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 002280683727 Posting date 23-MAY-12

 

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AcatNum: 000000004222416350 Amount: 000000000039080

Xerno: 0000001163 PostDate: 20120523 Sequence: 002280683727
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201120523002280683727 BOFD: 111900057 “apSRC: BY
TranCode: 001163 RouteTran: 11100051 DocType:

EntryNum: 3953 ItaemType: P

 

 

 

13cr628-013504
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 401 of 415
10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 006180697115 Posting date 30-MAY-12

 

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CHANNELVIEW, TX 77530-2203

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AcctNum: 000000004222416350 Amount: 000000000014757
Kerno: 0000001162 PostDate: 20120530 Sequence: 006180697115
BankNum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05

UDK: 0201120530006180697115 BOFD: 000000000 CapsSRc: PV
TranCode: 001162 RouteTran: 11100061 DocType: 6
EntryNum: 3896 ItemIype: P

 

13cr628-013505
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 402 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 008090517397 Posting date 31-MAY-12

 

RAQUEL GARCIA
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CHANNELVIEW, TX 77530-2208

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Xezno: 0000001203 PostDate: 20120531 Sequence: 008090517397
BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05

UDK: 0201120531008090517337 BOFD: 111300057 gapSRO: BY
TranCade: 001203 RouteTran: 11100061 DoeTypea: 8
EntryNum: 4116 ItemType: P

 

 

13¢r628-013506
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 403 of 415
10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 008490204725 Posting date 04-JUN-12

     
  
 

 

 

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CHANNELVIEW, TX 77530-2203 b
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AcctNum: 000000004222416350 Amount: 000000000039779

Zarno: 0000001166 PostDate: 20120604 Sequancea: 008490204725
BankNum: 0201 AppCode: 0001 Field&: 0000 ImageStat: 05
UDK: 0201120604008490204725 Boro: O0OD00000 CapsRe: DV
TranCode: 001166 RouteTran: 11100061 DocType: &
EntryNum: 3200 [temfype: P

 

1 3cr628-013507
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 404 of 415
10-Aug-12 09Augi2-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G09Aug12-1454
Sequence number 007480176468 Posting date 05-JUN-12

 

 

 

 

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Xerno: 0000001164 PostDate: 20120605 Sequence: 007480176468
BankNum: 0201 AppCode: 0001 Field4: 9000 ImageStat: 05
UDK: 0201120605007480176468 BOFD: 000000000 CapSRC: PV
TranCode: 001164 RouteTran: 11100061 DocType: 8

EntryNum: 2455 ItemType: P

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 405 of 415

10-Aug-12 09Augi2-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID GO9Aug12-1454
Sequence number 006080723472 Posting date 05-JUN-12

 

 

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AcctNum: 000000004222416350 Amount: 000000000002907

Xerno: 0000001167 PestDate: 20120605 Sequence: 006080723472
BankNum: 0201 AppCode: 0001 Field4: D000 ImageStat: 05
UDK: 0201120605006080723472 BOFD: 000000000 CapsRc: PY
TranCode: 001167 RouteTran: 11100061 DocType: 8
EntryNum: 2309 ItamTypa: P

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 406 of 415
10-Aug-12 09Augt2-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID Go9Aug12-1454
Sequence number 002890096755 Posting date 07-JUN-12

 

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UDK: 02701120607 BS a90096755 BOFD: ago0d00a8"é apsac: py
TranCode: 001168 RouteTran: 11100061
EntryNum: 4749 Itemlype: P

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 407 of 415

10-Aug-12 09Aug12-1454
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G09Aug12-1454
Sequence number 002690955101 Posting date 07-JUN-12

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Xerno: 0099902159 PostDate: 20120607 Sequence: 002690955101
BankNum: App code: 0001 Fieldd: 0000 ImageStat: 05

UDK: b3011 50807 2690955101 BOFD: 0009000000 CapSRC: PV
TranCode: 001169 RouteTran: 11100061 DostType:

EntryNum: 4625 ItemTypa: P i

 

 

13cr628-013511
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 408 of 415
Posting Date: 2012-07-24

Sequence #: 2190232545
Account #: 4222416350
Routing Transit: 11100061
Amount #: $500.00
Check/Serial #: 000000001204
Bank #: 201

Tran Code: 001204
IRD: 0

ItemType: P

BOFD: 000000000
Cost Center: N/A

Teller Number: N/A

Teller Seq Number: N/A

Processing Date: N/A

   

   

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD
23-Nov-12
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 008880852969 Posting date 10-SEP-12

Page 409 of 415
20Nov12-681

 

 

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Xarno: 0000001210 PostDate: 20120910 Sequence: 008880852969
BankNum: 0201 AppCode: 0001 Field4: 900 Pmagestat: 05
UDK: 0201120910008880852969 BOFD: 111900057 CapSRC: BY
TranCode: 001210 RouteTran: 11100061 DooType: 8
EntryNum: 0000002938 ItemType: FP

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 410 of 415
23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 008070988860 Posting date 26-SEP-12

 

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BankMum: 0201 AppCode: 0001 Field4: 0000 ImageStat: 05
UDK: 0201120926008070988860 BOED: 000000000 SapSRe: FV
TranCode: 001211 RouteTran: 11100061 DooType:

EntryNum: 0000004587 ItamType: P

 

 

 

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 411 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Novi2-681
Sequence number 008380505189 Posting date 26-OCT-12

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BankNum: 0201 AppCode: 0001 Fieldd: 0000 ImageStat: 05
UDK: 0201121026008380505189 BORD: 900000000 CapsSRC: PV
TranCode: 001173 RouteTran: 11100061 DocType: 8
EntryNum: 0000003481 ItemType: P

 

13cr628-013515
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 412 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 004880825780 Posting date 31-OCT-12

 

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0001 Field4: Q000 ImageStat: 05

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Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 413 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 008370660329 Posting date 08-NOV-12

 

 

 
   

  

 

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EntryNum: 0000005392 ItemType: P

 

 

13cr628-013517
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 414 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION
GROUP ID G20Nov12-681
Sequence number 001680339917 Posting date 13-NOV-12

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“ApotNum: 000000004222416350 Amount: 000000000010349 ae
Xerno: 0000001175 PostDate: 20121113 Sequence: 001680339917
Bankilum: 02701 AppCoda: 0001 Field4: 0000 TmagaStat: 05
UDK: 0201121113001680339917 BOFD: 000000000 CapSRC: PV
TranCode: 001175 RouteTran: 11100061 DooType: 8
EntryNum: 0000008698 Ttamfypa: P

 

 

 

13cr628-013518
Case 4:13-cr-00628 Document 881 Filed on 03/29/16 in TXSD Page 415 of 415

23-Nov-12 20Nov12-681
THIS ITEM IS PART OF A LEGAL STATEMENT RECONSTRUCTION

GROUP ID G20Nov12-681
Sequence number 001680339918 Posting date 13-NOV-12

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UDK: 0201121113001680339918 BOFD: 000000000 CapsRC: PV
TranCode: 001176 ReouteTran: 11100061 DooType: 8
EntryNum: 0060008698 ItemType: P

 

 

 

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